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                           EXHIBIT 31




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      PRICING PATENTS FOR LICENSING IN STANDARD-
        SETTING ORGANIZATIONS: MAKING SENSE OF
                 FRAND COMMITMENTS
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                                    I. INTRODUCTION
        "Fair," "reasonable," and "non-discriminatory" are an interesting col-
     lection of commonly used, but emotion-laden words that become even
     more emotionally charged when strung together. The acronym,
     "FRAND," which yokes these words together, turns out to have consider-
     able practical importance, especially in standard-setting situations. A
     FRAND commitment has serious legal implications: a commitment to
     offer intellectual property (IP), such as patents, to licensees on fair, rea-
     sonable, and non-discriminatory terms and conditions. Unfortunately,
     even though many are committed to FRAND licensing, there is no uni-
     versally agreed upon operational definition of that commitment.'

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     adin, Mike Hartogs, Doug Lichtman, Alison Oldale, Trevor Soames, and Richard Taffet
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     invaluable research support. Financial support from Qualcomm is also gratefully acknowl-
     edged. The ideas and opinions in this article are exclusively our own.
         'Daniel Swanson and WilliamJ. Baumol note: "It is widely acknowledged that, in fact,
     there are no generally agreed upon tests to determine whether a particular license does
     or does not satisfy a RAND commitment." Daniel G. Swanson & William J. Baumol, Rea-
     sonable and Nondiscriminatory (RAND) Royalties, Standards Selection, and Control of Market
     Power,73 ANTITRUST L.J. 1, 5 (2005). Larry Goldstein and Brian Kearsey echo this: "Unfor-
     tunately, [RAND and FRAND] are not well defined. Ambiguity in the definition of
     'FRAND' is, in our opinion, one of the core problems in the licensing of rights to patents
     essential for implementation of a written technical standard." LARRY M. GOLDSTEIN &
     BRIAN N. KEARSEY, TECHNOLOGY PATENT LICENSING: AN INTERNATIONAL REFERENCE ON
     21ST CENTURY PATENT LICENSING, PATENT PooLS AND PATENT PLATFORMS 27 (2004). Like-
     wise, Richard Rapp and Lauren Stiroh state: "The typical [standard setting organization]
     patent policy mandating that a royalty be 'fair, reasonable and non-discriminatory' gives




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         Intellectual property rights, especially patents, have become a custom-
      ary feature in standard-setting efforts over the last few decades. For ex-
      ample, the European Telecommunications Standards Institute (ETSI)
      considers having patented technology in their standards as "inevitable
      and unavoidable." 2 Along with this patented technology have come rules
      regarding patent disclosure and licensing. Most standard-setting organi-
      zations (SSOs), including ETSI, request that their members make rea-
      sonable efforts to identify and disclose any intellectual property that
      might be relevant for a standard under development. 3 Once IP is dis-
      closed, most SSOs also request that members agree to license their rele-
      vant patents on FRAND terms. 4 (In the United States, RAND, which
      drops "fair," is required instead.) Given the high stakes frequently in-
      volved in standard setting,5 it is no surprise that the definition of
      FRAND has been the subject of heated debate in recent years.
         One school of thought is that FRAND commitments are meant to ad-
      dress a prominent concern in standard setting: the adoption of a tech-
      nology into a major standard could confer substantial market power, or
      substantially increased market power, on its owner. Companies with pat-
      ents that have been selected for a standard-rendering them "essential"
      since those patents are "required" to meet the standard 6-may       be
      tempted to opportunistically abuse this market power; for example, by
      refusing to license or charging excessively high royalty rates.


      little guidance for royalty determination because 'reasonable' can mean different things
      to a technology owner and a technology buyer." Richard T. Rapp & Lauren J. Stiroh,
      Standard Setting and Market Power, Comments Submitted to Joint Hearings of the U.S.
      Dep't of Justice & Fed. Trade Comm'n, Competition and Intellectual Property Law and
      Policy in the Knowledge-Based Economy 9 (Apr. 18, 2002), available at http://www.ftc.
      gov/opp/intellect/020418rappstiroh.pdf. For a survey of the debate surrounding
      FRAND, see Damien Geradin, Standardizationand Technological Innovation: Some Reflections
      on Ex-ante Licensing, FRAND, and the Proper Means to Reward Innovation (Tilburg Law and
      Econ. Ctr., Discussion Paper No. 2006-017), available at http://ssrn.com/abstract=90901 1.
           2 Rudi Bekkers et al., Intellectual Property Rights and Standardization:The Case of GSM, 26
      TELECOMM. POL'Y 171,     173 (2002).
          3 Firms not making relevant disclosures risk litigation over unfair business practices.
      See, e.g., Rambus, Inc., FTC Docket No. 9302, 2006 WL 2330119 (Aug. 2, 2006) (Opinion
      of the Commission), available at http://www.ftc.gov/os/adjpro/d9302/index.shtm.
          4 For a discussion of SSO intellectual property rules, see Benjamin Chiao, Josh Lerner
      & Jean Tirole, The Rules of Standard Setting Organizations: An EmpiricalAnalysis (Harvard
      NOM Research Paper No. 05-05, 2005), available at http://ssrn.com/abstract=664643.
          5 See, e.g., Brian DeLacey, Kerry Herman, David Kiron &Josh Lerner, Strategic Behavior
      in Standard-SettingOrganizations(Harvard Univ., Working Paper No. 903214, 2006), availa-
      ble at http://ssrn.com/abstract=903214.
          6"Required" may often be too strong a word. See Chiao et al., supra note 4 (discussing
      how and why patents get disclosed to SSOs). Moreover, even if a patent is technically
      essential for implementing a standard, it might be relatively easy to invent around, or it
      might cover an optional feature of the standard that can be omitted in some applications.

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        In fact, several recent cases have involved such claims, focusing di-
     rectly on SSO members' FRAND commitments. Within the United
     States, in Qualcomm, Broadcom alleged that Qualcomm's patent-licens-
     ing policies violated its FRAND commitment to ETSI for the mobile tele-
     phone 3G standard and violated the Sherman Act in the process? Nokia
     is also pursuing Qualcomm, although in a different U.S. court in Nokia,
     and without reference to antitrust law.8 The primary charge in Nokia is
     that a member's FRAND promise to an SSO like ETSI forms an enforce-
     able contract.9 Thus Nokia is claiming that Qualcomm breached its con-
     tract by offering licensing terms that, in its view, are not FRAND. Nor is
     the United States the only FRAND battlefront. In Europe, the European
     Commission (EC) has just recently inititated a formal investigation of
     Qualcomm for abuse of a dominant position.10 Conflicting definitions of
     FRAND lie at the heart of all of these cases.
        In this article, we discuss ways in which the courts in the United States
     and Europe might evaluate what behavior is and what is not compliant
     with SSO members' FRAND commitments. That is, we attempt to give
     more tangible meaning to the concept of FRAND licensing. To put the
     FRAND problem into context, Part II briefly reviews the intellectual
     property and SSO literature, which finds patent values to be highly une-
     qual. Part III discusses two options for giving content to FRAND that
     emerge from the courts. One option is extending Georgia-Pacific,which
     is the primary case guiding reasonable royalty determination in patent
     infringement cases in the United States. Georgia-Pacificlays out fifteen
     factors that should be accounted for when calculating reasonable royalty


          Complaint, Broadcom Corp. v. Qualcomm, Inc., No. 05-3350, 2006 WL 2528545
     (D.N.J. filed Aug. 31, 2006). The district court granted Qualcomm's motion to dismiss,
     but the Third Circuit recently reversed the dismissal of the Sherman Act monopolization
     and attempted monopolization claims, and affirmed the dismissal of the unlawful monop-
     oly maintenance claim. Broadcom Corp. v. Qualcomm, Inc., No. 05-3350, 2006 WL
     2528545 (D.N.J. Aug. 31, 2006), rev'd in part, affd in part, No. 06-4292, 2007 WL 2475847
     (3d Cir. Sept. 4, 2007).
        8 See Nokia Corp. v. Qualcomm, Inc., No. 06-509, 2006 WL 2521328 (D. Del. Aug. 29,
     2006).
        9 Earlier cases have involved similar claims of contract, but settled prior to a ruling. See
     ESS Tech., Inc. v. PC-Tel, Inc., No. C-99-20292 (N.D. Cal. Feb. 21, 2002) (stipulation and
     order of dismissal); PC-TEL INC., ANNUAL REPORT 6 (Form 10-K) (Apr. 4, 2001), available
     at http://www.sec.gov/Archives/edgar/data/ 1057083/000089161802001 574/f78706e lO-
     k.txt; see also Agere Sys. Guardian Corp. v. Proxim, Inc., No. 01-CV-00339 (D. Del. Sept.
     19, 2002) (stipulation and order of dismissal); AGERE SYs. GUARDIAN CORP., ANNUAL RE-
     PORT 49 (Form 10-K) (Dec. 5, 2003), available at http://www.sec.gov/Archives/edgar/
     data/1 129446/000120677403000880/d13642.htm.
         10The EC announced the initiation of its formal investigation of Qualcomm on Octo-
     ber 1, 2007. European Comm'n, Press Release, http://europa.eu/rapid/pressReleasesAc-
     tion.do?reference=MEMO/07/389&format=HTML&aged=0&language=EN&gui
     Language=en.


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      rates, most of which can be easily extended to a standard-setting con-
      text."' The second option is numeric proportionality, which the com-
      plainants to the European Commission have put forth as a definition for
      FRAND. 12 Under numeric proportionality, each firm contributing pat-
      ents to a standard would receive a share of the total royalties for the
      entire standard    in proportion to the number of patents it reports as
      "essential."'13 Of course, the total royalty rate for the standard would still
      need to be determined, so even under this option Georgia-Pacificfactors
      might play a role. Numeric proportionality can lower transaction costs,
      but generally at the expense of efficiency and equity.
         Part IV turns to models in the economics literature that show promise
      of providing plausible benchmarks for FRAND: the Efficient Compo-
      nent-Pricing Rule (ECPR) and the Shapley value. ECPR was proposed in
      the late 1970s as a method for ensuring that pricing "bottleneck" facili-
      ties, like local electricity or telephone networks, in the face of competi-4
      tion in related services would be consistent with economic efficiency.'
      We first consider ECPR as a possible benchmark for RAND cases in the
      United States, where economic efficiency concepts tend to be favored.
      We next consider the Shapley value, based on cooperative game theory,
      which was proposed by Lloyd Shapley in 1953 as a "fair" method for
      dividing the rents generated by multiple cooperating participants in any
      unspecified activity.15 The Shapley value approach holds promise as a
      possible benchmark for FRAND cases in the European Union, where
      economic efficiency is viewed as important but fairness considerations
      are also given considerable weight. 16 We then compare these two eco-


         " Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y.
      1970).
         12 Peter Clarke, Updated: Six Phone Firms Ask EU to Punish Qualcomm, EETIMES, Oct. 28,

      2005, http://www.eetimes.com/showArticle.jhtml?articleID=172901195.           See also Case
      COMP/C-3/39.247, Texas Instrs. v. Qualcomm (2005); Case COMP/C-3/39.248,
      Broadcom v. Qualcomm (2006); Case COMP/C-3/39.249, Nokia v. Qualcomm; Case
      COMP/C-3/39.250, Panasonic v. Qualcomm (2006); Case COMP/C-3/39.251, NEC v.
      Qualcomm (2005); Case COMP/C-3/39.252, Ericsson v. Qualcomm (2006).
         13 Press Release, Ericsson, Leading Mobile Wireless Technology Companies Call on

      European Commission to Investigate Qualcomm's Anti-competitive Conduct (Oct. 28,
      2005), available at http://www.ericsson.com/ericsson/press/releases/20051028-1018618.
      shtml; Faultline, Our Patents Are Bigger than Yours, Nokia Tells Qualcomm, REGISTER, Apr. 6,
      2007, http://www.theregister.co.uk/2007/04/06/nokiaqualcomm-patentcspat/.
         14William J. Baumol, Some Subtle Pricing Issues in RailroadRegulation, 10 IrNr'L.J. TRANS-
      PORT ECON. 341 (1983); Robert D. Willig, The Theory of Network Access Pricing,in IssUES IN
      PUBLIC UTILITY REGULATION     109 (Harry M. Trebing ed., 1979). For a recent application of
      ECPR to FRAND, see Swanson & Baumol, supra note 1.
         15 Lloyd S.Shapley, A   Value for N-Person Games, in 2 CONTRIBUTIONS TO THE THEORY OF
      GAMES 307 (H.W. Kuhn & A.W. Tucker eds., 1953).
        16 See Christian Ahlborn & Carsten Grave, Walter Eucken and Ordoliberalism:An Introduc-
      tion from a Consumer Welfare Perspective, 2 COMPETITION POL'Y INT'L 197 (2006); see also

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     nomic approaches, which, remarkably, often lead to the same answer
     despite their dramatically different philosophical bases.
        In particular, whether the evaluation is based on an ECPR or a
     Shapley value approach, FRAND licensing must consider two key fac-
     tors: (1) the contribution of the patented invention to the standard, and
     (2) the existence of any substitute technologies and the general level of
     competition. Part V summarizes these points and concludes our analysis.
     Regardless of whether economic efficiency or fairness is the paramount
     concern, one cannot ignore the contribution a patented technology
     makes to the value of a standard or the existence of substitute technolo-
     gies in any sensible, fair distribution of rents. That means numeric pro-
     portionality rules will only be applicable under narrow circumstances.
     While the Georgia-Pacificfactors may make good guidelines (albeit vary-
     ingly applied by the courts) for FRAND licensing evaluations under gen-
     eral circumstances, we argue that the two economic models provide the
     most solid framework for courts and competition authorities faced with
     FRAND cases.

          II. LICENSING, PATENT VALUE, AND STANDARD SETTING
        Scholars and practitioners have been struggling with how, in general,
     to value intellectual property for quite some time. The literature on pat-
     ent licensing, especially the theoretical literature, is vast. 7 No one
     method for establishing a price emerges from that literature. Of those
     methods that have been suggested, most have both advantages and dis-
     advantages and must therefore be evaluated in light of the situation at
     hand.
        The more accepted methods for pricing intellectual property are
     based on traditional financial analysis. These approaches equate the
     price of a patent to the expected discounted stream of benefits derived
     from practicing and/or licensing the patent. 8 For example, consider a
     patent that fully defines a product that can be sold for $5. If costs per
     unit are $4 and the producers expect to sell 100 units over the lifetime
     of the product's commercial success, then under traditional financial


     DAVID J. GERBER, LAW AND COMPETITION IN TWENTIETH CENTURY EUROPE: PROTECTING
     PROMETHEUS      (1998).
          17 For surveys of the theoretical literature, see   Morton I. Kamien, PatentLicensing, in I
     HANDBOOK OF GAME THEORY WITH ECONOMIC APPLICATIONS 332 (RJ. Aumann                   & S. Hart
     eds., 1992); see also SUZANNE SCOTCHMER, INNOVATION AND INCENTIVES (2004).
          IS Russell L. Parr & Gordon V. Smith, QuantitativeMethods of ValuingIntellectual Property,
     in   THE NEW ROLE OF INTELLECTUAL PROPERTY IN COMMERCIAL TRANSACTIONS                   (Melvin
     Simensky & Lanning G. Bryer eds., 1994).


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      analysis the patent can be said to generate $100 in profits, which is then
      discounted to a present value using an acceptable interest rate.
         The simple expected earnings approach is not always ideal, however,
      because the future typically involves choices. To account for the oppor-
      tunity costs involved in practicing a patent, Pakes suggests a somewhat
      more general approach relying on option pricing.' 9 Under this model a
      decision tree is developed, with each branch representing an alternative
      path, including for example licensing a patent, licensing a substitute
      patent to produce the same product, or opting for some other business
      altogether not requiring either patent. Each branch is then assigned a
      probability and an expected payoff (which is then discounted). The
      branch with the highest expected payoff is the one chosen.
         All of these financial approaches link the value of a patent to what we
      will term its "marginal" or "incremental" contribution. That is, (a) its
      contribution to the value of the products and/or services that embed its
      technology, and (b) the existence of current and/or potential
      alternatives.
         In practice these approaches may be hard to implement. Estimating
      the future stream of revenues "due" to a patent owner for a patent used
      by a licensee requires estimating how much a particular patent contrib-
      utes to a good or service, as distinct from other intellectual property
      embedded in that good or service, plus all of the other contributors to
      revenues, such as marketing and promotions. Furthermore, calculating
      the appropriate license revenues also requires estimating the willingness
      to pay of a third party, in light of its current and likely future alterna-
      tives. Potential licensees always have the option of not taking a license if
      the royalty sought makes some other technology, or some other business
      entirely, more economically attractive. The option value approach
      makes this explicit, because substitute technologies and the option of
      "doing nothing" can be included on the option tree, but a considerable
      amount of data is required for this method.
        Despite the difficulties involved in measuring patent value, it is widely
      recognized that only a handful of patents are highly valuable-because
      they influence follow-on innovations and/or cover commercially suc-
      cessful technologies, products, or services for which there are no availa-
      ble substitutes-while the majority of patents hold very little value to


          19Ariel Pakes develops a model in which patents are compared to options. Ariel Pakes,
      Patents as Options: Some Estimates of the Value of Holding European Patent Stocks, 54
      ECONOMETaicA 755 (1986). For a discussion of the strengths and weaknesses of option
      value analyses, see Josh Lerner & John Willinge, A Note on Valuation in PrivateEquity Set-
      tings 9 (Harvard Bus. Sch., Working Paper No. 9-297-050, 2002).

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     either the original patent holder or anyone else. In other words, the
                                                     2°
     distribution of patent values is highly skewed.
       While patent valuation in the standard-setting context has some
     unique aspects, there is reason to believe that patent values will be un-
     even here as well. The manner in which patents are disclosed to a stan-
     dard-setting organization ensures that this will be the case. First,
     deciding when to disclose a patent as "reading on" a standard (i.e., rele-
     vant to it) is a judgment call. Even companies participating in the stan-
     dard-setting process may not be clear on whether their patents are
     essential for a standard. As one book on licensing technology explains:
          Today there is substantial confusion about which patents are essential
          for any technical implementation of a standard. If the standard explic-
          itly incorporates a patent, then of course there is little problem, but
          that happens only rarely. More commonly, each patent must be evalu-
          ated by someone, according to some methodology, who will determine
          whether the patent is essential according to that methodology."

        Empirical research supports this observation. In interviews, Chiao,
     Lerner, and Tirole find that the size and complexity of'some firms' pat-
     ent portfolios make it difficult for firms to know which of their patents
     read on a standard; some respondents likened the task to the search for
     a needle in a haystack.2 2 This can be especially true if the firms send only
     technical specialists to SSO meetings, without including upper manage-
                                          23
     ment or strategic decision makers.
       Chiao et al. also report that some firms argue that disclosing specific
     patents reveals valuable information to rivals about future technology


         2oSkewness refers to the shape of the distribution curve. In this case, the curve is
     shifted to the left, with a large peak at very low values and a long "tail" representing a
     small number of patents with high values. For examples in the literature discussing the
     skewed distribution of patent value, see F.M. SCHERER ET AL., PATENTS AND THE CORPORA-
     TION: A REPORT ON INDUSTRIAL TECHNOLOGY UNDER CHANCING PUBLIC POLICY                 (2d ed.
      1959); Jean 0. Lanjouw et al., How To Count Patents and Value Intellectual Property: The Uses
      of Patent Renewal and Application Data, 46J. INDUS. ECON. 405 (1998); Dietmar Harhoff et
     al., Citation Frequency and the Value of Patented Inventions, 81 REv. ECON. STAT. 511 (1999);
     F.M. Scherer & Dietmar Harhoff, Technology Policy for a World of Skew-Distributed Outcomes,
     29 RES. POL'Y 559 (2000); Wesley M. Cohen & Stephen A. Merrill, Introduction, in PATENTS
     IN THE KNOWLEDGE BASED ECONOMY 1, 8 (Wesley M. Cohen & Stephen A. Merrill eds.,
     2003).
          21 GOLDSTEIN & KEARSEY, supra note 1, at 89.
          22 Chiao et al., supra note 4, at 5-6.
          23 Including strategic decision makers in the team for standard-setting organization
     meetings is a relatively new phenomenon. See, e.g., Neil Gandal, Nataly Gantman & David
     Genesove, Intellectual Property and Standardization Committee Participationin the U.S. Modem
     Industry, in STANDARDS AND PUBLIC POLICY 208 (Shane Greenstein & Victor Stango eds.,
     2004).


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      strategies. 24 Recognition of these legitimate business concerns is likely
      one reason that SSOs like ETSI simply request that members use "rea-
      sonable endeavours" to identify relevant intellectual property, rather
                                                2
      than demand an exhaustive reporting. 5
         Weighing against the incentives not to disclose too much is an incen-
      tive to disclose more than is needed. In the United States, the courts
      have found in several cases that failing to disclose intellectual property
      to an SSO in a timely fashion constitutes fraudulent or unfair behavior,
      with remedies typically stripping or at least limiting the offending com-
      panies' intellectual property rights. 26 Likewise, the European Commis-
      sion has shown its determination to prevent "patent ambush." EU
      Competition Commissioner Neelie Kroes recently stated:
             Standards are of increasing importance, particularly in hi-tech sectors
             of the economy. It is crucial that standard-setting bodies establish rules
             which ensure fair, transparent procedures and early disclosure of rele-
             vant intellectual property. We will continue
                                                        27 to monitor the operation
             of standard-setting bodies in this regard.

         As a result of these factors, the list of disclosed "essential" patents for a
      given standard is likely to be a mixture of the patents that firms can
      readily identify, those that firms are not too reluctant to disclose for
      valid strategic reasons, and those that may or may not be genuinely es-
      sential for implementation but are included as insurance against the
      threat of non-disclosure litigation.
        Aside from requesting disclosure of the relevant intellectual property
      and demanding that the patents disclosed as essential be licensed on
      FRAND terms, SSOs generally do not venture to define, request, or even
      advise on any specific licensing terms. In fact, we are not aware of any
      SSO that explicitly sets out what licensing terms must be to comply with

         2
          4Chiao et al., supra note 4, at 6.
         25European Telecommunications Standards Institute, Intellectual Property Rights Pol-
      icy, available at http://www.etsi.org/legal/documents/ETSI-IPRPolicy.pdf.
          26 See Wang Labs., Inc. v. Mitsubishi Elecs. Am. Inc., 103 F.3d 1571 (Fed. Cir. 1997);
      Qualcomm Inc. v. Broadcom Corp, No. 05-CV-1958-B (BLM), 2007 WL 2296441 (S.D.
      Cal. Aug. 6, 2007); Stambler v. Diebold, Inc., 11 U.S.P.Q.2d 1709, 1988 WL 95479
      (E.D.N.Y. 1988), affd mem., 878 F.2d 1445 (Fed. Cir. 1989) (unpublished); Potter Instr.
      Co. v. Storage Tech. Corp., 207 U.S.P.Q. 763, 1980 U.S. Dist. LEXIS 14348 (E.D. Va.
      1980), affd, 641 F.2d 190 (4th Cir. 1981); Dell Computer Corp., 121 F.T.C. 616, 1996 WL
      33412055 (1996) (Statement of the Federal Trade Commission). Of course, other cases
      brought in U.S. courts have been decided in favor of the defendants, such as Rambus,
      Inc. v. Infineon Techs. AG,318 F.3d 1081 (Fed. Cir. 2003).
          27Press Release, European Commission, Competition: Commission Welcomes
      Changes in ETSI IPR Rules to Prevent "Patent Ambush" (Dec. 12, 2005), available at
      http://europa.eu.int/rapid/pressReleasesAction.do?reference=IP/05/1565&type=HTML
      &aged=0&Ianguage=EN&guiLanguage=EN.

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      a member's FRAND commitment. This lack of specificity is not surpris-
      ing. Licensing is, among other things, a pricing matter, and antitrust
      authorities have traditionally been highly skeptical of organizations
      where competitors meet to discuss business plans and pricing strategies.

         Despite the antitrust tensions, the U.S. Department ofJustice recently
      gave business letter clearance to two SSOs that sought to encourage ex
      ante (prior to any official vote on a standard) licensing term disclosure
      as a means of avoiding ex post licensing disputes.2 8 VITA has the most
      stringent new policy, which mandates the disclosure of IP holders' maxi-
      mum rates and most restrictive terms.2 9 IEEE is pursuing a more flexible
      approach by giving members more opportunities to voluntarily disclose
                                                30
      desired licensing terms and conditions.
         Regardless of these two isolated efforts-the efficacy of which remains
      to be seen-the vast majority of IP policies at standard-setting organiza-
      tions show a considerable lack of definition. The ambiguity is under-
      standable, and perhaps even optimal given the flexibility it enables, but
      it leaves the courts and competition authorities to their own devices in
      making FRAND a practicable concept after a standard is defined. In the
      remainder of the article, we consider the options open to the courts and
      the competition authorities for giving FRAND specific meaning in any
      ex post disputes.

                                 III. COURT-BASED RULES
         Two options for defining FRAND emerge from the courts. The first is
      the framework employed for judging reasonable royalties in patent in-
      fringement cases: the Georgia-Pacificfactors. The second is the proposal
      that the complainants against Qualcomm to the European Commission
      have put forth: numeric proportionality. In this Part, we discuss these
      two potential approaches, pointing out any advantages or disadvantages.



          28Letter from Thomas 0. Barnett, Ass't Att'y Gen., U.S. Dep't ofJustice, to Michael A.
      Lindsay, Institute of Electrical and Electronics Engineers (Apr. 30, 2007), available at
      http://www.usdoj.gov/atr/public/busreview/222978.htm; Letter from Thomas 0. Bar-
      nett, Ass't Att'y Gen., U.S. Dep't of Justice, to Robert A. Skitol, VMEbus Int'l Trade Ass'n
      (Oct. 30, 2006), available at http://www.usdoj.gov/atr/public/busreview/219380.htm.
          29 VMEbus International Trade Association, VITA Patent Policy (Oct. 30, 2006), availa-
      ble at http://www.vita.com/disclosure/VITA%20Patent%2Policy%20section%2010%20
      draft.pdf.
          30Press Release, Institute of Electrical and Electronics Engineers, IEEE Enhances Stan-
      dards Patent Policy to Permit Fuller Disclosure on Licensing (Apr. 30, 2007), available at
      http://standards.ieee.org/announcements/stdspatpol.html.


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                           A. GEORGIA-PACIFIC'S FIFTEEN FACTORS

         Within the United States, the seminal case for establishing reasonable
      royalties for patent infringement is Georgia-Pacificv. United States Plywood,
      decided in 1970 in the Southern District of New York.3' The district
      court found that United States Plywood infringed Georgia-Pacific's pat-
      ent for decorative striated plywood panels. The court then enumerated
      fifteen factors that should be taken into consideration when calculating
      a reasonable royalty rate for the purposes of determining damages:
          1. The royalties received by the patentee for the licensing of the pat-
             ent in suit, proving or tending to prove an established royalty.
          2. The rates paid by the licensee for the use of other patents compa-
             rable to the patent in suit.
          3. The nature and scope of the license, as exclusive or non-exclusive;
             or as restricted or non-restricted in terms of territory or with re-
             spect to whom the manufactured product may be sold.
          4. The licensor's established policy and marketing program to main-
             tain its patent monopoly by not licensing others to use the inven-
             tion or by granting licenses under special conditions designed to
             preserve that monopoly.
          5. The commercial relationship between the licensor and licensee,
             such as, whether they are competitors in the same territory in the
             same line of business; or whether they are inventor and promoter.
          6. The effect of selling the patented specialty in promoting sales of
             other products of the licensee; the existing value of the invention
             to the licensor as a generator of sales of its non-patented items;
             and the extent of such derivative or convoyed sales.
          7. The duration of the patent and the term of the license.
          8. The established profitability of the product made under the pat-
             ent; its commercial success; and its current popularity.
          9. The utility and advantages of the patent property over the old
             modes or devices, if any, that had been used for working out simi-
             lar results.


          31Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970). Le-
      gal scholars appear to agree that the "'Georgia-Pacificfactors' have served as the standard
      framework... for over thirty years." RoyJ. Epstein & Alan J. Marcus, Economic Analysis of
      the Reasonable Royalty: Simplification and Extension of the Georgia-Pacific Factors,85 J. PAT. &
      TRADEMARK OFF. Soc'y 555, 555 (2003).


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         10. The nature of the patented invention; the character of the com-
             mercial embodiment of it as owned and produced by the licensor;
             and the benefits to those who have used the invention.
         11. The extent to which the infringer has made use of the invention;
             and any evidence probative of the value of that use.
         12. The portion of the profit or of the selling price that may be cus-
             tomary in the particular business or in comparable businesses to
             allow for the use of the invention or analogous inventions.
         13. The portion of the realizable profit that should be credited to the
             invention as distinguished from non-patented elements, the man-
             ufacturing process, business risks, or significant features or im-
             provements added by the infringer.
         14. The opinion testimony of qualified experts.
         15. The amount that a licensor (such as the patentee) and a licensee
             (such as the infringer) would have agreed upon (at the time the
             infringement began) if both had been reasonably and voluntarily
             trying to reach an agreement; that is, the amount which a pru-
             dent licensee-which desired, as a business proposition, to obtain
             a license to manufacture and sell a particular article embodying
             the patented invention-would have been willing to pay as a roy-
             alty and yet be able to make a reasonable profit and which
             amount would have been acceptable by a prudent patentee who
             was willing to grant a license. 2
         The majority of these factors are directly applicable to FRAND evalua-
      tions in a standard-setting context, especially for patents with a licensing
      history prior to their inclusion in a standard. Those factors not already
      applicable could be easily extended. For instance, Factor 13 could be
      modified to read, "The portion of the realizable profit that should be
      credited to the standard component covered by the invention as distin-
      guished from other components, both patented and non-patented .... "
         Despite the detail and the length of the Georgia-Pacificlist, the factors
       do not in fact prescribe the exact method for calculating reasonable
       royalties. They are instead the guidelines against which specific reasona-

           32Georgia-Pacific., 318 F. Supp. at 1120. This is by necessity a hypothetical exercise,
       since in each patent infringement case there is no willing licensee and no willing licensor;
       otherwise there would be no case. This is a point recognized in the Georgia-Pacificdecision
       and by subsequent courts, such as the Sixth Circuit in Panduit.See Panduit Corp. v. Stahlin
       Bros. Fibre Works, Inc., 575 F.2d 1152 (6th Cir. 1978). The exercise is worthwhile none-
       theless since it casts the reasonable royalty question in the specific circumstances of the
       firms and patents involved.


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      ble royalty approaches are generally judged. In infringement suits, both
      sides typically present their own calculations and the presiding judge
      rules on which of the two is more reasonable under the circumstances at
      hand, or throws both proposals out and offers his or her own calcula-
      tion. The judge has considerable discretion over the particulars, includ-
      ing the choice of an accounting method. 33 This discretion can be viewed
      as a cost, however, since it can lead to considerable uncertainty over the
      terms that will prevail in a judgment."
         If uncertainty is deemed an acceptable cost for standard setting, a sim-
      ilar process might work in FRAND disputes as well. FRAND would be left
      as a largely undefined but enforceable promise with an SSO. In the
      event of a dispute, such as the cases currently underway in the United
      States and Europe, the disputing parties would put forth their best argu-
      ments in support of specific licensing terms. The judge would either
      choose one of those proposals orjustify a third, which the parties would
      then have to implement.

                                B. NUMERIC PROPORTIONALITY
         The complainants against Qualcomm in Europe argue that all patents
      that are "essential" to a standard should be regarded as equally valuable
      and treated symmetrically, since they all afford patent holders the same
      market power (or hold-up power) ex post.34 Extending this line of
      thought, the complainants propose that royalties satisfying the FRAND
      promise are those that are proportional to the number of essential pat-
      ents that contributed to the standard. If 100 patents are found to be
      essential, and firm A holds ten of them, firm A should receive 10 per-
      cent of the total royalty the standard commands. On the face of it, this
      proposal may appear quite egalitarian and, thus, at least likely to satisfy
      the "fair" part of FRAND.
         Numeric proportionality rules are used today in some licensing set-
      tings. For instance, several recently formed patent pools, all of which
      grew out of standard-setting efforts, use numeric proportionality formu-
      lae to distribute the pool's royalty earnings among participants. 351 The
      primary motivation for adopting numeric rules is lower transaction


          33 See, e.g., Smithkline Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1164 n.2
      (Fed. Cir. 1991).
          34 Faultline, supra note 13.
          35 Anne Layne-Farrar & Josh Lerner, To Join or Not toJoin: Examining Patent Pool Partici-
      pation and Rent Sharing Rules (Working Paper Nov. 11, 2006), available at http://ssm.com/
      abstract=945189.


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       costs. Simple numeric formulae make royalties easy to calculate and ad-
       minister and easy for patent holders to verify.
         The advantage of lower transaction costs, however, is offset by a num-
      ber of disadvantages. The first is a practical concern. Numeric rules only
      make sense when the group of patents defining the licensing universe is
      boiled down to those patents that are truly essential for the standard.
      The patents that participants declare as "essential" for a standard may or
      may not be either technically or commercially essential. As discussed
      above, the circumstances under which patents are identified as "essen-
      tial" may lead to less than perfect disclosure for a number of reasons.
      Nor do SSOs typically evaluate submissions to determine essentiality.36
      As a result, mere self-reporting is not enough to establish whether a pat-
      ent is genuinely needed for a standard. A rule compensating companies
      holding patents of questionable relevance, but which are nonetheless
      declared essential on the same terms as those companies holding truly
      essential patents, would not satisfy either the "fair" or the "reasonable"
      aspects of FRAND.
          In order to implement a numeric proportionality rule, then, all licen-
       sors would have to agree on a definition of essentiality and then submit
       their patents for independent review to determine which met that defi-
       nition. Defining essentiality entails a number of strategic decisions, such
       as whether or not to cover required technical elements for the core
       product only, or whether to cover optional features as well. The defini-
       tion might also include commercially essential patents, where the patent
       may not be required to get a standard to work but is required to make it
       palatable to consumers. After essentiality had been clearly defined, li-
       censors would need to agree on who would conduct the evaluations for
       essentiality. As patent review is a subjective art, the choice of an inde-
       pendent reviewer could be contentious. 3 7 These steps are, in fact, the
       steps that the patent pools choosing numeric proportionality rules have
       followed.38 While the process is clearly feasible, the fact that such steps
       are required to implement a numeric proportionality rule shows that
       such rules are not as simple or as straightforward as they might first
       appear.
         If independent essentiality determinations were not made, a numeric
       proportionality rule would create harmful incentives for patenting be-
       havior and would therefore have detrimental effects on intellectual


         36 See GOLDSTEIN & KEARsEV, supra note 1, at 88-135.
          37Patents are complex legal and technical documents. The reviewer would need to be
      well-versed in both patent law and the technology at hand.
          38See GOLDSTEIN & KEARsEv, supra note 1, at 88-135.


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      property rights and standard setting. Consider a world in which such a
      rule exists and is understood to exist by all SSO participants. Each com-
      pany participating in standard setting would have a strong incentive to
      file for as many patents as it can. The larger its portfolio, regardless of
      the technological contributions of the patents comprising that portfolio
      or the nature of their next-best alternatives, the larger its share of the
      royalties for the standard would be. If an invention can be separated
      into two distinct patents rather than merely adding to the number of
      claims for one patent, a rational firm would make that separation. Com-
      panies would attempt to patent even relatively minor incremental inno-
      vations, all in the hopes of building the largest portfolio of "essential"
      patents as possible. Companies would then report as many patents as
      possible to the SSO as being essential to a standard, knowing that the
      SSO would not evaluate the patents to determine whether they are, in
      fact, essential.3 9 In short, a poorly implemented numeric proportionality
      rule would not only fail to satisfy FRAND principles, 40 it would also en-
                                                                    4
      courage a proliferation of patenting of minor innovations. '
         More troubling, however, is the potential for disproportionate pay-
      ments even with well-designed numerically proportionate royalty rules.
      This seemingly contradictory statement follows from the fact that not all
      patents are born equal. The intellectual property literature has made it
      clear that patents differ in terms of their technological contributions,
      the value of the products that embed those contributions, and the na-
      ture of the next-best alternatives. 42 The available evidence shows that
      patent values as a general matter do reflect those differences and, conse-
      quently, vary enormously. If a technology is easy to invent around or has
      a ready supply of close substitutes, it is likely to receive a relatively lower


          s9 Participants may be unwilling to review competitors' claims of essentiality. See Chiao
      et a., supra note 4, at 6 n.3 ("In fact, U.S. legal rules mandating trebled damages for
      willful infringement lead firms to discourage their engineers from even examining the
      patent portfolios of their competitors.").
          40 That is, it would be both unfair and unreasonable since companies with large portfo-
      lios of relatively unimportant patents would capture the most royalty earnings, while firms
      with a smaller number of critical patents would receive less.
          41 It would thus exacerbate any worries over patent proliferation and patent thickets,
      already hotly debated in the academic literature and popular press. For influential papers
      on patent thickets, see Carl Shapiro, Navigating the Patent Thicket: Cross Licenses, Patent
      Pools, and Standard-Setting(Competition Pol'y Ctr., Paper CPC00-011, 2001), available at
      http://repositories.cdlib.org/iber/cpc/CPC0O-011/, reprinted in 1 INNOVATION POLICY AND
      THE ECONOMY (Adam Jaffe, Joshua Lerner & Scott Stern eds., 2001); Michael Heller &
      Rebecca Eisenberg, Can Patents Deter Innovation? The Anticommons in Biomedical Research,
      280 Sci. 698 (1998); see also Danny Bradbury, Canadian Innovation Choked by U.S. Laws,
      NAT'L POST, Nov. 17, 2003, at FEL.
         42 See Parr & Smith, supra note 18; Richard S. Toikka, Patent Licensing Under Competitive
      and Non-Competitive Conditions, 82 J. PAT. & TRADEMARK OFF. Soc'Y 279 (2000).

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      compensation than others. There is no reason to impose different valua-
      tion principles for technologies in a standard-setting context. Common
      sense suggests that it cannot be "fair," "reasonable," or "non-discrimina-
      tory" to offer the holder of easily substitutable patents the same compen-
      sation as the holder of a critical, irreplaceable patented technology
      supporting the same standard.
         As a consequence of the diversity in patent value, numeric propor-
      tionality rules will only make sense in a limited set of circumstances. For
      instance, when SSO members' IP contributions are roughly symmetric
      in value, numeric proportionality rules will not sacrifice economic effi-
      ciency or fairness, which dictate that a firm's share should equal its
      marginal contribution to the standard. Proportionality may also be ap-
      propriate in the rare event that members' numeric shares correlate
      highly with their contribution shares of the standard's value. In this
      case, numeric proportionality rules mimic value proportionality rules.
      Correlation of this type can occur in patent pool settings as a result of
      self-selection into the pool, but we would not expect this condition to
                                    43
      hold generally within SSOs.

                                IV. ECONOMIC RULES
         We turn now from rules proposed in litigation settings to those pro-
      posed in the economic literature. We first discuss a recent paper by
      Swanson and Baumol that suggests a strategy for making FRAND opera-
      tional in a standard-setting environment. 44 Their proposal is rooted in
      the concept of economic efficiency. For the second economic approach
      we apply a cooperative game theory model to FRAND. This second op-
      tion might hold appeal for European audiences. We close the section by
      comparing the two models.

                     A. A MARKET/EFFICIENCY-BASED APPROACH
         Swanson and Baumol develop a market/efficiency-based framework
      for evaluating RAND royalties by considering intellectual property com-
      petition before and during the standard-setting process. In essence,
      their approach relies on the fact that while a standard is developing,
      multiple technologies supported by rival firms may compete for inclu-
      sion in the standard. This ex ante competition can be harnessed to pro-
      vide a benchmark for what is fair, reasonable, and non-discriminatory ex
      post, after the standard has been set and competition among technolo-
      gies has thereby been diminished. We begin by summarizing their

        43Layne-Farrar & Lerner, supra note 35.
        44Swanson & Baumol, supra note 1.


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       model. We then extend their ex ante competition analysis to account for
       multiple components and contributors to a standard.

                                  1. The Swanson-Baumol Model

         Swanson and Baumol consider the case in which a standard involves
       choice of a single technology to produce a given downstream product.
      They suppose an SSO holds an auction over competing technologies
      during the development phase, with the winner of the auction becom-
      ing the standard. During the auction, intellectual property holders
      would need to submit offers for a license fee per unit of output to down-
      stream users of the standard, who would then choose which patent
      should be embodied in a standard. The outcome of such an auction
      would, Swanson and Baumol argue, provide a basis for what constitutes
      "reasonable" license fees, because it would fully reflect the state of com-
      petition among potential IP providers existing prior to the selection of a
      standard. This reasonable level of royalty rates would of course be con-
      strained by the price of the final product in the downstream market. If a
      proposed royalty rate were too high, then the license fee would result in
      downstream manufacturers producing at a loss and they would there-
      fore veto the IP technology during the auction.
        Under some simplifying assumptions, discussed in greater detail be-
      low, Swanson and Baumol show that the auction will be won by the
      "best" IP option-under their assumptions, the option that permits pro-
      duction of the downstream product at the lowest cost. 45 This IP will be
      licensed at a fee equal to the recurring costs of licensing, plus the differ-
      ence in value between the best and next-best IP alternatives. This hypo-
      thetical auction is the foundation for the "fair" and "reasonable" aspects
      of the licensing rule that Swanson and Baumol propose.
        They then adapt the "efficient component pricing rule" to satisfy the
      "non-discriminatory" component of FRAND 46: a competitively neutral li-
      cense fee should compensate the IP owner both for the incremental
      costs of licensing IP and the opportunity cost of licensing the technol-


          45
             While Swanson and Baumol define options in terms of cost, the analysis is un-
      changed if we instead hold cost constant and maximize the quality or performance of the
      technology. Id. at 19.
          46 Id. at 32-33. Compliance with ECPR is necessary for a license fee to satisfy the non-
      discriminatory component of FRAND when the licensor also participates in the down-
      stream market. As noted above, the ECPR was developed in the context of pricing the
      services of public utility bottlenecks, like local telephone networks, when the owner of the
      bottleneck is in competition (in long-distance services, for instance) with a rival to which
      it sells the bottleneck's services.

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      ogy. Faced with such a fee, the IP holder will be indifferent between
      licensing the technology to rivals and producing the product itself.
         Consider a vertically integrated IP holder which considers the fee per
      unit of downstream output, P, at which it could license its technology
      on non-discriminatory terms. Let P, denote the price of the final prod-
      uct using the technology owned and licensed by company i, and assume
      that the final products of the IP owner and licensees are perfect substi-
      tutes. 47 The efficient component pricing rule requires that the royalty
      rate fee charged by company i satisfies:
      (1)                              Pi = Pf - Ir, i.

        According to equation (1), the non-discriminatory license fee Pi is
      equal to the implicit price firm i charges itself for the technology: the
      final product price, P1,i, less the licensor's incremental costs of remain-
      ing inputs, ICj, such as capital and labor. Thus, the per-unit value of the
      IP is defined by the marginal contribution of the technology to the value
      of the final good. Efficiency requires that, holding other inputs con-
      stant, an increase in the price of the final good be matched by an in-
      crease in the license fee charged to third parties. The license fee set by
      equation (1) makes the licensor indifferent between producing a unit of
      the final product itself and allowing downstream competitors to pro-
      duce that unit licensing its IP. Note that when the IP technology is used
      as an input in different final products, the implicit price the licensor
      charges itself will generally differ and, thus, so will the non-discrimina-
      tory license fee charged to third parties.
        Swanson and Baumol show that ECPR is a necessary and sufficient
      condition for a licensing fee to be non-discriminatory. 48 Finally, they
      demonstrate that the ECPR license fee obtained from equation (1)
      above will be the same as the "reasonable" royalty rate resulting from the
      auction-like process described above so long as "downstream barriers to
      entry are low regardless of competitive conditions in the technology licensing
      market."49 If the license fee is too low it will attract new entrants, pushing
      the final product price down until equation (1) matches the fee. Alter-
      natively, if the license fee is higher than that defined by equation (1),
      downstream producers will reject it since at that level they would pro-
      duce at a loss.


         47 Id. at 32. For simplicity, we set the recurring cost of licensing IP equal to zero. Ad-
      ding licensing costs does not alter the conclusions of the model at all, but does make for
      more complicated equations.
         48 Id. at 33. This result is denoted as the "'Level-Playing-Field' Theorem."
         49 Id. at 39.



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                                     2. Extending the Model
        While Swanson and Baumol's ex ante auction approach provides an
      elegant solution to determining whether a license price meets FRAND
      terms, their analysis rests on some strong simplifying assumptions. Most
      importantly, the standard they consider requires only one patented
      technology, which is then used as an input in the production of the final
      good: one patent held by one firm becomes one standard, which defines
      one product.

         Standards rarely, if ever, consist of just one patent, however. To the
      contrary, most standards, especially those defining complex products
      and services, include many IP contributions covering complementary as-
      pects of the product, and are proffered by many different IP developers.
      For example, the mobile phone Universal Mobile Telecommunications
      System (UMTS) standard at issue in the FRAND cases listed earlier cov-
      ers radio access networks (the Wideband Code Division Multiple Access,
      or WCDMA, an interface for the mobile phone-to-base station leg of a
      call), core networks (for handling the call after it reaches a base sta-
      tion), system architecture features (such as coding and encryption
      methods), plus several other backward compatibility and feature-driven
      components. All told, the essential IP declared to ETSI for the
      WCDMA/UMTS standard includes over 4,000 patents held by over forty-
      five companies as of early 2006.50
         The contribution of multiple parties to a standard significantly com-
      plicates the FRAND question. What defines FRAND licensing commit-
      ments for individual parties? How will royalty payments compare or be
      distributed among participants? The Swanson-Baumol analysis does not
      address these concerns. While applying their model to competing multi-
      patent standards may define a reasonable overall level of royalties, it
      does not provide a means for dividing those royalties among partici-
      pants in the winning standard. Moreover, the Swanson-Baumol non-dis-
      criminatory royalty benchmark-the implicit price the IP owner charges
      itself (which equals the opportunity cost of a lost sale)-cannot be ap-
      plied when multiple complementary patents contribute to a standard.
      To manufacture the final product, each IP owner needs cross-licenses
      for the components of the standard for which it does not hold intellec-

          50
             As measured by declared essential patents, issued worldwide, posted on ETSI's Web
      site for UMTS and other 3G projects. See ETSI IPR Database, http://webapp.etsi.org/ipr/.
      Note that while many more thousands of patents are listed for these projects on the Web
      site, as of March 20, 2006, a great many of these are duplicate entries. After duplicate
      patent numbers are eliminated, about 4,650 patents remain, covering patents issued
      across the globe.

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      tual property rights. Therefore, the opportunity costs cannot be ex-
      pressed in terms of lost sales in the downstream market since the firm
      cannot manufacture the final good without additional intellectual
      property.
         With these issues in mind, we start our model extension. Assume that
      a standard consists of two complementary components, a and b, each
      developed by distinct companies and each protected by a patent. 51 In
      what follows, a and b refer to a component-patent-company combina-
      tion. By assuming two technologies that must be used together to obtain
      a single product, we can capture the essence of the multi-patent issues
      within standard setting without too much complexity. The value of the
      standard per unit of final output, which following Swanson-Baumol one
      can think of as the difference between the competitive price of the final
      product and the incremental cost of other inputs, is given by Wb. The
      standard only has value when both components are present; both com-
      ponents are strict complements; both add value. All components in-
      cluded in the standard are, at least to some degree, important and
      necessary for the standard to function properly. The cumulative royalty
      rate for the standard is given by the sum of the royalty rates for the two
      components, i.e., P.m = P. + Pb < W, = Pf,.hgdoo - Costs. This equation is
      analogous to the Swanson-Baumol setup, and is just expanded to recog-
      nize that two parties can lay claim to the profits generated by the prod-
      uct. By adding the second party, though, we also introduce ambiguity
      over what each patent holder should receive.
         In order to fix prices for the two patent holders, we assume that the
      SSO determines the reasonable level of royalties by holding two simulta-
      neous auctions: one for each of the complementary components. The
      auction mechanism works in two stages. In the first stage, patent holders
      quote their royalty rates non-cooperatively. Each of them sets its rate so
      that (a) it is not undercut by competing technologies and (b) it is con-
      sistent with the royalty rate paid for the complementary component. In
      a second stage, each licensor decides whether or not to be part of the
      standard, given the resulting royalty rates. We solve this game by back-
      ward induction looking for subgame perfect Nash equilibria (SPNE).52

           51This is a simplifying assumption that does not change the main results. The results
      still hold true in the general case, with n IP components produced by the same company,
      or n IP components produced by z companies.
           52 A Nash equilibrium, named after the mathematician who proposed it-John Forbes
      Nash of A Beautiful Mind fame-is a game theory concept. A Nash equilibrium is a solu-
      tion to a game involving two or more players in which no player has anything to gain by
      changing only his or her own strategy unilaterally. In other words, if I take your possible
      actions into account and pick my best strategy, and you do the same, neither one of us has
      any incentive to change our strategies unless something else changes, like new informa-


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         The solution to the second stage is trivial: each patent holder licenses
      its patent if and only if its royalty rate exceeds the incremental cost of
      licensing its technology, which, as above, is assumed to be zero for sim-
      plicity; that is, Pi > 0 for i = ab. For the first stage of the auction process,
      we consider the following five alternative ex ante scenarios: (1) perfect
      competition among rival technologies for both components; (2) perfect
      competition for one of the components and no competition for the
      other; (3) perfect competition for one of the components and imper-
      fect competition for the other-i.e., there exists a close, but not perfect,
      substitute; (4) no competition for either of the two components; and
       (5) no competition for one component and imperfect competition for
      the other. These five scenarios capture the competition possibilities fac-
      ing technologies within standard setting. Sometimes a technology will
      be unique and face no competition; sometimes competition will exist
      but represent a second-best outcome; and at other times competition
      will be fierce among easily interchangeable options. Under the five dif-
      ferent scenarios the outcome of the auction and the resulting FRAND
      rates will be different.

            Case 1: Perfect competition ex ante in the market for both of the
            IP components.
         With perfect competition ex ante for both IP components necessary
      for a given standard, the equilibrium royalty rate of each component of
      the standard is given by the incremental cost of licensing that compo-
      nent, which is assumed to be zero without loss of generality. This equi-
      librium is unique. When ex ante perfect substitutes to a technology
      exist, an IP owner cannot extract any positive profits since it has no mar-
      ket power in the auction. In the battle to be included in the standard,
      the license fee is bid down to the point where it is just enough to cover
      the incremental costs of licensing. Thus, licensors cover their costs only,
      while licensees (or end-users of the product) appropriate all of the rents
      from the standard.

            Case 2: Perfect competition ex ante for one of the components;
            no competition for the other.
        With perfect competition for component b, no provider of the corre-
      sponding IP can extract any profit from licensing. On the other hand,


      tion. John Nash, EquilibriumPoints in n-Person Games, 36 PROC. NAT'L ACAo. Sci. 48 (1950).
      An equilibrium is subgame perfect if it represents a Nash equilibrium of every subgame
      the original game can be divided into. Since our purpose is to lay out the possible tools
      that courts and competition authorities can use to define FRAND, we do not go into
      detail on the derivation of any equilibria.

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      the patent holder without a substitute (the company delivering compo-
      nent a) can do so. In the unique equilibrium of the simultaneous auc-
      tion game, the IP holder facing no competition captures the full value
      of the standard:
      (2)                               Pa=P     = Wb;Pb= 0.

            Case 3: Perfect competition ex ante for one of the components;
            imperfect competition ex ante for the other.
         Assume there is still perfect competition for component b, but com-
      ponent a now faces competition from component c. Component c is a
      close, but not perfect, substitute for component a and is produced by a
      third company. Now two standards are possible, with values W, and W,
      where Wb > Wb,. In equilibrium, Pb = 0, as before. But the royalty rate
      charged for component a in this case is limited to the incremental value
      of the corresponding IP over the next-best alternative. If the holder of a
      tried to capture the full value as in Case 2, it would lose the auction to c.
      Because the (ab) standard is superior to the (cb) standard though,
      company a can win the auction by setting a license fee such that the net
      value of the (a,b) standard to all licensors, Wab - P = W6j - Pa, is slightly
      higher than the net value of the (cb) standard with a royalty rate of
      zero. Thus, in the unique SPNE of this auction game,53 component a's
      IP owner captures the full incremental value:
      (3)                           P. = P = W-         Wb; Pb = O.

            Case 4: No competition ex ante for either of the two
            components.
        It can be the case that neither of the necessary components faces com-
      petition. In this case, there is a single supplier of the IP necessary to
      produce a and a single supplier of the IP necessary to produce b. Since
      both a and b are required for the product, though, the rents must be
      shared even though each IP holder is a "monopolist" in some sense.
      Since the value of neither a nor b is limited by any close substitutes, any
      pair of royalty rates (P., Pb) meeting the following two conditions will
      constitute a SPNE of the auction game. First, Pi > Ofor i = ab to ensure
      that both a and b are contributed to the product (i.e., their holders will
      only participate in the standard if the reward is positive). Second, P + Pb
      = Wai, otherwise no one would implement the standard since the aggre-
      gate price would exceed the value of the product. Note that for any

         53 We assume for simplicity that in case of a tie in the royalty rates quoted by the
      owners of components a and c, the SSO selects the component with a greater absolute
      contribution to the standard: component a.


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       value of P. < Wa, the best response of the owner of patent b is to set Pb =
       Wa - P., which implies the second condition above. Patent holder b
       cannot be better off by deviating from this strategy. Setting a lower roy-
       alty rate will only benefit licensees. Setting a higher rate would cause the
       total royalty rate to exceed W and would result in market collapse,
       since the value of the standard Wb is defined as the difference between
       the price of the final good and the cost of all other inputs.

           Case 5: No competition ex ante for one of the components;
           imperfect competition ex ante for the other.
         In the last of the five scenarios we consider, there is a single supplier
      of component b, and component a faces competition from component c
      exactly as in Case 3, above. As in Case 3, the royalty rate charged for
      component a here is limited by the incremental value of the IP over the
      next-best alternative: P. _<Wb - Wb. If company a tried to set a higher
      rate, it would be successfully undercut by company c. Furthermore, as in
      Case 4, the royalty rate charged for component a is also limited by the
      royalty rate charged for the complementary component b: P + Pb = Wa.
      Therefore, following the same logic as in the previous scenario, we can
      show that any pair (P., Pb), such that (1) Pi> 0 for i = a, b, (2) P -<W -
      Wb, and (3) P. + Pb = Wab, constitutes a SPNE of the auction game. As
      before, condition (1) ensures it is in the interest of each IP holder to
      participate. Condition (2) reflects the fact that IP holder a cannot be
      too aggressive or it risks losing the auction to IP holder c.And condition
      (3) captures the fact that licensees will pay no more in the aggregate
      than the worth of the product. Although there may be equilibria in
      which component a may generate a higher royalty than component b,
      even when the former faces competition and the latter does not, the
      maximum royalty rate that can be charged for a, Wa - Wb,, is below the
      maximum royalty rate that can be charged for b, Wai.
         In conclusion, at equilibrium we find four important results. First, the
      royalty rates charged for components a and b are additive. That is, the
      aggregate rate matters since licensees are constrained in the down-
      stream market. Second, the royalty rates are non-decreasing in the value
      of the standard (which in turn is defined by the value of the final good
      less other costs), and strictly increasing in the value of the standard in
      the absence of perfect competition. In other words, if the value of the
      standard increases-either because the price of the final good rises (say,
      due to a demand shock) or the non-IP costs to produce it fall-the roy-
      alty rates might increase, depending on the level of competition in the
      technology market, but certainly will not decrease. When the IP compo-
      nents do not face substitutes, then any rise in the value of the standard

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      translates into a rise in royalty rates with certainty. Third, when a compo-
      nent faces imperfect competition, its royalty rate equals its incremental
      contribution to the value of the standard. Fourth and finally, the equi-
      librium royalty rate for a component to the standard is lower when it
      faces competition from other components and is minimal when compe-
      tition is perfect.


              B. A COOPERATIVE-GAME THEORETIC APPROACH TO FRAND

         Some might argue that efficiency-based rules, which treat competitive
      market outcomes-even monopolistic ones-as optimal and ignore is-
      sues of equity, cannot be counted on to produce outcomes that are fair
      or reasonable. In Europe, concepts of fairness are generally more im-
      portant than they are in the United States, where economic efficiency is
      typically the foremost concern. 54 An alternative approach to defining
      FRAND incorporates a normative interpretation and is based on cooper-
      ative game theory.55
         A simple model proposed by Shapley defines a means for dividing
      rents among participants of any cooperative group, such as an SSO that
      has the owners of complementary patents as its members.5 6 The model
      has a number of attractive features in relation to the notions of fairness
      and reasonableness. It divides rents (or costs) among players belonging
      to a group according to their average marginal or incremental contribu-
      tion to alternative combinations of the members of the cooperative
      group. (What is meant by "average" here is made precise below.) The
      Shapley value, thus, "to some extent is a synonym for the principle of
      marginal contribution-a time-honored principle in economic the-
      ory."57 It abstracts away from market competition in defining a 'Just"
      benchmark for a distribution of payments. As Young stated: "[T]he idea
      that rewards should be in proportion to contributions has a considera-
      ble ethical appeal in itself, and appears to reflect widely held views about



        54See Ahlborn & Grave, supra note 16; see also GERBER, supra note 16.
        55"Cooperative game theory does not set out to describe the way individuals behave.
      Rather, it recommends reasonable rules of allocation, or proposes indices to measure
      power." Eyal Winter, The Shapley Value, in 3 HANDBOOK OF GAME THEORY WITH ECONOMIC
      APPLICATIONS 2025, 2049 (Robert Aumann & Sergiu Hart eds., 2002).
         56 See Shapley, supra note 15.
         57Winter, supra note 55, at 2033. For useful expositions and discussions of the Shapley
      value, see R. DUNCAN LUCE & HOWARD RAIFFA, GrAMES AND DECISIONS           (1957); MARTIN
      SHUBIK, GAME THEORY IN THE SOCIAL SCIENCES: CONCEPTS AND SOLUTIONS            (1983); and
      GUILLERMO OWEN, GAME THEORY (2d ed. 1982).


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       what constitutes 'just compensation' without any reference to the theory
                                      58
       of perfect competition."

          Shapley's assumptions and solution are quite general, but they can
       easily be restated in the standard-setting context. Suppose there are sev-
       eral patents (or other pieces of intellectual property) that might be used
       in a particular standard. Let N denote the set of all these patents, let S
       be any subset of N, and let v(S) be the total (not per-unit) economic
       value, net of licensing costs, of the best standard that can be devised
       using the patents in S. If the patents in set S cannot support a workable
       standard at all, then v(S) = 0 (i.e., the standard defined by the group of
       patents S has no value). This might occur if S represented an incom-
       plete set, say, needing one more component before a viable product was
       defined. With all patents included in the standard (the full set N), value
       is equal to v(N), which is taken to be the best possible standard and
       assumed to be adopted by the SSO. Let P(v) be the value received by
       the owner of patent i, for any patent i in the larger set N (i E N).
       Shapley argued that any fair and reasonable method of dividing a stan-
       dard's total value among the relevant patent holders should satisfy four
       basic conditions:
          " Efficiency: The total value of the standard is distributed among all
            patents; nothing is left over:
                                           I P(v) = v(N).5 9
                                           iEN




          "    Anonymity: The value received by any patent is independent of who
               owns it and when it is considered for incorporation into the stan-
               dard in relation to other patents. In particular, if patents i and j are
               symmetric, in the sense that they each contribute the same amount
               to the standard, their payoffs should be equal as well: P(v) = P(v).

          " Dummy: If a patent does not contribute anything to any possible
            standard, it is a dummy, and it receives a payoff of zero. That is, if


           5
               H.P. Young, Individual Contribution and Just Compensation, in THE S-APLEY VALUE:
       ESSAYS IN HONOR OF LLOYD S. SHAPLEY 267 (Alvin E. Roth ed., 2005) [hereinafter THE
       SHAPLEY VALUE].
           59In a standard-setting context, this condition implicitly assumes that while patent
       holders need to be given incentives to develop their IP, this is not so for downstream
       manufacturers. Moreover, unlike the analysis of the previous section, it is assumed here
       that the total value captured by IP owners in aggregate is independent of the extent and
       nature of IP competition ex ante. Relaxing this assumption would not alter our con-
       clusions regarding the relative compensations of patent holders with different average
       marginal contributions to the standard.


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            v(Sui) - v(S) = 0 for every ScN, then Pi(v) = 0.' In other words,
            worthless patents get no rents.
           Additivity: Suppose that a single set of patents can support a second
           standard that is unrelated commercially to the one considered so
           far. That is, the value of either standard depends only on the pat-
           ents on which it is based, not on the value of patents involved in the
           other standard. Let w(S) be the value of the best second standard
           that can be supported with the set of patents S. The assumption is
           that in this case payoffs to individual patents will be the same
           whether the two standards are analyzed separately, as two coopera-
           tive games, or together, as a single cooperative game: P(v+w) =
           Pi(v) + Pi(w), for all i E N.
      Remarkably, Shapley demonstrated that one and only one method of
      dividing value satisfies all four of these axioms:

      (4)              Pi(v) = I,      I(v(SU~i})-v(S)),
                               ieSQN          n!
      where I SI is the number of patents in set S and n! (n factorial) equals
      n X (n - 1) x ... x 3x2x 1.61
         This forbidding formula has a simple and intuitive interpretation,
      which is also useful in computation. 62 Suppose that there are n patent-
      owners, one for each patent involved. (Because of the anonymity as-
      sumption, nothing would be affected if groups of "patent owners" were
      in fact employees of a small number of firms that actually owned the
      patents.) Suppose the patent owners arrive at the SSO in random order
      each with her patent in her pocket, with all possible arrival sequences
      equally likely. Now suppose that in each sequence, each patent owner
      receives the amount by which her patent increases the value of the best
      standard that can be built from the patents that are already at the SSO
      when she arrives. That is, if the set of patents S is at the SSO when patent
      j arrives, fs owner receives the incremental value v(Sul) - v(S). The
      Shapley value gives j the average of such contributions over all possible
      arrival sequences-each patent thus receives the average (over arrival
      sequences) of its marginal contribution.
         One surprising result from this model is that, in general, as we illus-
      trate in a particular case below, patents that are not part of the ultimate


         60 Sui denotes the set of all patents in S plus patent i.
         61THE SHAPLEY VALUE, supra note 58, at 4-7.
         62 LUCE & RAWFA, supra note 57, at 250; SHUBIK, supra note 57, at 181; OWEN, supra
      note 57, at 197.


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       standard will, if they are not dummies (valueless as defined above), re-
       ceive non-zero value. While this might strike some as unfair since even
       though the contribution is not included in the final standard, if it is a
       viable alternative that could have been chosen, it still receives a payout.
       This finding is clearly at odds with the ECPR, where only those patents
       that are included in a standard can receive any payout at all. It does,
       however, match certain notions of fairness in that everyone who partici-
       pates in a meaningful way is compensated. It also captures the ex ante
       presence of alternatives.
          To illustrate how the Shapley value works, let us consider the two-
       component case analyzed in Part IV. 63 Suppose only one patent for com-
       ponent a is available, while a number of firms have patents for compo-
       nent b, denoted as b],b2,b 3 .. Suppose for simplicity that the value of a
       standard involving a and any patent of component b is equal to 1. How
       do the "fair and reasonable" returns to the firms vary with the number
       of holders of patents on component b? Analysis of two special cases will
       illuminate the path to the general answer.

              Case A: n = 1; one holder of a patent on component a and one
              holder of a patent on component b.
         There are two possible orderings for the arrival of the two patent-
       owners: (1) a arrives first and b arrives second, or (2) b is first and a is
       second. In the first case, a receives nothing since a standard supported
       only by a patent on one component has no value by assumption. There-
       fore, the last to arrive b receives 1, the value of a workable standard. In
       the second case, a receives 1 and b receives zero. Thus, the value player i
       contributes, v,({i,j)), in arrival ordering {i,jJ is denoted by:
         va({a,b}) = 0; vb({a,b}) = 1; v.({a,b}) = 1; and vb({a,b}) = 0.
         The average contribution of player i,zi is therefore equal to:
                                              1+0  1
                                               2a -and        zb--- 1+0    1
                                               2   2                 2     2

         Whereas the ECPR allowed for any division of rent between the two
       unique component providers (within the bounds of the two conditions
       that ensured participation and licensee viability), the Shapley value has
      just one division of rents. Because the Shapley approach divides rents
       according to average contributions (e.g., P = zi), in this case the Shapley
       solution divides total value evenly between the holders of the two pat-


         63   See infra Part IV.A.2.


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      ents. Note that this case corresponds to Case 4 in Part IV. The royalty
      rates derived under the Shapley approach constitute one SPNE of the
      auction game analyzed in Part IV, athough there are many other equilib-
      ria which cannot be justified in Shapley value terms.

           Case B: n = 2: two b's and one a.
        This case is analogous to Case 2 above, where one component faced
      no competition while the other faced perfect competition. With one a
      and two b's, bi and b, there are six possible orderings for the arrival of
      the patent-owners:
         {a,bb 2}, {a,b2,bi}, {bl,a,b2}, {bi,b2 ,a}, {b2,a,bi}, and {b2,b 1 ,a}.
      a's marginal contribution in each of the possible orderings is:
        va ({a,b,b}) = v. ({a,bb,bi}) = 0, and
         va ({b 1,a,b2}) = v. ({&2,a,bj}) = v. ({b 1 ,b2 ,a}) = v. ({b,bi,a}) = 1
      bl's marginal contributions are given by:
         vbl ({b 1 ,a,b2}) = vb, ({b 1 ,b&2,a})    = v, ({a,62,b}) = vbl ({b2,a,bl}) =
      vb, ({bz,bl,a}) = 0
        Vb, ({a,b,b}) = 1

      And by symmetry, 62's marginal contributions are:
        vb2 ({b 1 ,a,b2}) = vb2 ({b 1 ,b2 ,a}) = vb2 ({a,bl,b 2})           =   v 2 ({b 2 ,a,bl}) =
      vb2 ({b,b,a}) = 0

        v, ({a, 2 ,b,}) = 1.
      Thus, the average marginal contributions of a, bl, and b2 are equal to:
                                           4 and               1
                                           66

         Here, even though it might make technical sense for the standard to
      be based on only one of the two component b patents, both b, and b2 are
      entitled to royalties according to the Shapley value. In contrast, under
      the efficiency-based approach of the previous section, company a would
      obtain all rents, za = 1, since it faced no competition, while companies b,
      and k would obtain zero since perfect competition would drive their
      auction bids to that level. The Shapley value is still affected by competi-
      tion, but less drastically. Certainly each b component receives less than a
      because one is a perfect substitute for the other, but since the potential
      contribution to the standard is positive for each b, so is each b's payout.


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              Case C: The general case, n-1 b's and one a.
          This case is also analogous to Case 2 above, where a faces no competi-
       tion at all and b faces perfect substitutes, but here we move from the
       limited 2-substitute model to the more general n-substitute model, of
       which n=2 is a special case. As before, if a arrives first, its marginal
       contribution is zero. The probability of this happening is now
                                                   1
                                                   n
       In all other arrival sequences, which have total probability
                                               n-i
                                                n
       a's marginal contribution is 1. Hence, a's expected (or average) margi-
       nal contribution is equal to the probability of a arriving first multiplied
       by the value of arriving first plus the probability of a arriving second or
       later multiplied by the value of arriving second or later:
         z. = Pr (a arriving first) • va (when a arrives first) +
             Pr (a not arriving first) "va (when a does not arrive first).
       Or in notational form,
                                          1      n-               1
       (5)                         Zo=-     .Z0+       .   =-
                                          n       n               n
       As all b's are identical and receive in total
                                                   1
                                                   n
       the amount a does not receive, each bi's expected marginal contribution
       is given by an equal share of that residual amount:
                                     1      I1\1
       (6)                                 n-I         n        n(n-1)
                                                                _____




         Note that as the number of holders of economically interchangeable
       patents on component b, n-i, approaches infinity, the players' average
       contributions become:

                   limz=lim(1-
                      n-- n+=  n4 land limn Zb= lim
                               1)=              n-- n(n-1)
                                                       1                 0.O


         In words, as the number of bs-economically interchangeable patents
       on one of the standard's necessary components-increases, the holder
       of the unique patent for the other component, a, receives the entire

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      value of the standard and each b's average marginal contribution be-
      comes zero. More generally, as the number of IP owners competing to
      contribute the same component increases, the average marginal contri-
      bution of each individual party decreases and their total Shapley value
      return falls to zero, assuming their IP is interchangeable.
         As already noted, Cases B and C are related to Case 2 in Part IV: there
      is no competition for component a but component b faces perfect com-
      petition. Note that the Shapley value only coincides with the equilib-
      rium outcome of the auction game in the limit, i.e., when the number of
      alternatives for component b, n, goes to infinity. (See Part V below.) For
      finite n the Shapley value implies a lower (higher) compensation for
      component a (respectively, component b). This follows because the
      Shapley value rewards participation and therefore assesses a lower pen-
      alty for components with competition.


          Case D: The bi patents are not perfect substitutes.
         This case is analogous to Case 3 in Part IV, in which there is imperfect
      competition for one component, no competition for the other. Suppose
      there are two b offerings, so N = 2. The standard is again based on both a
      and one b, but assume b2 is less valuable than bl. The standard defined
      by b, (a, b2 ), has value 1 as before, but the standard based on bl, (a, bl),
      has value 1+8. Under these assumptions, b, will contribute 1+8 if it ar-
      rives second after a (1 sequence), 8 if it arrives third after both a and k
      (2 sequences), and nothing otherwise. a will contribute 1 if it arrives
      second after b2 (1 sequence), 1+8 if it arrives after b, (3 sequences), and
      nothing otherwise. b2 gets 1 only when it arrives second after a (one
      sequence) and nothing otherwise.

        Averaging over arrival sequences as before, a gets
                          48          18              1
                          6 + ,b, gets6+2, and b2 gets-.6

      The final (most valuable) standard is clearly (abj), but k nonetheless
      receives royalties. One can think of this as the sum of two standards, the
      one for which b, and b are perfect substitutes with value 1, and one for
      which a and b, are essential and that has total value 6. Under the additiv-
      ity condition, the total value is the sum of these two standards.
         It is straightforward, but somewhat tedious, to extend this analysis to
      the general case with multiple b's in competition, where the value of the
      (a,bi) standard is 1+6 and the value of an (a, bi) standard is 1, for any of
      the other b's, i = 2,. . .,n-1. In this case a receives

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              1 +§,2 ' bl receives n(n-)
            1 n)                     1   + 2 ,and the other bi receive n(n-1)
                                                                          1

       each. In the limit as n becomes large, a receives 1, the entire value of the
       basic standard, and splits 8, the value of the improvement for which b, is
       also essential, with bl. This is conceptually consistent with the cases A
       through C above: components always get their average contribution
       value; competition for a specific component lowers its reward; if multi-
       ple components face no competition, they share in the total value
       equally.
          Case D is also related to the ECPR Case 5, where one component
       faces no competition and there is imperfect competition for the other.
       Recall that multiple equilibria were possible for Case 5, as long as they
       satisfy the conditions for participation (non-zero payoff) and viability
       (payoff does not exceed value of product). The Shapley outcome would
       constitute one equilibrium of the many possible in the auction game.
       For example, under the ECPR approach component a could receive in
       equilibrium 1 + 5 (more than under the Shapley approach) or just 1
       (less than under Shapley). We close this Part by exploring in greater
       detail the relationship between the two economic approaches and their
       robust policy implications.

                    C. RECONCILING THE Two ECONOMIC APPROACHES
          The two approaches developed above are based on very different fun-
       damental assumptions. The driving force behind the auction approach
       is market competition and efficient pricing-non-cooperative, winner-
       take-all principles. The Shapley value approach, in contrast, is based on
       fairness principles: it compensates parties on the basis of their average
       marginal contributions in a cooperative game regardless of efficiency or
       market conditions. Despite their very different starting points, however,
       we have shown that these two approaches have the same basic implica-
       tions and agree completely on a number of important properties that
       any defensible definition of FRAND must satisfy.
          First, both approaches imply that a critical factor affecting patent
       holders' compensation is the presence of close substitutes. In the Swan-
       son-Baumol analysis, the presence of perfect substitutes drives economic
       profits down to zero, while the absence of competition rewards a pio-
       neer fully for its IP innovation. The Shapley value method for allocating
       payments implies that the more substitutes any patent has, the lower its
                                              64
       "fair and reasonable" share of value.

          64The analysis of Case D in Part V above shows that even imperfect substitutes de-
       crease Shapley value returns: the smaller is 8 or the larger is n, the lower the share of bl,


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         Second, the level of competition is a key determinant of the value of
      the patent. As the number of competitors for a component in a stan-
      dard increases, the lower the ex ante market power possessed by any of
      them, and thus the lower the returns under the Swanson-Baumol ap-
      proach. Similarly, the more competitors a given patent-owner faces
      under the Shapley value approach, the fewer the number of arrival se-
      quences in which it has a significant marginal contribution. (In Case C
      above, for instance, any individual b had a non-zero marginal contribu-
      tion only if a arrived first and b arrived second.) Put another way, when
      the fraction of coalitions to which an IP owner has a large marginal
      contribution decreases, its IP value measured by the average marginal
      contribution falls as well. With the market-based approach, a lack of sub-
      stitute technologies confers ex ante market power to the IP owner dur-
      ing the auction phase, while the presence of alternative technologies
      reduces that power. In both approaches, the fiercer the competition for
      any component, the lower the effective level of any individual-related IP
      contribution and, therefore, the lower the value of the corresponding
      payout.
         Third, and perhaps most important for their applicability to FRAND
      litigation, both approaches to dividing rents ignore any market power
      that being included in a standard might bestow. This is clearly true by
      explicit assumption for the Swanson-Baumol method, which relies on ex
      ante auction prices to determine ex post payouts. The Shapley value
      method of distributing rents bases payoffs on ex ante marginal contribu-
      tions, so even IP that is not part of the "winning" standard receives some
      payoff, as long as its average marginal contribution to some collections
      of patents is positive.

        Finally, as the number of close substitutes for a component increases
      and approaches infinity, our extension of the auction approach and the
      Shapley value approach lead to identical allocations of royalty payments.
      The following two properties indicate the equivalence of the two ap-
      proaches in the limit and, we would argue, should be satisfied by any
      reasonable FRAND definition.

           Property 1. As the number of perfect substitutes for a piece of intellectual
           property approaches infinity, the IP holder's royalty payments defined by the
           Shapley value (average marginal contribution) approaches the licensee pay-
           ments defined by the ex ante auction model.


      even though its patent has no perfect substitutes. Case 3 in Part IV indicates that a similar
      property is satisfied by the Swanson-Baumol ex ante auction approach.


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       Proof.Assume the set-up from Case 2 above: a standard consists of two
       complementary components, a and b, with n-1 perfect substitutes for
       component b. The value of the standard is given by W(va,vb), again de-
       fined as the difference between the final product price and the cost of
       other inputs. Both components are essential, i.e., the standard is worth
       nothing if either component is missing from the standard. From equa-
       tions (8) and (9) it follows that the average marginal contributions of
       components a and b are equal to:
                                            1                 1
                      P. = Z. = W(Va,Vb) - In and Pb = zb  n(n-1)

       In the limit, as the number of perfect substitutes to component b, i.e.,
       n-I, grows to infinity, the components' average marginal contributions
       to the value of the standard become:

                          limPa= lirn      [ W(Va,Vb)-1= W(va,vb) and
                                     lim Pb = lim        I          =0.
                                          n-4- n1-      n(n-1)/
       In words, in the limiting case all the value of the standard, W(va,vb), is
       derived from the contribution of component a. Thus, the company con-
       tributing a appropriates all rents from the standard while the companies
       contributing b's get nothing.6 5 Thus, as the number of perfect substi-
       tutes of component b grows, the royalty payments proportional to the
       components' Shapley values approach the royalty payments derived
       from an ex ante auction in equation (7).66
             Property 2. More valuable intellectual properties receive more rent.

          We have seen above that when patents or other IP have perfect substi-
        tutes, they are less valuable to the standard and they receive less in ei-
        ther ECPR or Shapley value payouts. Let us now consider a slightly more
        complex situation that extends Case C. Instead of two competing stan-
        dards, here there are three possible standards: one using components a
        and b with value W(v,,vb), one using components b and c with value
        W(vb,v), and one using all three components with value W*. All these

            65The royalty payments do need to be incentive-compatible for IP owners to license
        their technology, so b's license fees should cover the incremental costs of licensing, which
        we have neglected for simplicity.
            66 Note that under the ECPR an IP owner will get reimbursed for his incremental costs
        irrespective of how small the marginal contribution of his technology is, as long as it is
        sufficient to cover those costs. Likewise, under the Shapley value, owners whose marginal
        contributions are positive on any arrival sequence receive royalty payments.

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      values are computed assuming that only one standard will be offered to
      the market. Suppose W*>W(v.,vb)>W(v,,v), so that the standard with all
      three components is clearly the best. One might expect a to receive a
      larger share of W* than c as the second of these inequalities shows it to
      be more valuable.
         Let us first consider the Shapley value. There are, as before, six arrival
      sequences. In all of them the first arrival makes zero marginal contribu-
      tion, but the second and third arrivals make positive marginal contribu-
      tions. Enumerating and averaging we obtain:
                       1
          P.= Z.=      -       [W(v.,vb) + 2 (W*-        W(vb,vC))],
                       6
                       1
          Pb = Zb =    -       [ 2W* + W(v.,vb) + W(vb,v,) ], and
                       6


          P, = z, =1           [W(vb,v,) + 2 (W*-        W(v.,vb))].
                       6

        It is easy to show that Pb > P > P,. A little reflection shows that b's
      ability to form a workable standard with a or c makes it the most valuable
      of the three.
        Now suppose there are n-2 perfect substitutes for b. As n increases, we
      know that the total royalties of all of b's go to zero. What about a and c?
      In a fraction
                                                     1
                                                     n
      of the arrival sequences a arrives first and has no marginal contribution,
      and the same is true for c. In the limit, as n increases, these sequences
      have zero effect on average marginal contributions, and only sequences
      in which a perfect substitute for b arrives first matter. In half of these, a
      arrives before c, and their marginal contributions are W(Va,Vb) and
      [ W* - W(v.,vb)] respectively. In the other half of the relevant sequences,
      c arrives before a, and their marginal contributions are W(vb,v,) and
      [W* - W(vb,v )], respectively. Thus, in the limit, the three payouts are:

              IM P         -    [W(va,vb) + (W*- W(Vb,vc))],


              lim Pb = 0, and
              lD---)




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               limP, = - [W(Vb,V,) +(W*-W(Vo,Vb))].
               n~-)-   2
       As expected, Pa > P, > Pb in the limit.
          Now let us consider the ex ante auction. The process of ex ante com-
       petition is necessarily more complex with multiple components, and
       Swanson and Baumol do not deal with this case. In Case 3, only the
       (a,b) and (bc) standards were feasible and we showed that (ab) would
       emerge under our assumptions, with a receiving Pa = [W(va,vb) -
       W(vb,v,)], and both b and c receiving zero. In comparison with the
       Shapley value analysis-where the full standard value is divided by the
       SSO members every time-with ex ante competition, the total profit re-
       alized by the IP holders is reduced.
          Suppose the (a,b,c) standard is invented, and there are multiple sub-
       stitutes for b. Component a's owner can block this standard by refusing
       to participate (or perhaps vote against it within the SSO), so a will need
       to receive at least its payoff from the (ab) standard, P = [W(v,vb) -
       W(vb,v,)], in order to support the (a,b,c) standard. Prior to the (a,b,c)
       invention, none of the b's received anything, and none can block the
       new standard, so none will receive anything here either. Component c's
       owner can also block the new standard by refusing to participate, so it
       will presumably receive positive rent, but at what level?
          We extend the model as follows. Suppose that companies a and c de-
       mand royalty payments sequentially. Suppose further that a and c move
       first with equal probability. The alternative standards, (ab) and (bc),
       provide threat points for the negotiations over the standard (a,b,c) and
       thus should inform the payoff outcome. Which threat point proves rele-
       vant depends on the sequence of moves: the standard (ab) constitutes
       the threat point when c moves first, and (bc) when a moves first. Con-
       sider first the outcome of the sequential royalty-setting game when a
       moves first. It is straightforward to show that there is a unique equilib-
       rium where a receives W* and c receives zero. Instead, when c moves
       first, the unique equilibrium involves a receiving its minimum payoff to
       avoid blocking, [W(v.,vb) - W(vb,v,)], and c appropriating the residual,
       W*- [W(v.,vb) - W(vb,vc)]. Consequently, the expected payoffs, averag-
       ing over the two possible sequences, of companies a and c equal
       respectively:
           I (W*+ [W(v,,vb)-W(vb,vc)]), and
           2

           1 (W*-[W(V.,Vb)-W(Vb,Vc]).
           2

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        Clearly the royalty payments received by a exceed those received by c,
     just as in the Shapley analysis. These results would extend to other game
      forms under some regularity assumptions, so in general we would ex-
      pect that the payout ordering follows the contribution ordering noted
      above, namely P. > P, > Pb = 0.

                                 V. CONCLUSION
        We have presented four possible methods that the courts and compe-
     tition authorities might use as benchmarks for FRAND evaluations. The
     first two are based on methods used in court cases. The fifteen factors in
     Georgia-Pacfic that guide reasonable royalty determinations for patent
     infringement cases are the most obvious starting point for FRAND, and
     they appear to be readily applicable to reasonable royalties within SSOs.
     That said, the factors leave the specific method of royalty determination
     an open question and thus allow for considerable uncertainty in out-
     comes. The numeric proportionality rule suggested by the complainants
     in Europe is more problematic. While it can lower the transaction costs
     involved in determining FRAND royalties, it is only appropriate in a nar-
     row set of circumstances. If applied outside of those circumstances,
     numeric proportionality would result in non-FRAND rates.
        The other two methods we have considered are based on existing eco-
     nomic models which, when extended to standard-setting contexts, have
     strong implications for determining FRAND royalties. One starts from
     market solutions, while the other is rooted in cooperative game theory.
     Despite their contrasting origins, both the ECPR and the Shapley value
     analyses come to qualitatively similar solutions: FRAND terms are only
     satisfied when standard participants whose patents make greater incre-
     mental contributions to the value of the standard receive higher royalty
     payments than other participants. The ECPR and Shapley value models
     developed in this article, while they do not fully capture the complexi-
     ties of real-world intellectual property licensing within standard setting,
     do satisfy all three criteria encompassed in the acronym FRAND.
        The two economic model methods are similar to the Georgia-Pacific
     factors in that they could guide ex post evaluations even though they do
     not provide an explicit formula. We do not argue that license fees
     should actually be set by either the ECPR or Shapley value approach, as
     it would be difficult, time consuming, and generally contentious to de-
     termine the incremental contributions of the many patents that are re-
     ported as essential to most standards. When ex post litigation occurs,
     however, these two approaches could be employed to assess the royalty
     rates that parties have set through bilateral negotiations. Consistent with
     reasonable royalty calculations in the context of patent infringement,

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       the models here could provide structure for a court review. The various
       parties could make their cases in court for the relative values of their IP
       contributions to the standard, in the context of other options consid-
       ered during the standard's early developmental phases. If a component
       had multiple alternatives before the standard was settled, its incremental
       contribution, properly measured, may be close or equal to zero. Precise
       marginal contributions to the standard are not really necessary, just rela-
       tive contributions. License terms meeting a fair, reasonable, and non-
       discriminatory benchmark must allow companies with pivotal contribu-
       tions to a standard to benefit from relatively better licensing terms.




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                            EXHIBIT 32




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     FAIR, REASONABLE AND NON-DISCRIMINATORY
           (FRAND) TERMS: A CHALLENGE FOR
              COMPETITION AUTHORITIES

                                         Mario Mariniello 




                                                                                                     Downloaded from http://jcle.oxfordjournals.org/ at Virginia Polytechnic Institute and State University on July 2, 2012
        ABSTRACT
        Standards contribute to increase welfare to the extent that they reduce pro-
        duction costs and increase products’ value to consumers. The adoption of a
        standard can, however, raise competition concerns. After the adoption of the
        standard, the chosen technology may lack effective substitutes. The owner of
        an intellectual property (IP) right essential to the technology may indeed use
        the additional market power that may be gained through standardization (com-
        petitors being absent ex-post) to charge higher prices to “locked-in” licensees.
        To mitigate such a hold-up risk, standard setting organizations usually require
        patent holders to disclose their relevant IP rights ex-ante and/or to commit to
        license IP on fair, reasonable and non-discriminatory (FRAND) terms. This
        article suggests a methodology to assess whether FRAND commitments are
        violated, from a competition perspective. The proposed methodology extends
        the framework proposed by Cecilio Madero and Nicholas Banasevic by outlin-
        ing four necessary conditions for an ex-post licensing behavior to be con-
        sidered anticompetitive, in violation of FRAND commitments.

        JEL: K21; L40; L43



    I. INTRODUCTION

    The European Commission has recently investigated a number of high-profile
    cases in the field of standardization, emphasizing the increasing relevance
    that competition authorities attribute to this subject.1 Standardization can

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      ec.europa.eu. The views expressed in this article are those of the author and do not
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      Layne-Farrar, Damien Neven, Georges Siotis, and Sarah Jane Wheatley for their helpful
      comments and advice. The usual disclaimer applies.
    1
      Particularly relevant are the Rambus and the Qualcomm cases. In the Rambus case, following a
      complaint set forth by a number of DRAM manufacturers, the European Commission accused
      Rambus of infringing competition rules by deceptively lying or withholding information about
      its patents in the context of the JEDEC standard setting process. In December 2009, the
      European Commission accepted Rambus’ proposed commitments, which were considered
      adequate to address its competition concerns. See Commission Decision of 9.12.2009


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       produce a number of advantages by substantially reducing transaction costs
       to firms and enhancing the value of products for consumers. Standard setting
       organizations play an important role in coordinating the choice of a particular
       standard. After the adoption of the standard, however, the chosen technology
       may lack effective substitutes. The owner of a patented technology may thus
       have additional market power (competing technologies being effectively
       absent ex-post) vis-à-vis “locked-in” licensees.
           To reduce the risk of such “hold-up,” standard setting organizations




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       (SSOs) usually request patent holders to disclose their relevant intellectual
       property (IP) rights ex-ante (that is, before the adoption of the standard)
       and/or to commit to license IP rights which they consider to be essential to
       the standard on fair, reasonable and non-discriminatory (FRAND) terms.
       The primary purpose of FRAND is to ensure that a licensor would forgo its
       right not to license its IP rights or to license only on terms that would
       appropriate all the rents that can be generated by the standard. However, a
       FRAND commitment should not prevent the patent holder from extracting
       rents which derive from the advantages that the chosen standard offers over
       the next best competing standard. The patent holder should thus be able to
       obtain the incremental rent that arises from standardization with respect
       to the next best alternative, or in other words the rent that it would be able
       to obtain while being in competition with those alternatives.2 A more severe
       constraint on returns would risk hampering innovation, as patent holders
       would have reduced opportunities to recover their up-front research invest-
       ment. The magnitude of such returns can be instrumental to encourage
       innovation, as returns on successful innovations need to compensate, not
       only for the cost of developing the innovation itself, but also for the cost of
       developing other projects which ultimately fail. It may be tempting to think
       that in order to solve the hold up problem, an IP holder should be com-
       pelled to commit to particular royalty rates. However, patent holders have
       little incentive to commit ex-ante to specific royalty rates, and forcing IP
       holders to do so would, likewise, be inefficient. In fact, ex-ante the IP right
       holder may know little about the value of its innovation at the time at which


         (Case COMP/38.636 Rambus), http://ec.europa.eu/competition/antitrust/cases/dec_docs/
         38636/38636_1203_1.pdf. In the Qualcomm case, the European Commission investigated the
         claims of a number of mobile phone producers (Nokia, Sony/Ericsson, NEC, Panasonic,
         Broadcom and Texas Instruments) accusing the research company Qualcomm of charging
         excessive, non-FRAND royalty rates to access its essential IP rights in W-CDMA, the
         technology selected as 3G standard in Europe. After 4 years of investigation, the complaints
         were withdrawn and the case was closed. See Press Release, Eur. Comm’n, European
         Commission’s Announcement to Close Formal Proceedings Against Qualcomm (Case COMP/
         39.247), http://europa.eu/rapid/pressReleasesAction.do?reference=MEMO/09/516.
       2
         The proposed approach thus implies an “ex-post” analysis, where the incremental value is
         defined as the difference between the value of the technologies that are competing to enter
         the standard.




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    the standard is set. Before the adoption of the standard, the market to which
    the IP rights are related is just a potential market—little is known about how
    the market will develop in the future, what the success of the technology
    among consumers will be, and what profits licensees should reasonably
    expect.
       If the licensor was forced to commit to a particular royalty rate ex-ante, it
    may prove inefficient ex-post and may thus lead to inefficient choices of
    standards ex-ante (unduly affected by poorly informed expectations about




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    market developments). Standard setting organizations thus recognize that
    taking into account new information is preferable, and FRAND commit-
    ments can thus be seen as a necessarily imprecise norm for the adoption of
    licensing terms as new information becomes available.
       Accordingly, FRAND commitments involve an incomplete contract
    between licensors and licensees, and the precise implementation of
    FRAND commitments will naturally be controversial. Courts, within the
    context of companies’ private litigations, appear to be the natural setting
    where FRAND issues could be dealt with. That was the case a number of
    times in the United States.3 However, to the extent that a violation of a
    FRAND commitment involves an exploitation of market power in excess of
    what ex-ante competition would have allowed, the matter has also been
    considered by competition authorities. They might also be called upon to
    assess whether patent holders do not abuse their dominant position by
    charging a price higher than they would have been willing to commit to
    ex-ante, conditional on the standard being adopted. It is unclear, though,
    how competition authorities should assess alleged violations of FRAND
    commitment. As explained below, there is no commonly accepted method
    in the economic literature, and the case law does not provide much gui-
    dance either.
       From the perspective of antitrust policy, the built-in ambiguity in the
    definition of FRAND makes it difficult to identify the counter-factual for
    “reasonable” licensing terms which is needed to establish a FRAND viola-
    tion. However, FRAND may become an empty shell if it is not seen to
    impose any constraints on parties in the standard setting process. At the
    very least, certain obligations from the FRAND commitment derive directly
    from the above interpretation that patent holders which had committed to
    FRAND should not appropriate all the rents which can be generated by a
    standard.
       First, the FRAND commitment waives the patent holder’s right to refuse
    to license its IP rights to anybody seeking such a license. Conversely, a
    potential licensee must be viewed as having an equal obligation to engage in

    3
        See, e.g., Commonwealth Scientific Indus. Research Org. v. Buffalo Tech. (USA), Inc., No.
        2:05-CV-53, 2006 WL 1233122 (E.D. Tex. May 8, 2006); Broadcom Corp. v. Qualcomm
        Inc., 501 F.3d 297 (3d Cir 2007).




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       good faith negotiations and not abuse a FRAND commitment to gain unfair
       advantage or simply infringe a licensor’s IP right. This reflects the view that
       the bargaining is not entirely shifted to either party ex-post.
           Second, the licensing terms offered after the adoption of the standard
       (ex-post) should not be worse than those which the patent holder would
       have committed to ex-ante in the context of a standard setting contest con-
       ditional on the information that is available ex-post.
           The first obligation emphasizes that the primary role of FRAND is to




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       ensure that, ex-post, the potential licensor and licensee negotiate the terms
       of an agreement at arm’s length. Testing for its infringement requires, first
       of all, verifying whether an agreement was ultimately concluded, but it
       might also require a more in-depth analysis of the negotiation process,
       which includes inspecting internal communication intended to lay down
       negotiation strategies. This type of evidence is normally available to compe-
       tition authorities, and verification that players abide by such an obligation
       can be relatively easy.
           The second obligation makes it explicit that the evaluation of FRAND
       commitments involves a comparison between ex-post conditions and those
       that would have been negotiated ex-ante. But it also highlights the difficulty
       of the exercise, as the relevant counterfactual ex-ante is contingent both on
       the context of the standard setting contest and on the information available
       ex-post. This is the intrinsic limit faced in testing a FRAND violation based
       on the comparison between ex-ante and ex-post royalty rates. The compari-
       son of ex-ante and ex-post royalty rates can be a useful indicator as to
       whether ex-post royalties are excessive, because it identifies the difference
       between prices which are charged when competition amongst technology
       exists (ex-ante) and when it does not (ex-post). However, ex-post royalty
       rates higher than ex-ante royalty rates do not necessarily imply a violation of
       a FRAND commitment. As the account of the negotiations between players
       sometimes shows, the bargaining power of players may evolve over time
       independently of the adoption of the standard—for example, because their
       business structure or their financial needs change over time. In addition,
       ex-ante, significant uncertainty often remains regarding future competitive
       circumstances—for example, the level of demand, the implementation and
       diffusion of the standard, or the strength of the IP right, including the
       ability to invent around the IP right. Hence, ex-post royalty rates which are
       higher than ex-ante royalty rates cannot per se identify a FRAND violation.4

       4
           One could also argue that, theoretically, ex-post royalty rates that are lower than ex-ante rates
           do not necessarily imply that a FRAND violation did not occur. This would happen, for
           example, if the ex-post value of an IP right turns out to be lower than what was expected
           ex-ante. In this article, I take the view that a competition authority should normally consider
           ex-post rates lower than ex-ante rates not to violate FRAND (condition 3 of the “check list,”
           as explained below). However, a competition authority may take into account such possibility
           when the evidence collected during the investigation suggests unequivocally that the reason




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        On the other hand, the limits of the criteria based on the comparison
    between the price charged by the patent holder and the intrinsic value of the
    technology appear to be more severe. Establishing an objective economic
    value for IP rights incorporated into a standard is hardly feasible, as their
    value is contingent upon the value of the other IP rights that form part of
    the standard, the value of the standard itself (which is determined by market
    forces), the rate of diffusion, and the expected product life cycle. In
    addition, innovating firms need to spread risk over many activities. The




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    price of a successful innovation should also cover the risk of failed research
    attempts. It is difficult to imagine how all of this could be taken directly into
    account by a competition authority attempting to establish the FRAND
    value of a certain technology.
        The aim of this article is to develop a simple framework and a practical
    methodology that could be implemented by competition authorities to
    establish whether a FRAND violation has occurred, building on the
    approach proposed by Cecilio Madero and Nicholas Banasevic.5 These
    authors suggest that antitrust scrutiny may be required if standardization has
    conferred market power on a company. That would depend mainly on two
    factors: (1) whether it is commercially indispensable to comply with a
    particular standard and (2) whether there is lock-in to the standard.
    Furthermore, they stress the importance of the ex-ante competitive situation
    as a benchmark for the alleged abuse of the patent holder. If ex-ante compe-
    tition is already absent, “the price that the patent holder can charge is the
    same ex-ante and ex-post, and hence there is no incremental power con-
    ferred by the standard.” From their perspective, the presence of ex-ante
    competition is thus a necessary condition for a violation of FRAND com-
    mitment to take place.6 In what follows, we will pursue this approach
    further and outline a number of other conditions necessary for a violation to
    occur.
        The methodology developed in this article can thus be seen as screening
    test. It is meant to identify cases in which there is, in all likelihood, no viola-
    tion of FRAND commitments and does not offer much guidance for those


      for ex-ante rates higher than ex-post is to be attributed to the deceptive behavior of the patent
      holder, which intentionally induced a licensee to revise its ex-ante expectations upwards
      without a legitimate justification.
    5
      Cecilio V. Madero & Nicholas Banasevic, Standards and Market Power, 5 ANTITRUST CHRON.
      1 (2008), https://www.competitionpolicyinternational.com/file/view/5330.
    6
      Anne Layne-Farrar and A. Jorge Padilla explore empirically the relationship between patent
      value (measured as number of forward citations) and inclusion in a standard. They find that
      inclusion in a standard need not have any affect at all on patent value; this is especially true
      for more valuable patents, for which the incremental effect on value due to inclusion in the
      standard is arguably lower. See Anne Layne-Farrar, A. Jorge Padilla, Assessing the Link Between
      Standard Setting and Patent Holder Market Power, 9 INT’l J. IT STANDARDS AND
      STANDARDIZATION RES. (forthcoming 2011).




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       cases in which FRAND commitments cannot be excluded. The initial
       screening test relies on the observation that a FRAND violation could only
       be possible if there is a significant difference between what the patent holder
       could potentially charge ex-ante and what it charges ex-post. If just one of
       the conditions fails, then either the adoption of the standard did not deter-
       mine any significant increment in market power, or that additional market
       power was not abused by the patent holder—then a FRAND violation could
       not have occurred. The test is attractive as it provides four concrete dimen-




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       sions along which the evidence gathered during the investigation can be
       tested. As such, it should make the investigation of a potential FRAND vio-
       lation more tractable.7
           The four conditions and the suggested methodology are defined and
       explained extensively in Part III. The rest of the article is organized as
       follows: in the next part, I describe the relevant economic literature, and
       Part IV concludes.



       II. THE LITERATURE

       Considerable research efforts on patent licensing and its value have been
       made. Economic literature, however, has not yet provided much help on
       how a competition authority should ascertain a FRAND violation. Most
       importantly, there is no consensus in the literature on what the right tool to
       enforce FRAND commitments in the context of competition policy should
       be. One important contribution is by Daniel Swanson and William
       Baumol,8 who suggest a methodology to determine reasonable-non discrimi-
       natory (RAND) royalty rates.9 Swanson and Baumol propose the use of an
       auction-like mechanism for the selection of the best technology which
       should take place before the adoption of the standard.10 If competition at
       pre-selection stage is effective—that is, a reasonable amount of information
       is available to those involved in the selection process and participants are
       effectively bound by the commitment to license on RAND terms—then the
       outcome of the ex-ante auction would prevent the acquisition and exercise
       of monopoly power by those companies holding IP rights essential to the
       technology selected as a standard. Swanson and Baumol show that, under
       certain conditions, the outcome of the auction-like process would be

       7
          It should be noted that the proposed methodology focuses on the “fair and reasonable” part
          of FRAND—the non-discriminatory part is not discussed.
       8
          Daniel G. Swanson & William J. Baumol, Reasonable and Nondiscriminatory (RAND)
          Royalties, Standards Selection, and Control of Market Power, 73 ANTITRUST L.J. 1, 51-56
          (2005).
       9
          In the United States, the equivalent concept to FRAND is RAND (the “fairness” element is
          absent).
       10
           Auction design has been widely explored in the literature. For an overview, see THE
           ECONOMIC THEORY OF AUCTIONS (Paul Klemperer ed., Edward Elgar 2000).




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    equivalent to the one following the application of the efficiency component
    pricing rule (ECPR), which would also imply non-discriminatory royalty
    rates in the downstream market.
       The main insight of Swanson’s and Baumol’s analysis is that a reasonable
    royalty rate should approximate the outcome of an auction-like process
    taking place before the adoption of the standard. This is the rationale
    behind the so called ex-ante/ex-post test on which this article is focused.
    However, this is also the intrinsic limit of Swanson and Baumol’s analysis—




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    their article does not seem to recognize that negotiations are more relevant
    than auctions in the standard setting process. Moreover, a natural corollary
    of their analysis is that it would be optimal to commit to a certain royalty
    rate ex-ante. This, however, could be true only under the (unrealistic)
    assumption of perfect information ex-ante.11
       More recently, the debate on how to benchmark FRAND royalty rates
    has been fostered by the emergence of antitrust issues which triggered the
    interest of a number of scholars from both sides of the Atlantic. Anne
    Layne-Farrar, A. Jorge Padilla, and Richard Schmalensee12 extend the fra-
    mework developed by Swanson and Baumol to multiple patents and patent
    holders; then they consider applying the “Shapley value” as a potential
    alternative tool to determine FRAND royalty rates. This article focuses on
    the allocation of rents among complements, as the Shapley model allows for
    identification of a “reasonable” rate in a setting where more than one patent
    holder owns a patent essential to the standard. According to this rule, a fair
    royalty rate should be correlated to the patent holder’s average marginal or
    incremental contribution to alternative combinations of the members of a
    cooperative group consisting of the coalition of patent holders of the tech-
    nology chosen as standard. This rule provides a benchmark in the case of
    multiple-patent holders but, unfortunately, its direct application to a real
    antitrust case would hardly be feasible. Indeed, it appears extremely difficult
    to estimate what the value of the marginal contribution of each patent
    holder is to the coalition of patent holders of the adopted technology. Joseph
    Farrell, John Hayes, Carl Shapiro, and Theresa Sullivan13 endorse the
    ex-ante/ex-post approach by suggesting that “courts should interpret the fair
    and reasonable prong of FRAND as the royalties that would have been


    11
       The model of Swanson and Baumol features a number of additional simplifications (in
       particular, that each competing technology has only one patent held by one company),
       which further question the general validity of its results. For an analysis, see Damien
       Gerardin, Anne Layne-Farrar & A. Jorge Padilla, Competing Away Market Power? An Economic
       Assessment of Ex Ante Auctions in Standard Setting, 4 EUR. COMPETITION J. 443 (2008).
    12
       Anne Layne-Farrar, A. Jorge Padilla & Richard Schmalensee, Pricing Patents for Licensing in
       Standard Setting Organizations: Making Sense of FRAND Commitments, 74 ANTITRUST L.J.
       671 (2007).
    13
       Joseph Farrell, John Hayes, Carl Shapiro & Theresa Sullivan, Standard Setting, Patents and
       Hold-Up, 74 ANTITRUST L.J. 603, 637 (2007).




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       voluntarily negotiated before users became committed to using the patented
       technology . . . .[T]his is typically not the same as the level of royalties that
       would be voluntarily negotiated ex post.” They suggest that an antitrust
       authority should screen and compare the ex-ante and ex-post patent
       holders’ market power by comparing ex-ante switching cost with ex-post
       switching cost.
          In parallel with the economic literature, the issue of the antitrust enforce-
       ment of the FRAND commitment has been discussed in terms of both




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       economic and legal aspects. For instance, Roy Epstein and Alan Marcus14
       suggest an analytical framework which extends the fifteen principles for the
       definition of a reasonable royalty rate developed in the seminal case Georgia
       Pacific v. U.S. Plywood.15 Epstein and Marcus group the fifteen principles
       into four categories: factors based on comparable royalties, factors based on
       profitability of the patented invention, factors based on potential loss of
       sales by the patent holder, and expert opinion and the hypothetical nego-
       tiation. They then propose a discounted cash flow analysis which would
       incorporate the key insights from the Georgia-Pacific factors. The proposed
       rule hinges on the difference in profits between the project which exploits
       the patented technology and an alternative project. It thus suggests a
       measure of reasonableness of royalty rates, but it leaves the hold-up question
       open. More recently, Philippe Chappatte discusses the benefits and the risk
       of standard setting, stressing the importance of the distinction between
       “hold-up” and “royalty stacking” issues.16 Chappatte explores some of the
       benchmarks that have been proposed for FRAND royalty rates. Namely,
       benchmarks relative to the ex-ante competitive rates, to industry experience
       and expectation, and to the principle of the patent holder’s contribution to
       the technology. Particularly for this last type of benchmark, Chappatte
       motivates the use of reasonable aggregate rates and proportionality (that is,
       the direct correlation between the number of filed patents and the share of
       the aggregate royalty rate to which the patent holder would be entitled of
       under FRAND terms), as these are standard reference points in the indus-
       try, particularly at the start of negotiation processes. This methodology,
       however, appears to have little support in terms of economic principles, as
       there is no particular reason as to why the number of filed patents should
       reflect the degree of bargaining power of a patent holder independently from
       the adoption of the standard which is supposed to be the source of market
       power. A patent holder’s bargaining power depends mostly, instead, on a
       patent’s economic value—that is, on the likelihood that a credible substitute

       14
          Roy J. Epstein &Alan J. Marcus, Economic Analysis of the Reasonable Royalty: Simplification
          and Extension of the Georgia-Pacific Factors, 85 J. PAT. & TRADEMARK OFF. SOC’Y 555
          (2003).
       15
          Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970).
       16
          Philippe Chappatte, FRAND Commitments—The Case for Antitrust Intervention, 5 EUR.
          COMPETITION J. 319 (2009).




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    for that patent exists. Furthermore, establishing a proportionality principle
    for the assessment of royalties’ “fairness” would increase a firm’s incentive
    to file non-valuable patents, thereby inefficiently reducing access to the tech-
    nology (a patent thicket issue).
       Finally, in April 2007, the U.S. Department of Justice and the Federal
    Trade Commission published a report on antitrust enforcement and IP
    rights.17 Among other issues, this report discusses the scope of a FRAND
    commitment. The agencies consider that unilateral, ex-ante announcements




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    of licensing terms by IP holders cannot be abusive conduct and therefore do
    not violate antitrust rules. Similarly, joint announcements by industry
    players of their intended (or maximum) licensing terms could be considered.
    This confirms that making unilateral, ex-ante commitments (which form the
    basis for a comparison with ex-post behavior) is lawful conduct. A similar
    approach was recently undertaken by the European Commission with the
    adoption of the new Guidelines for cooperation agreements in December
    2010. At paragraph 299, the Guidelines state: “standard-setting agreements
    providing for ex ante disclosures of most restrictive licensing terms,
    will not, in principle, restrict competition within the meaning of Article
    101(1) . . . .Therefore, should a standard-setting organization’s IP right
    policy choose to provide for IP right holders to individually disclose their
    most restrictive licensing terms, including the maximum royalty rates they
    would charge, prior to the adoption of the standard, this will normally not
    lead to a restriction of competition within the meaning of Article
    101(1)123.”18


    III. IMPLEMENTING FRAND: A METHODOLOGY

    As discussed above, while it is difficult to assess whether a FRAND commit-
    ment has been breached, assessing whether a FRAND commitment has not
    been infringed can be easier. In the first case the competition authority
    would have to explain why a patent holder requires specific terms and con-
    ditions for accessing its patents. In particular, it would be required to show
    the existence of a difference between what is charged by the patent holder
    after the adoption of the standard and what would have been asked if

    17
       U.S. DEP’T OF JUSTICE & FED. TRADE COMM’N, ANTITRUST ENFORCEMENT AND
       INTELLECTUAL PROPERTY RIGHTS: PROMOTING INNOVATION AND COMPETITION (2007),
       available at http://www.justice.gov/atr/public/hearings/ip/222655.pdf.
    18
       Guidelines on the Applicability of Article 101 of the Treaty on the Functioning of the European
       Union to Horizontal Co-Operation Agreements, 2011 O.J. (C 11) 1. Note that there is no
       contradiction between paragraph 299 of the Guidelines and what was stated in the
       introduction as regards potential inefficiencies due to ex-ante disclosure of maximum royalty
       rates. Indeed, such disclosure can be inefficient only if the patent holder is obliged to
       disclose its maximum terms ex-ante. On the other hand, to prevent other types of
       inefficiencies, a patent holder must be able to unilaterally disclose its maximum terms
       ex-ante, if it wishes to do so, without infringing the European Treaty.




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       competition amongst technologies still existed ex-post. In the second case,
       instead, one starts with asking whether the facts gathered during the investi-
       gation support the conclusion that the FRAND commitment has not been
       infringed. If even just one necessary element is not present, then we can
       conclude that a FRAND commitment, most likely, has not been infringed.
       Instead, if all the necessary conditions are satisfied, or could not be tested
       because the necessary evidence does not exist, an infringement of the
       FRAND commitment cannot be excluded. Only at that stage, should one




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       proceed with a quantitative assessment of the level of FRAND terms and
       conditions.
          Before going into the details of each condition, though, it is important to
       make one remark. There is no consensus in the literature as to whether
       FRAND should imply a uniform royalty level for all licensees (which would
       be the natural outcome of a multilateral ex-ante negotiation between the
       licensor and the perspective licensees) or if it should rather imply different
       royalties depending on each player’s bargaining power or business features.
       The first approach raises concerns in terms of competition enforcement, as
       it implicitly legitimises coalitions of buyers aimed at extracting rent from
       patent holders, thereby reducing ex-ante incentives to innovate. Hence, in
       this article, I take the view that FRAND is the outcome of a bilateral
       hypothetical negotiation between the licensor and the licensee, which would
       take place ex-ante (when competition amongst technologies may still be
       present), conditional on the information which is available ex-post.19 Thus,
       FRAND naturally varies amongst players.
          For that reason, the conditions listed below have to be weighed against
       each agreement. In other words, the agreement between a patent holder and
       Licensee A may infringe FRAND if all four conditions are satisfied from the
       perspective of Licensee A. It is indeed possible that a certain condition is
       satisfied for one agreement but not satisfied for another, depending on the
       relative features of each single player and the player’s role in the standardiz-
       ation process.


       A. Condition 1: Ex-Ante, a Credible Alternative to the Adopted
          Technology Exists
       If there is no incremental increase in market power due to the adoption of
       the standard because no credible competing technology existed before the
       adoption, no FRAND infringement can take place. It is important to note
       that this condition does not only imply that an alternative technology to the
       selected one exists ex-ante; the technology must also be a “credible” alterna-
       tive. That is, to satisfy this condition it must be shown that the industry

       19
            This approach comports well with the “hypothetical negotiation” for reasonable royalty
            determination defined in the U.S. case Georgia-Pacific, 318 F. Supp. 1116.




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    could have selected that technology as standard if ex-ante prospective licen-
    sees could have reasonably anticipated the price that they would face
    ex-post.
       When working toward a particular standard, the participating industry will
    take into account a number of factors, such as technical performance, their
    own patent portfolio, and the commercial viability of a particular technology.
    The latter criterion comprises a number of aspects, such as whether a particu-
    lar standard can become a global one (which increases the overall market




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    size), whether it is compatible with an existing standard in which the
    company has a stake, the company’s expectations about royalties that would
    have to be paid or that they may receive, and whether the technology is com-
    patible with existing networks. Each player will have to make trade-offs. For
    instance, a particular technology may be supported in spite of high expected
    royalty rates if it is also likely to generate higher revenues. In such a case the
    higher royalty rate does not result from an abuse of market power, but from
    the technological or commercial advantages of the particular standard.
       Condition 1 thus begs the following question: assuming that the industry
    could reasonably expect the price that is now charged ex-post by the patent
    holder, would the licensee have had (1) the incentive and (2) the ability to
    switch to an alternative standard?
       Testing condition 1 requires, first of all, a close look at the standardization
    process. A competition authority should thus interview market players,
    inspect the minutes of all the meetings between industry players affecting
    the choice of the standard, and observe market players’ behavior during the
    different phases of standardization. Ultimately, the competition authority
    should have a clear picture of the support that the selected technology
    received at the moment of the adoption of the standard. For example, one
    could check whether the licensee strongly supported that technology and its
    motivation for doing so (which could be due to previous investments in that
    technology that the perspective licensee had already made before the adop-
    tion of the standard, for example); it could be checked whether other tech-
    nologies were taken into account during the preliminary voting process; it
    could also be checked how industry players reacted to stall-periods (if any)
    when the adoption of the technology became uncertain and, in particular,
    whether other solutions were put forward by the industry. If those tests are
    negative, then condition 1 most likely is not met. Thus, the adoption of the
    standard did not increase the patent holder’s market power, and FRAND
    could not have been violated.


    B. Condition 2: Ex-Ante, Prospective Licensees Cannot Reasonably
       Anticipate Licensor’s Ex-Post Requests
    If an industry could reasonably anticipate a patent holder’s licensing con-
    ditions ex-ante and nevertheless selected its technology as the standard, a



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       FRAND infringement is unlikely to occur. In that case, expensive licensing
       terms may reflect only the value of that particular technology to the licen-
       sees, who reveal their preference for the technology via the standard
       setting process. This logic is consistent with the general view that ex-ante
       statements concerning the maximum rate that the patent holder will
       charge after the adoption of the standard may mitigate the hold-up
       problem.
          To satisfy this condition it is not necessary that, ex-ante, the licensee




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       cannot reasonably anticipate the ex-post royalty rate; however, it is necess-
       ary for a sufficiently large number of players participating in the standard
       setting process, such that they could trigger the adoption of a different
       technology. Similarly, if the licensee had a pivotal role in the standard
       setting process (for example, because it was the main supporter of the
       adopted technology or because it is a major industry player), this condition
       would not be satisfied if the licensee could have reasonably anticipated the
       ex-post licensing terms before the adoption of the standard.
          To test this condition, a competition authority should find out what was
       publicly known ex-ante about the patent holder’s likely ex-post behavior,
       what was privately known by the single licensee, and what its role was
       during the standard setting process. Useful sources of information in that
       respect are minutes of the meetings between industry players relevant to the
       selection of the standard (for example, relevant workgroup members), con-
       temporaneous expert analysis or statements by market players reported in
       specialized press, companies’ press releases, internal communications, and
       business plans or presentations to the board of directors reporting expec-
       tations of future development in the market. It would also be useful to
       inspect any negotiation that could have taken place between the licensee and
       the licensor before the adoption of the standard—there is indeed a certain
       likelihood that during the negotiation, the licensee had developed knowledge
       of the patent holder’s request for accessing its IP rights.
          It should be noted that, even if the exact ex-post price was not known at
       the time of the adoption and if the possibility that the patent holder was
       going to charge high rates after the adoption of the standard was a source
       of concern amongst industry players, it would already be a signal that con-
       dition 2 might not be satisfied. In addition, to the extent that concerns
       were expressed ex-ante, it does not matter whether they were expressed
       before or after the patent holder had committed to FRAND. Indeed, if the
       commitment by each patent holder is a necessary condition imposed by
       the SSO for the adoption of the standard, the fact that the patent holder
       commits to charge FRAND royalty rates ex-post cannot have any impact
       on the licensees’ expectation of the ex-post royalty rate; even before the
       commitment, prospective licensees would anticipate that if there was a
       market for the patent holder’s technology, the patent holder would commit
       to FRAND beforehand.



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    C. Condition 3: Ex-Post, the Licensor Requests Worse Licensing
       Conditions Than Ex-Ante
    Condition 3 is the direct application of the ex-ante/ex-post comparison prin-
    ciple: if agreements concluded when technology competition is absent (that
    is, ex-post) entail equally or less onerous conditions for the licensees than
    those concluded when competition is present (that is, ex-ante), the patent
    holder has not violated FRAND.
        As indicated above in Part I, the main limitation of methodologies based




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    on the ex-ante/ex-post comparison derives from the fact that ex-post royalty
    rates higher than ex-ante royalty rates do not necessarily imply that the
    patent holder has violated its FRAND commitment. A number of reasons
    that are not related to the increase in market power due to the adoption of
    the standard may indeed explain such a difference.20 However, it is in prin-
    ciple fair to assume that the value of the technology immediately after the
    adoption of the standard is not lower than what was before the adoption. If
    that is the case, when the ex-post licensing conditions are not worse than
    those offered ex-ante, one could infer that most likely the patent holder did
    not exploit any additional market power acquired due to the adoption of the
    standard and hence did not violate its FRAND commitment.
        To be able to test this condition, it is necessary that: (1) at least one
    agreement between the patent holder and a licensee was concluded before
    the adoption of the standard; (2) it is possible to disentangle the price that
    the licensee is paying to access the patent holder’s IP rights from the other
    components of the agreement (if any); and (3) the licensee which concluded
    the agreement ex-ante is in a comparable position to the licensee which con-
    cluded the agreement ex-post. It should be stressed that if this condition
    cannot be verified because the necessary evidence does not exist (because,
    for example, no agreement was concluded ex-ante), condition 3 cannot be
    tested. In that case, a FRAND violation cannot be excluded. So, for the
    purpose of the screening test proposed in this article, condition 3 should be
    assumed to be satisfied in those circumstances.
        Regarding (1), to qualify as a benchmark, an agreement must have been
    finalized ex-ante—that is, before the standard is adopted. Agreements which
    were negotiated but not finalized ex-ante cannot qualify as benchmarks. In
    other words, proposals or counter-proposals between the licensee and the
    licensor taking place before the adoption of the standard cannot be used as
    counterfactuals for ex-post agreements, although they may reveal relevant
    information about the level of ex-ante knowledge about the patent holder’s
    charging policy. Alternatively, if proposals were used as counterfactuals, this
    would significantly interfere within the negotiation process between market
    players. Market players would indeed be bound by their proposal for an

    20
         See supra, Part I.




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       indeterminate amount of time, as any ex-post agreement would be tested
       against the counterfactual of their ex-ante proposal. From the perspective of
       competition policy, this would also have the perverse effect of reducing the
       incentive for market players to negotiate the terms of the licensing agree-
       ments before the adoption of a standard, thereby rendering the issue of the
       potential for abuse of the standard setting process by patent holders more
       acute.
           Regarding (2), it should be noted that, particularly in the context of IP




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       rights, agreements may entail a number of components that have an economic
       value to the parties that can be very difficult to quantify. For example, agree-
       ments may entail royalty rates, lump sum payments, deductions on the royalty
       rates contingent on the type of product sold, compensation for cross-licensing
       of patent portfolios, settlements of ongoing patent disputes, transactions of
       related businesses, commitments to reciprocal support for the parties’ technol-
       ogies in other markets, sub-license rights, different geographical scopes, acces-
       sory clauses such as most favored nation clauses, and non-assertion clauses
       towards third parties, among other provisions. If these components are nego-
       tiated altogether and included in the same agreement, disentangling the price
       that the licensee is effectively paying for accessing the patent holder’s IP rights
       risks becoming an unfeasible task.21 Indeed, the royalty rate that would have
       been negotiated on a stand-alone basis would undoubtedly significantly differ
       from the one defined by such a comprehensive agreement.
           On the other hand, if the agreement is relatively simple and the main
       price components can be easily quantified, a methodology aimed at sum-
       marizing the price for accessing the IP rights can be implemented. For
       example, if the agreement entails only a royalty rate and a lump sum
       payment, plus a number of ancillary components of minor relevance, an
       “effective royalty rate” can be calculated in order to allow comparison
       between different agreements. Such an effective rate could be calculated fol-
       lowing these two steps. First, one should compute the net present cost for
       the licensee at time t ¼ 0, when the contract is signed. That is:

                                      X
                                      1                                          
                           E0 ðCÞ ¼          dt  Ft þ Rt  E0; t ðVt  Bt Þ þ ht
                                       t¼0


       where: E0(C) is the licensee’s total expected cost for accessing the licensor’s
       patents in net present value at time t ¼ 0; d is the licensee’s discount factor;
       Ft is a lump sum payment due at time t; Rt is a running royalty rate due at

       21
            Empirical research shows that certain relationships exist. For example, lump sum/upfront
            payments vary inversely with running royalty rates, and increased restrictions (scope or
            geography) lower running royalty rates. For an empirical analysis of the contract terms of
            licencing agreements, see Inés Macho-Stadler, Xavier Martinez-Giralt & J. David
            Pérez-Castrillo, The Role of Information in Licensing Contract Design, 25 RESEARCH POL’Y 43,
            47-48 (1996).




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    time t; Vt is the volume of products sold at time t; Bt is the per-unit sale
    price at time t; E0,t (Vt  Bt) is the revenue to be yielded at time t that is
    expected at time 0; and ht is a cost component of unknown size and
    unknown sign, including all the other implicit or explicit valuable trans-
    actions that are not easily quantifiable.
       If ht can be assumed to be negligible, E0(C) can normally be computed with
    the information available to the competition authority. Ft and Rt are described
    in the licensing agreement. d can be deduced by the company’s contemporary




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    internal documentation concerning its financial strategies and its ability to
    access credit. Finally, E0,t (Vt  Bt) can be calculated by analyzing the compa-
    nies’ internal business plans; usually, before concluding an agreement, the
    board of directors of a company has an overview of how the company will
    perform in the market in case of agreement. Hence, information about Vt and
    Bt are normally reported to the board of directors at the time of the agreement.
    In the second step, an effective rate l0 is then calculated as:

                                                  E0 ðCÞ
                                           l0 ¼
                                                  E0 ðV Þ

    where E0(V) is the stream of volumes sold by the licensee expected at
    time 0. Computing l0 for different agreements would allow the competition
    authority to compare them and establish whether one agreement is more
    onerous than another.
       Finally, regarding (3), it must be possible to use the ex-ante agreement as
    a counterfactual for the ex-post agreement against which condition 3 is
    tested. If the licensees have completely different characteristics (for example
    if the licensee of the ex-ante agreement is a major industry player with a
    relevant portfolio to cross-license while the licensee of the ex-post agreement
    is a small entrant with no IP rights), the two agreements may not be com-
    parable. Indeed, in the example just mentioned, in an industry where
    network externalities are prominent, the patent holder might have an incen-
    tive to charge a low price to a major industry player (in the form of low
    royalty rates) to foster the development of the market, whereas the patent
    holder might not have the same incentive with smaller players. In that case,
    it would be difficult to infer anything from the comparison between the two
    agreements unless the differences between the licensees’ structural features
    are properly taken into account.
       More generally, the ex-ante/ex-post comparison requires the definition of
    an ex-ante benchmark for the ex-post agreement. Most of the time, such a
    benchmark would need to be inferred from agreements concluded by the
    patent holder with other licensees.22 This means that there are two relevant

    22
         This can also not be the case—a licensee may well conclude an agreement ex-ante and an
         agreement ex-post (for example, if the ex-ante agreement has limited time duration).




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       dimensions of the counterfactual: the first one derives from considering
       ex-post what would have been negotiated ex-ante; the second one derives
       from considering what would have been negotiated by a certain player, who
       is different from the player that ultimately concluded the agreement. For
       that reason, this exercise may become too speculative if at least one of these
       dimensions cannot be dealt with in a straightforward manner. Hence, only
       ex-ante agreements of comparable licensees should be used as benchmarks.
           If, after checking (1), (2), and (3), it is concluded that no agreement was




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       finalized ex-ante or that none of the ex-ante agreements can be used as
       counterfactuals, condition 3 cannot be tested. In that case, the ex-ante/
       ex-post comparison principle cannot be directly implemented. However, it is
       still relevant to check the other conditions—if none of them fails, one
       cannot exclude that the FRAND commitment has been violated, and other
       criteria should be implemented to ascertain whether it has been.23


       D. Condition 4: Ex-Post, the Licensee Is Locked into the Technology
       FRAND commitments prevent patent holders from exploiting the removal
       of competition in the technology market due to the adoption of the stan-
       dard. If licensees are not locked in the technology (that is, they can still
       switch to an alternative technology at zero or very low cost if the price
       charged by the patent holder is too high), any hold-up effect would be
       minimal, if not zero. In such a case, no FRAND violation is likely to occur.
          Condition 4 thus requires the competition authority to inspect whether
       and when the patent holder became a monopolist vis-à-vis the licensee.24
       Defining a precise cut-off date that separates ex-ante from ex-post periods
       can be inappropriate, though. Usually, lock-in happens gradually—market
       players normally make their sunk investments over time, so that a specific
       date separating ex-ante from ex-post cannot be picked up. However, by
       inspecting the evidence concerning the level of investments made by the
       licensee, the degree of flexibility of the standard setting process, and the
       ability that the industry would still have to converge to an alternative stan-
       dard, it is possible to ascertain whether a specific agreement should be con-
       sidered ex-ante or ex-post. Any agreement concluded by a licensee that has
       not yet made relevant sunk investment in the technology and when the
       industry could still revert to an alternative technology should be considered
       ex-ante. Any agreement concluded when the licensee has already

       23
            See infra Part III.E.
       24
            In the context of IP rights, competition authorities usually identify as many markets as the
            number of patents essential to the implementation of a certain technology. An essential
            patent is defined as a patent which cannot be circumvented by licensees in order to
            implement a certain technology—that is, the patent holder is an “unavoidable partner.” In
            this article, it is assumed that the patent holder that is alleged to violate FRAND owns at
            least one essential patent to the technology selected as standard.




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    significantly invested in the technology or when the industry cannot
    revert to an alternative technology anymore should instead be considered
    ex-post.
       Obviously, only ex-post agreements can violate FRAND. However, a
    licensee might lock itself into the technology long before the patent holder
    commits to FRAND—for example, because it has relevant stakes in the
    patent holder’s technology (the licensee could also own patents essential to
    that technology). In that case, even if the licensing agreement were con-




                                                                                                   Downloaded from http://jcle.oxfordjournals.org/ at Virginia Polytechnic Institute and State University on July 2, 2012
    sidered ex-post, it could hardly violate FRAND, since, technically speaking,
    there is no link between the adoption of the standard and the increase in the
    patent holder’s market power vis-à-vis the licensee.25
       It should also be noted that, even if licensees are locked-in, that does not
    necessarily imply that patent holders face no constraint in setting the price
    for accessing their IP rights (that is, they can act in a manner which is sub-
    stantially independent of competitors and consumers). Even if a company is
    a monopolist in the market defined as the patent essential to a certain tech-
    nology, depending on the market and on the players’ business structure, it
    may still face a highly elastic demand. For example, the patent holder may
    have an interest in not hampering competition downstream in such a way
    that the development of the market for the products that implement its tech-
    nology would slow down or halt. This is particularly true if the patent
    holder is active only upstream in the technology market—it thus has nothing
    to gain from a reduction of competition in the downstream market, which
    could be caused by an excessive price charged to downstream producers.26
    On the other hand, vertically integrated companies might have an incentive
    to increase their royalty rates in order to gain a competitive advantage in the
    downstream market.27 At the same time, patent holders may also take into
    account the competitive pressure that is exerted by products that implement
    technologies different from their own and limit their royalty requests to favor
    the expansion of products implementing their own technology amongst final
    customers.

    E. The Next Steps
    As mentioned above, the four conditions act as a screening test. If, on the
    basis of the evidence provided, the competition authority concludes that
    none of the four conditions fails, one should conclude that the patent holder



    25
       In that sense, condition 4 may overlap with condition 1.
    26
       This phenomenon is known in the literature as “raising rivals’ costs.” See, e.g., Steven
       C. Salop & David T. Scheffman, Raising Rivals’ Costs, 73 AM. ECON.REV. 267 (1983).
    27
       For a theoretical model, see Klaus M. Schmidt, Complementary Patents and Market Structure
       (Centre for Econ. Policy Research, Discussion Paper No. DP7005, 2008).




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       could have violated FRAND vis-à-vis the licensee, and the matter should be
       investigated further.28
          At that stage, the competition authority would have to establish whether
       the ex-post rates indeed do violate FRAND and which remedies should then
       be imposed. A number of criteria could be used for that purpose; namely,
       criteria aimed at identifying a discrepancy between what the patent holder
       charges ex-post and what it is believed it could charge if there were still com-
       petition in the technology market. These criteria include testing whether




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       there exists a significant difference between ex-ante and ex-post royalty rates
       that cannot be explained by an increase in the bargaining power of the
       patent holder that is independent of the adoption of the standard or the new
       information on demand; whether there exist significant differences between
       the price paid for the technology and the price paid by comparable licensees
       for comparable technologies in different markets; and whether the technol-
       ogy is overpriced according to qualified experts’ opinion and independent
       market players, having taken into account its value to the market and risk
       entailed by innovators to develop it.
          The implementation of these types of criteria (which would resemble the
       criteria suggested in Georgia-Pacific Corp. v. U.S. Plywood Corp. 29) would
       necessarily lead to a decision as to whether FRAND has been violated. If an
       infringement is identified, a fine should be imposed and remedies (for
       example, lower royalty rates) should be discussed. Possibly, the definition of
       the new terms and conditions could be left to the parties, who would restart
       their negotiation process and, in that case, use private litigation as a tool to
       solve any upcoming issue.


       IV. CONCLUSION
       FRAND commitments are often imposed on patent holders by standard
       setting organizations to prevent patent holders from abusing the additional
       market power they gain through the adoption of the standard. The built-in
       ambiguity of FRAND, however, makes its enforcement fraught with difficul-
       ties—a competition authority that was called to ascertain whether a FRAND
       violation occurred would be confronted with the ambitious task of defining a
       proper counterfactual for “fair and reasonable” royalty rates.
           In this article, I propose a methodology that aims to structure a compe-
       tition authority’s approach to cases of alleged violation of FRAND. The
       methodology involves a screening test to assess whether a violation of
       FRAND could have occurred in the case at hand, in the first place. That
       would be the case if four necessary conditions are satisfied: (1) ex-ante, a

       28
          As specified above, if a condition cannot be tested for objective lack of evidence, it should be
          assumed that the condition is satisfied.
       29
          318 F. Supp. 1116 (S.D.N.Y. 1970).




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    credible alternative to the adopted technology exists; (2) ex-ante, prospective
    licensees cannot reasonably anticipate the licensor’s ex-post requests; (3)
    ex-post, the licensor requests worse licensing conditions than ex-ante; and
    (4) ex-post, the licensee is locked into the technology.
        If that is not the case (that is, if at least one the four conditions is not sat-
    isfied), there is no need for the competition authority to define the proper
    counterfactual for FRAND royalty rates. Conversely, if, according to the
    suggested methodology, a FRAND violation could have occurred, then the




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    competition authority would need to enter the somewhat judgmental
    process of deciding whether the terms and conditions offered by the defen-
    dant are FRAND. That process would entail an objective valuation of the
    royalty rate that the patent holder would have been able to charge if the stan-
    dard did not increase its market power, subject to the broader context of the
    license contract. At that stage, however, one may wonder whether it should
    not be for the defendant, instead, to provide convincing evidence that the
    terms and condition it offers are FRAND vis-à-vis the plaintiff.




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                            EXHIBIT 33
                  FILED UNDER SEAL




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                            EXHIBIT 34




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       Follow Up on HTML5 Video in IE9
       Published Monday, May 3, 2010 3:02 AM                                                                           176 comments

       Our recent post generated many comments and questions. The discussion of intellectual property rights is
       complex and invites many different points of view. This is a good opportunity to talk through the certainty and
       uncertainty relative to our goals for IE9 from Microsoft’s point of view.

       Developers have consistently conveyed that they want certainty and predictability in the underlying browser
       platform. We want to deliver a great HTML5 experience in IE9 with great certainty. The goal of certainty informs a
       lot of choices, such as which of the many standards still under construction we’ll pursue. Browser developers have
       to make decisions like this all the time.

       For many reasons, H.264 video offers a more certain path than other video formats and does so in a way that
       delivers a great HTML5 experience for developers and end-users. First and most important, we think it is the best
       available video codec today for HTML5 for our customers. Relative to alternatives, H.264 maintains strong
       hardware support in PCs and mobile devices as well as a breadth of implementation in consumer electronics
       devices around the world, excellent video quality, scale of existing usage, availability of tools and content
       authoring systems, and overall industry momentum – each an important factor that contributes to our point of
       view.

       H.264 also provides the best certainty and clarity with respect to legal rights from the many companies that have
       patents in this area. The rights for implementations of the H.264 standard (see this Wikipedia article about the
       standardization process) are managed by MPEG-LA as part of a program that has been in place for many years.
       This long-standing licensing program for a codec that is in broad usage today in the industry provides a stable
       system from which we can support our customers. As experts will note, there is never complete certainty in an area
       like this one.

       Some comments asked for examples to support the statement in the previous post about “The rights to other
       codecs are often less clear, as has been described in the press.” One comment linked to a Streaming Media
       article; other examples are easy to find.

       Intellectual property is a complex topic. As it’s not an engineering topic and this is an engineering blog, the
       remarks here are by definition limited. On the topic of whether one person’s codec does or doesn’t use someone
       else’s intellectual property, the only opinion that ultimately matters is a court’s. Many people seem to assume that
       availability of source code under an open source license implies that there are no additional costs, or that the
       code has properly secured necessary intellectual property rights from all rightful owners. Our experience and the
       experience of others indicate otherwise, and the web standards groups have discussed this issue as well. For other
       codecs, it’s not clear today how the rights will be determined for commercial scenarios and what the costs will be.
       By virtue of existing commercial use in a wide variety of products implemented by a large number of companies,
       H.264 minimizes uncertainty for consumers and developers.

       Several comments speculated about Microsoft’s financial interest in the codec. (Microsoft participates in MPEG-LA
       with many other companies.) Microsoft pays into MPEG-LA about twice as much as it receives back for rights to H.264.
       Much of what Microsoft pays in royalties is so that people who buy Windows (on a new PC from an OEM or as a
       packaged product) can just play H.264 video or DVD movies. Microsoft receives back from MPEG-LA less than half
       the amount for the patent rights that it contributes because there are many other companies that provide the
       licensed functionality in content and products that sell in high volume. Microsoft pledged its patent rights to this
       neutral organization in order to make its rights broadly available under clear terms, not because it thought this
       might be a good revenue stream. We do not foresee this patent pool ever producing a material revenue stream,
       and revenue plays no part in our decision here.

       There were many questions about royalties, and a lot of speculation in the comments about licenses and
       payments. The majority of H.264 video content on the web today is royalty-free. MPEG has said that individuals
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blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                           1/47
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       can create video files in the H.264 format and distribute them and play them over the internet for non-commercial
       purposes without further obligation on licensed platforms like Windows. We are aware that this commitment is set
       to expire in 2016, but fully expect to commit to supporting the extension of this license and associated terms
       beyond that date. In general, distributing encoders or decoders or offering sophisticated pay-for-video requires a
       license from MPEG-LA. Third-party applications that simply make calls to the H.264 code in Windows (and which
       do not incorporate any H.264 code directly) are covered by Microsoft’s license of H.264.

       Some comments pointed to language in our Windows EULA that comes directly from MPEG-LA and reinforces
       many of these terms. As with all licensing programs, there are limitations and issues, which people have pointed
       out. The functionality we provide is technology we license and we follow the terms of that license.

       Several comments asked about Microsoft’s support for plug-ins (like Flash and Silverlight). Of course, IE9 will
       continue to support Flash and other plug-ins. Developers who want to use the same markup today across different
       browsers rely on plug-ins. Plug-ins are also important for delivering innovation and functionality ahead of the
       standards process; mainstream video on the web today works primarily because of plug-ins. We’re committed to
       plug-in support because developer choice and opportunity in authoring web pages are very important; ISVs on a
       platform are what make it great. We fully expect to support plug-ins (of all types, including video) along with
       HTML5. There were also some comments asking about our work with Adobe on Flash and this report offers a
       recent discussion.

       We’ve read some follow up discussion about support for more than the H.264 codec in IE9’s HTML5 video tag. To
       be clear, users can install other codecs for use in Windows Media Player and Windows Media Center. For web
       browsers, developers can continue to offer plug-ins (using NPAPI or ActiveX; they are effectively equivalent in this
       scenario) so that webpages can play video using these codecs on Windows. For example, webpages will still be
       able to play VC-1 (Microsoft WMV) files in IE9. A key motivator for improving the codec support in Windows 7
       was to reduce the need that end-users might have to download additional codecs. The security risks regarding
       downloadable codecs and associated malware are documented and significant. By building on H.264 for HTML5
       video functionality, we provide a higher level of certainty regarding the security of this aspect of browsing and our
       web platform.

       The biggest obstacle to supporting more than H.264 today is the uncertainty. When there’s industry consensus and
       confidence that the uncertainties are resolved, we’ll be open to considering other codecs. Until then, we’ll continue
       with our current plans to deliver great HTML5 video in IE9 with certainty for consumers and developers.

       Dean Hachamovitch

       Lis t o f a r ticles r efer enced

       AVC/H.264 Licensors

       Fake codecs that drop widely spread malware

       Google may face legal challenges if it open-sources VP8 codec

       H.264 Already Won—Makes Up 66 Percent Of Web Videos

       H.264 licensing body won't charge royalties for HTML5, other Web streams

       IE Blog: HTML5 Video

       JPEG patent case steams forward

       Mac OS X malware posing as fake video codec discovered

       Malware Posing As Youtube Codec

       Media Streaming with Windows 7
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blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    2/47
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       Microsoft Security Intelligence Report Volume 8

       Microsoft Sued Over JPEG Patent

       MPEG LA’s AVC License Will Continue Not to Charge Royalties for Internet Video that is Free to End Users

       NPAPI

       Open letter to Steve Jobs: Thoughts on Flash

       Re: Codecs for <video> and <audio> from Silvia Pfeiffer on 2009-07-29 (public-html@w3.org from July 2009)

          Comments

                   Jones111
                   3 May 2010 12:34 AM
                    #
                   I hoped that you'll at least support wmv/vc-1 and hope that we'll be able to choose which codecs we'll
                   use in IE9. So far the idea of using H.264 is great - I think that this and other HTML 5 extensions'll change
                   the web as we know it.
                   However, you should not drop plugins yet, as these have some important features, that are not covered
                   in HTML.
                   We hope to see more inventions and samples with the next build of IE9.


                   Damian
                   3 May 2010 12:50 AM
                    #
                   The least you could do is name the major competing codec and what it's pros and cons are. You just
                   come off as legally afraid to do anything else.
                   Well at least I hope that's it and not that you are supporting this codec to make it hard for new multi-
                   platform independent browsers to start up.


                   hAl
                   3 May 2010 1:05 AM
                    #
                   This post does not make it clear why VC-1 was not added as well. It is also a standard with industry
                   momentum that has a lot of hardware support and has near identical licensing as h.264.
                   It also has a lot of advantages in using a lot less computing power to decode video essentially making it
                   a greener codec than h.264 and much easier for mobile devices batteries.


                   anonymous
                   3 May 2010 1:57 AM
                    #
                   "At the end of the day, we’re building a browser for the Windows customer. Listening to that customer, in
                   whatever form that takes, is not just important, it defines what we’re here to do." LIARS. WINDOWS
                   CUSTOMERS WANT XP SUPPORT FOR IE9 WHICH YOU ARE NOT DOING. DID YOU NOT READ THOSE
                   HUNDREDS OF COMMENTS ASKING FOR XP SUPPORT WHEN IE9 WAS UNVEILED?

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blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        3/47
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                   Jonas
                   3 May 2010 1:58 AM
                    #
                   The reason is enforced format lock-in, a widely used method with Microsoft products.
                   It has nothing to do with developer convenience, especially for open source based development which
                   this decision will have a direct negative effect, due to the complications related to H.264 licensing.
                   And, considering convenience; it is the opposite of what you would call the situation when your video
                   content is in a different format than the one enforced by the browser. Plugin-based video content is, and
                   this is obvious, not the convenient solution.
                   Except for these reasons, it shows MSIE unwillingness to cooperate with open standards, as H.264 should
                   not be the defacto standard, which it would be, if MSIE exclusively supports only this format. It should
                   only be one of the options.


                   Leo Davidson
                   3 May 2010 2:13 AM
                    #
                   "For other codecs, it's not clear today how the rights will be determined for commercial scenarios and
                   what the costs will be."
                   It's not clear today what the costs for H.264 will be, either.
                   All we know is that MPEG-LA reserve the right to charge for just about everything (even *hosting* the
                   files, it seems) but have promised not to charge for most things for a few years. That just makes them
                   sound like crack dealers giving the first hit free, to me.


                   Leo Davidson
                   3 May 2010 2:46 AM
                    #
                   Just adding to my previous reply:
                   MPEG-LA could solve the trust issue by legally promising to continue to only charge reasonable prices
                   for reasonable things forever, instead of only for a few years.
                   (Obviously "reasonable" would have to be defined, but if the licence cost was linked to inflation + some
                   maximum percent, or whatever, that'd work.)
                   If the MPEG-LA did that then they'd stop looking like crack dealers giving out the first hit for free.
                   It reminds me of (UK) politicians bringing in draconian laws and verbally promising that they won't abuse
                   the laws, yet refusing to make those promises part of the conditions of the laws.
                   If they really plan to be reasonable (and they may well do) then they should have no problem putting that
                   in the contract.
                   If they did that then most of the problems would go away.


                   Scott
                   3 May 2010 2:47 AM
                    #
                   Why not support Theora (.ogv)? It is an open-source video format whose codec can be included in a
                   browser or any other programs at no costs. This is clearly stated in its website
                   (http://www.theora.org/benefits/).
                   In my opinion, Microsoft should support a variety of multimedia formats so that developers will not have
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blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    4/47
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                   to spend more time making things work. Should Microsoft limits its support for new web standards,
                   Internet Explorer will lose market share, as we have seen, to other browsers as a consequence.


                   Florian
                   3 May 2010 3:13 AM
                    #
                   "Until then, we’ll continue with our current plans to deliver great HTML5 video in IE9 with certainty for
                   consumers and developers."
                   You act as if H.264 was some kind of certainty. It is most definitely not. H.264 is the most uncertain of
                   choices because:
                   - The commercial clause as put forth by MPEG-LA is very vaguely defined, thus exposing anybody who
                   touches it to a huge risk.
                   - Pricing for royalties are not quoted, and it is practically certain that they would put anybody out of
                   business except big media conglomerates, thus representing an unquantifiable infinite risk.
                   - Royalty free usage for personal use might end 2015, by which time an unspecified number of users and
                   possibly businesses would be exposed to an unlimited amount of risk.
                   - H.264 and its lock-in of video codecs might be found to be illegal under antitrust and price-fixing laws,
                   therefore exposing anybody who touches it to an infinite risk of this technology being prohibited, limited,
                   crippled or stagnated.
                   - H.264 is put forth by a large committee, virtually guaranteeing that it will change little, and therefore
                   exposing users and businesses to the infinite risk of being locked into yet another stagnant technology.
                   H.264 is the next GIF, and personally I don't fancy another 20 years in which some strangulating
                   monopolistic standard cripples the web, the effects of which still reverberate in todays image support in
                   browsers. Trying to make H.264 the standard for video is guaranteeing a GIFicationof web video and
                   another 20 years or more of stagnation in the field of web video.


                   Leo (not Davidson)
                   3 May 2010 3:15 AM
                    #
                   Too much emotion in this debate for firm decisions so early on to be purely in the public interest.
                   Members of the working group really need to stop making statements and using language that is clearly
                   chosen in an attempt to influence a draft specification that is still years from candidacy.
                   There is no doubt H.264 is the current obvious choice (in 2010), but it is also no reason why the
                   rendering conduit cannot be wide open for publisher choice into the future and render the debate a non-
                   issue.
                   This would be about as absurd as delivering user agents today that will only natively render GIF images
                   out of the box.
                   Show the global community some respect; the internet would not exist as it is today (for our own
                   profiteering) if not for the open development and resistance to railroading.


                   SomeDude
                   3 May 2010 3:51 AM
                    #
                   Great post, can't wait for IE9!


                   Florian
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blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      5/47
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                   3 May 2010 3:57 AM
                    #
                   H.264 may be represented by 60% of web video offers, but right now it is only represented by 25% of
                   the market share of web video capable installed browsers. Whereas ogg-theora is represented by 75%
                   of web video capable installed browsers.
                   The two H.264 proponent browsers are Safari and IE9. In order to fill the ogg-theora/H.264 gap, both
                   Safari and IE9 would need to grow by over 25% in browser market share as opposed to IE6/7/8/Firefox.
                   This is unlikely to happen within the next 18 months as Safari doesn't grow that fast, and Microsoft has
                   shown that is incapable of replacing older versions of its browser in a timely manner.
                   Therefore the particular decision of IE9 *NOT* to support ogg-theora makes life especially much more
                   difficult and uncertain for both consumers and developers. The decision will delay and hinder the arrival
                   of web-video for another 2 to 3 years, because for users and developers there's no single sure way of
                   supporting video in 100% of web video capable browsers regardless of other risks and uncertainties
                   either H.264 or ogg-theora represents and regardless of their technical merits or drawbacks.


                   Cox
                   3 May 2010 5:15 AM
                    #
                   The real question is: I agree that theora is not clear as of its patents, but if google publishes a new
                   format, with the right licence to use it, would you implement it right away ?
                   I mean, would we have to wait till IE 10. Is your decision set in stone for ie9 or are you allowing it to
                   evolve ?
                   I'd appreciate a clear answer, such as "whatever happens, we will stick to h264 ONLY", or "if a decent
                   format with correct licence is made public, we will consider it".
                   Thanks in advance


                   alex
                   3 May 2010 5:17 AM
                    #
                   again, wich audio codecs will ie9 support. video without an audio-stream is a little bit boring. will ie9
                   support the audio-element?


                   Jean-Philippe Martin
                   3 May 2010 5:42 AM
                    #
                   First, thanks for this new post. This explain clearly your choice and your position and answer a lot of
                   questions.
                   I only have the impression that you are taking a shortcut to implement html5 video tag and you do not
                   give any options for the future.
                   Maybe that's not your team goal but the focus should be on fixing the html5 specs to define a clear,
                   royalty-free codec.
                   MPEG LA objectives are commercials = to make as much money as possible :
                   http://www.mpegla.com/main/Pages/PoolBenefits.aspx
                   So implementing this codec only in your next browser and believing that everything will be ok in the
                   future is naive to say the least.
                   I think that your aiming only for the passing grade instead of giving a thoughtful and viable solution for
                698
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                     6/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   the longterm.


                   Manny Maozinhas
                   3 May 2010 5:46 AM
                    #
                   Thanks for this informative post, Dean. Can't wait for IE9!
                   BTW, the guys that are claiming for ogg support should check this Ed Bott post first:
                   http://blogs.zdnet.com/Bott/?p=2086.
                   You also could go out and sayd the same stuff to Steve Jobs here:
                   http://www.apple.com/hotnews/thoughts-on-flash/. Oh, wait, you can't - because unlike Microsoft, Apple
                   don't like to open their posts to comments!!! After all, everything they do is for the benefit of the
                   consumers, right...? (not).


                   Jones111
                   3 May 2010 5:53 AM
                    #
                   Apple seems to have the same Problems:
                   http://hugoroy.eu/jobs-os.php
                   A browser without codecs is bad, a browser without fast codecs is bad but open source-browsers that
                   uses codecs that are based on illegal copyright violating sources sould be banned. - Well, maybe I just
                   don't like the Mozilla HackFox browser.
                   Even if we have to run wmp, it would be better than no support at all. Just integrate the UAC for that
                   pupose in an easy way, and we're all much happier.


                   Brian LePore
                   3 May 2010 6:26 AM
                    #
                   Wait, I am a bit confused. We can only run the other codecs when using a plug-in? Why can't the video
                   tag also play any other codec that is installed on the user's computer, and have IE9 specifically make sure
                   that H.264 comes bundled? Security? If that is the case why allow it in WMP/WMC?
                   Don't get me wrong, I think H.264 is a better format than OGG, and I do understand why other browsers
                   support just OGG. I am in the camp of someone that wants it to just work. Right now I will output both
                   formats for my users and would love to be able to cut that down in the future. I just don't understand
                   why the video tag can't be made to work with everything the user has.
                   And can we please get a comment on the audio tag? Will it be supported? What format will that support?
                   If it's something beyond mp3, wave, or ogg I would really like to know as I have code I would need to
                   update.


                   Rod Mac
                   3 May 2010 6:46 AM
                    #
                   Video aside, why isn't IE9's focus Silverlight? Isn't HTML5 just playing into the hands of Google?


                   Charbax
                   3 May 2010 7:18 AM
                    #
                699
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      7/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   Dear Microsoft, I want to hear you mention Ogg Theora. And I want you to talk about On2 VP8 which
                   rumors are Google will unveil in a couple of weeks and free up licence free as HTML5 video codec.
                   You, Microsoft, if you want to sound like you are playing nice to the FOSS crowd, simply need to state
                   that you WOULD be interested in supporting On2 VP8, and that you would even be interested in
                   supporting Google in proving to the industry that that specific open source and free codec would in fact
                   be usable and not be in conflict with the Mpeg LA patents.
                   You need to state that you would find it good for the industry that there were to be an open source and
                   free video codec which also performs well compared to Mpeg LA patented codecs.
                   Especially if adding Ogg Theora 2.0 support in IE9 only requires few megabytes of codec code, then you
                   should state that you will not have a problem supporting that.


                   Jimmy Jazz
                   3 May 2010 7:38 AM
                    #
                   @tz. Yeah, MS is evil. And the fact that you can post that in a MS blog, no less (but not anywhere in an
                   Apple one, for that matter) is very telling indeed...


                   Rob
                   3 May 2010 7:45 AM
                    #
                   Current H.264 patent litigation
                   http://bit.ly/9vNGZW


                   Armando Ortiz
                   3 May 2010 8:06 AM
                    #
                   I don't think any amount of explaining is going to quell the cry for true interoperability with other codecs.
                   How Microsoft and Apple could make such an absurd assumption that one single codec can rule them all
                   is beyond me. Lord of the Rings, anyone?
                   The other thing that got me was this:
                   "Developers have consistently conveyed that they want certainty and predictability in the underlying
                   browser platform."
                   If we're talking about IE, then that's an alternate universe that this statement has even begun to manifest.
                    I think it's more applicable to say that developers have consistently conveyed that they want IE to follow
                   standards, which, by definition, provides certainty and predictability.
                   MY WEBWARE SHOULD WORK THE SAME ACROSS ALL BROWSERS THAT ADHERE TO STANDARDS!
                   The entire IE family of products is a perfect example of how NOT to provide "certainty and predictability"
                   except where security (or lack thereof) is concerned. I can't say it has done anything for page rendering
                   because...and not to put too fine a point on it...it's simply not happening with all these hacks I have to put
                   in place.
                   So Microsoft won't support Theora. Then I choose not to support IE and I most certainly will not support
                   H.264. I'm a webware developer, Microsoft. I want standards and I want something open that I can
                   readily use and not have to pay huge amounts of cash for in the future.
                   "We are aware that this commitment is set to expire in 2016, but fully expect to commit to supporting the
                   extension of this license and associated terms beyond that date."
                 That doesn't spell "certainty" to me...sounds more like the parable of the scorpion and the fox...
                700
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                         8/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   Aethec
                   3 May 2010 8:07 AM
                    #
                   I wonder how many of the "MS is evil, Theora is good" comments come from people who actually read
                   what this blog says.


                   Jones111
                   3 May 2010 8:10 AM
                    #
                   Steve Jobs mailed:
                   "A patent pool is being assembled to go after Theora and other "open source" codecs now."
                   http://hugoroy.eu/jobs-os.php


                   Jadd
                   3 May 2010 8:41 AM
                    #
                   Why not support both H.264 and Ogg Vorbis?


                   Matt
                   3 May 2010 8:43 AM
                    #
                   Rob, your (spam?) link says nothing about h264.


                   Rob
                   3 May 2010 8:45 AM
                    #
                   This is great news. Very logical roadmap. Thanks.


                   Will
                   3 May 2010 8:47 AM
                    #
                   Florian, you've clearly conveyed that you don't know anything about "antitrust and price-fixing laws" so
                   why would anyone believe anything you say?
                   Jadd, please be polite and actually read before commenting. Thanks.


                   Parrotlover77
                   3 May 2010 8:49 AM
                    #
                   "We’re committed to plug-in support because developer choice and opportunity in authoring web pages
                   are very important; ISVs on a platform are what make it great."
                   You guys need to have a talk with the Windows Phone 7 team about developer choice, since there isn't
                   any in WP7.
                   That aside, I like the direction IE9 is going. H.264 is the best choice IMHO if you were to choose only a
                   single codec for HTML5 video. I'm glad to see you are open to other codecs, should other browsers
                701
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    9/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   make a different choice. I'm hoping they don't because I think a single codec and a single standard for
                   this will make video support a lot easier for web developers in the long run.
                   Has the IE team communicated with Mozilla/Apple/Opera about using H.264 exclusively? If there's buy-in
                   from the other browser vendors, I think a lot of fears will be eased.


                   Ruthsarian
                   3 May 2010 8:50 AM
                    #
                   Come January 1, 2011, MPEG-LA could drastically increase its license fees on H.264. It could start
                   charging companies like YouTube (Google) a per-stream fee. If there is no alternative, patent-
                   unencumbered codec available then web video will be all but dead.
                   The arguments against Theora aren't really there. Every argument speaks of patent problems, but fail to
                   specify one. It's just a lot of "maybe" and "possibly".
                   Why not invest a bit of effort, if Microsoft is unsure of Theora's patent issues, into research them for
                   yourselves? Xiph.org already has, but if you're unwilling to take their word for it then invest some effort
                   to educate yourselves.
                   Steve Jobs speaking of "a patent pool being assembled" is nothing more than fearmongering. The
                   simple fact of the matter is that there is no patent pool. Such weak threats have been thrown out there
                   since before it was published in 2004.
                   That's six years Theora has been available. And the number of lawsuits so far? Zero.
                   And there never will be. It would be a devastating blow to MPEG-LA if it were proven in a court of law
                   that Theora was patent unencumbered. Why pay a license fee for MPEG when there's a free codec that
                   provides just as good quality?
                   Which is why you will always hear of these vague claims of "patent pools" and some "major lawsuit" is
                   waiting in the wings, ready to pounce upon Xiph.
                   Well they better move fast as a lot of those MPEG-LA patents will be up in a few years.


                   Will
                   3 May 2010 8:59 AM
                    #
                   Ruthsarian, you're plainly confused. MPEG-LA *is* a patent pool, no "assembly" required.


                   Ruthsarian
                   3 May 2010 9:00 AM
                    #
                   http://lists.xiph.org/pipermail/theora/2010-April/003769.html
                   There you go. Straight from Xiph. The statements from MPEG-LA about all video codecs being patent
                   encumbered are simply not true. It's just a bunch of FUD to keep big corporations (Hello Microsoft) from
                   finding suitable free alternatives and MPEG-LA losing out on another revenue stream.
                   Again. Microsoft, you need to educate yourselves before you make such important changes in what
                   technology you implement. Your rash decisions affect millions of people.


                   Will
                   3 May 2010 9:08 AM
                    #
                   ROFL... yeah, xiph is a credible source. Unfortunately, the legal system isn't really based on asking the
                702
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      10/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   defendent "Did you break the law?" and acquitting them if they say "no."


                   Laurent
                   3 May 2010 9:08 AM
                    #
                   I agree with Ruthsarian; it's just not a fair race. Free stuff starts off with so many walls dressed up.


                   Ben Trafford
                   3 May 2010 9:19 AM
                    #
                   The same FUD being spread about Theora is almost identical to the FUD that was spread about Linux.
                   "We are analyzing our legal options. Linux obviously infringes on patents. We're going to do stuff to
                   people who use it."
                   If Apple, Microsoft et. al. are so certain that Theora is breaking patents, then show your cards. Otherwise,
                   don't try to pretend that implementing H.264 over Theora is anything other than a money grab by the
                   usual gang of monopolists.


                   Charlie
                   3 May 2010 9:27 AM
                    #
                   "This post does not make it clear why VC-1 was not added as well."
                   VC-1, despite its origins, is a codec also governed by the MPEG-LA. Its licensing is pretty much identical
                   to that of H.264, so supporting VC-1 in IE9 doesn't really buy anybody anything. Microsoft also (ironically)
                   pays MPEG-LA for the right to include VC-1 support in Windows.
                   "MY WEBWARE SHOULD WORK THE SAME ACROSS ALL BROWSERS THAT ADHERE TO STANDARDS"
                   Then you should lobby W3C to actually explicitly add Ogg Vorbis/Theora support to HTML5 as it's
                   currently not a part of the standard. Why get mad at Microsoft for not implementing something that's
                   not a part of the standard? Microsoft is 100% following the HTML5 spec.
                   "it shows MSIE unwillingness to cooperate with open standards"
                   Which open standards? Ogg? Theora? These formats and codecs are open SOURCE, but they're not
                   standards. In order for something to be considered a standard it must be ratified by an industry group
                   or standards committee like SMPTE or ISO.


                   Andrew
                   3 May 2010 9:27 AM
                    #
                   As a web developer who watched Real destroy their market lock through greed, it is disappointing to see
                   patent trolls continue to hobble innovation in web technology.
                   Dean, the moment you make the statement that you're an engineer, not a lawyer, your blog post
                   becomes irrelevant. Any argument about the performance or legality of one codec against others must
                   be backed with evidence, and Microsoft's track record on supposed IP violations in Linux makes it
                   virtually impossible to take statements of this ilk as anything other than FUD. If you plan to speak for your
                   corporation, understand that you have debts to pay.
                 FWIW I think HTML5 is for the most part a terrible idea. On the surface it comes across as a convenience
                 for developers, but in practice it cannot be implemented fully by a browser vendor without licensing; I
                 suspect it won't be long before the geolocation feature is hit by a submarine patent. To an end user, this
                 smacks of oligopolistic practices which have no place in a document renderer. You'd be entitled to call
                703
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        11/47
8/24/12                 Case
                   smacks     2:10-cv-01823-JLR        Document
                                                            have no 392-8
                                                                    place in Filed 08/27/12  Page   71 of
                                     Follow Up on HTML5 Video in IE9 - IEBlog - Site Home - MSDN Blogs
                           of oligopolistic practices which                  a document renderer. You'd be106
                                                                                                           entitled to call
                   this comment paranoia, but remember your employer had to settle out of court with Eolas and will
                   probably have to do the same with i4i.


                   Martin
                   3 May 2010 9:29 AM
                    #
                   Quote:
                   "For web browsers, developers can continue to offer plug-ins (using NPAPI or ActiveX; they are effectively
                   equivalent in this scenario) so that webpages can play video using these codecs on Windows."
                   What does this mean? Does it mean that someone can make a plugin which allow the video tag to play
                   any kind of Video which the plugin can decode? Or will we again end up with a situation where we have
                   to make special html to explorer 9, to trigger the correct plugin even if the user have it installed?


                   timw4mail
                   3 May 2010 9:34 AM
                    #
                   EXPLOITATION. IE is and has always been exploitation of the web for none but Microsoft's gain. This is
                   not changing. The more I see things like this in IE, the less I see progress, because with every one step
                   forward, there are two steps back.
                   There's a reason that everybody else (Except Apple) supports Ogg Theora/Vorbis for the video tag.
                   Mozilla supports it because it's patent free. Mozilla can't afford to license H.264. Opera refuses to pay a
                   license for H.264. Google supports it because they "aren't evil". Microsoft doesn't support it and Apple
                   doesn't support it. WHY? Because they are members of the H.264 patent pool. They have royalties to
                   gain.
                   This is completely inexcusable. Without actual standards, the web is fragmented. With only support of
                   H.264, when the HTML5 video tag reaches primetime, IE 9 becomes another IE 6.
                   Microsoft, quit the browser market, or actually work with an existing rendering engine. Obviously there
                   isn't enough competence at Microsoft to realize that an open web is more important than lock-in or
                   profit.


                   Paul
                   3 May 2010 9:39 AM
                    #
                   andrew it's soooo cute that you think Dean will actually ever read these comments!
                   martin a plugin to render other codecs would require special html (an object tag) like Flash does in order
                   to be invoked. they're explicitly not making the codec in the video tag itself pluggable.


                   Matt
                   3 May 2010 9:41 AM
                    #
                   tim: I think you need to understand what a "corporation" is legally required to do
                   (answer: generate profit for shareholders).


                   FUD
                   3 May 2010 9:55 AM
                    #
                704
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      12/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   The following statement is instructive:
                   ..."H.264 minimizes uncertainty for consumers and developers."
                   IOW: The reason to choose H.264 in IE, exclusive to truly free codecs, is pure and simple FUD.
                   This is why IE is loosing market share hand over fist versus others. MS is not listening to their technical
                   base that wants free and open standards, and we are choosing to not take what is being force-fed to us
                   any more.
                   If you do not support Ogg/Theora -- you loose, because we just say, "Oh, so, you can't play our
                   movie??? -- Hmm, well, here... here's a better, faster, more secure alternative browser for you. It's
                   crunchy, you'll love it!" -- and, they will.


                   Another
                   3 May 2010 9:59 AM
                    #
                   As long as you can still download Firefox and Linux .iso, IE 9 looks like a fully functional release to me...
                   Oh, and why bother writing blog entries about H264. The reason that you don't support Theora is not
                   technical or Legal - it's because you haven't been kicked in the arse by the EU and US Anti-trust
                   regulators enough :)


                   T
                   3 May 2010 9:59 AM
                    #
                   Microsoft are yet to present any form of web browser to the public which follows any single w3c
                   specification correctly.
                   Achieve that first and then try to support draft specifications.
                   Users are already voting with their feet on IE and it's time Microsoft had a serious re-think about the
                   browser because by the time html 5 is final, IE will be irrelevant as a direct result of not supporting web
                   standards correctly.
                   Now that Microsoft's position is clear and IE's market share is rapidly falling, developers can start to
                   exclude IE from accessing content it is incapable of supporting.
                   Internet explorer needs the web. The web does not need Internet explorer.
                   There is a very deep hatred for IE amongst the professional web development community and
                   developers are now so sick of needing to price support for IE separately, that many developers have
                   started to add features turned off or missing when IE is used to visit the site.
                   Microsoft needs to try to win back the trust of web developers by supporting standards correctly.
                   This announcement goes nowhere towards doing so.
                   Way to go to provide your customers with a slow, irrelevant and featureless web experience.
                   Not a single usable version of Internet explorer released to date and yet still no lessons learned.
                   Every other browser software distributor tries to provide as much choice as they can for their users, while
                   Microsoft is insistent on focusing on what choices it's users and developers should not have.
                   Wake up and start putting your customers first.
                   The web is about standards and choice. Not about what your abysmal web browsing software will not
                   do.


                   Andraz
                705
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        13/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   3 May 2010 10:06 AM
                    #
                   There are perfectly good reasons to support h264 for Microsoft - you have all the patent mess sorted
                   out, you have wested interest in media-serving space to continue to be locked down.
                   But that does not make you a good player in web space. For your strategic purposes of trying to keep
                   barrier to entry for free software high, you are spreading Fear, Uncertainty and Doubt about Theora and
                   OGG.
                   Either you know about possible exact patents that are being violated and in this case as a good player in
                   web space you would need to disclose them, or you are on the other side helping to gather them and
                   being quiet because of that (in which case you are a hypocrite).
                   Now there is the third option too. You neither know about patents Theora might violate neither are you
                   trying to find them. I find that third option the most believable - You are basing decisions on your
                   strategic interests and not on technical or legal merits.
                   How many lawsuits are there about Theora? Zero. Until any of them materialize, the talk about uncertainty
                   is FUD. A well known tactics that should stop.
                   If this is engineering blog, act like engineers, put out a concrete data about what you know about
                   Theora. Give us the facts, not FUD.


                   Anders
                   3 May 2010 10:45 AM
                    #
                   Why dont you do what micrsosoft allways does best. Give the community an api that we can use to add
                   theora to ie 9 html 5 video tag. Then we could choice of a free webformat or a more closed one. The
                   security issue could always be solved in one way or another ( by digitally signing or only allow codec
                   download from certain vendor site).
                   Best Regards Anders


                   Steve
                   3 May 2010 10:50 AM
                    #
                   If Microsoft implemented OGG and then got sued would you foot the legal bills? Would you hire the
                   people who got fired or had their careers ended for making that decision.
                   Of course there are no lawsuits against ogg...The guys with deep pockets don't use it. If there are patents
                   that can be used against it then they won't be shown until there is someone with deep pockets shipping
                   ogg. The patent guys don't care about preventing you from watching videos, they care about taking
                   money from Apple.
                   Working for a large technology company (not Microsoft or Apple) I can tell you that many decisions are
                   made about technology on a legal basis for legal certainty. No one with hundreds of millions to lose
                   really wants to see if ogg is unencumbered.


                   John Drinkwater
                   3 May 2010 10:53 AM
                    #
                   Seriously, you’ll point to blog comments made *within the same week* you made your post to back up
                   your argument about rights issues?


                 Mike
                706
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      14/47
                   MikeCase 2:10-cv-01823-JLR Document 392-8 Filed 08/27/12 Page 74 of 106
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                   3 May 2010 10:54 AM
                    #
                   You talk about "certainty and predictability", from my point of view as a developer, that would be if each
                   browser uses the same codec. Right now Apple and Microsoft chose H.264, but I'm not sure if Google,
                   Opera and Mozilla will do the same. If they don't, then there is no "certainty and predictability", because
                   then we have to encode in multiple formats to support each browser.
                   I'm ok with H.264, whatever works you know, it's just that I'm disappointed that in of you (all browser-
                   vendors) for not being able to agree on one standard.


                   Florian
                   3 May 2010 10:59 AM
                    #
                   @Will
                   Why should anybody believe what you say?
                   Now I'll explain to you the term "monopoly". Monopoly is when one company or conglomerate controls
                   one particular market by having their product being the predominant one.
                   Monopolies happen, luckily H.264 is not (yet) a monopoly in Browsers, however it pretty much is the
                   predominant product in the recording/editing/distribution sector.
                   Now I'll explain to you anti trust. This happens when a company that does have a Monopoly (like MPEG-
                   LA already has it on recording/editing/distribution for for video codecs) missuses their strong position to
                   shut out competition of that market.
                   You might ask, well, what's bad about a market without competition, and I leave that to you as an
                   enlightening exercise (hint, you may use wikipedia).


                   virtualblackfox
                   3 May 2010 11:11 AM
                    #
                   Are you really explaining to us that choosing the exact opposite as what the other big web browser
                   (firefox) already does is a good choice for web developers ???
                   No web developer is stupid: the html5/video tag is doomed, the install base of flash will never be beaten
                   without ie and firefox implementing the same codec, so we are stuck with flash as the only cross browser
                   video player (if mobile phone are ignored as their screen size require a separate encoding anyway).


                   StandardsGuy
                   3 May 2010 11:17 AM
                    #
                   @Leo (not Davidson)
                   >Members of the working group really need to stop
                   >making statements and using language that is
                   >clearly chosen in an attempt to influence a draft
                   >specification that is still years from candidacy.
                   That's all a part of being in the working group. You get to influence the specification. The working group
                   is not just some magic impartial council that carves standards into stone tablets without regard for what
                   its members want.
                   Microsoft, along with the other members, is invited to comment on how the standards should be
                707
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      15/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   molded.


                   Steve Watkins
                   3 May 2010 11:20 AM
                    #
                   @Ruthsarian: You are out of date with your claim that H.264 fees could start as soon as January 2011.
                   Earlier this year MPEG LA announced that there will be no royalties on internet video that is fre to end-
                   users until Jan 1st 2016, and this post by Microsoft suggests that it may well continue past that date too.
                   For the first time in my life I feel sorry for Microsoft.
                   The voice that seems to be largely missing from these debates is that of all the different companies that
                   provide video services on the web.


                   Mike
                   3 May 2010 11:20 AM
                    #
                   Serious question: what would Microsoft do if Google decided to encode all YouTube video in a different
                   codec (not H.264)?


                   Aaron
                   3 May 2010 11:30 AM
                    #
                   I'm disappointed that Theora will not be implemented in IE9. This seems like a step backwards. Once we
                   hit year 2014 a lot a bloggers and sites will not be able to finance the large royalty fees set out by the
                   MPEG-LA.
                   The optimal solution would be to support Theora and H264. At least this would allow everyone to use
                   HTML5 video.


                   Steve Watkins
                   3 May 2010 11:38 AM
                    #
                   @ Aaron: Its not 2014, its 2016, and even then they may not start charing. Do you really think they would
                   try to charge people who cant afford to pay? Generally people only come after their slice of the pie if
                   there is actually a pie worth sharing there. Where video is not monetized I very much doubt they will
                   bother.


                   Theo
                   3 May 2010 11:46 AM
                    #
                   A lot of people are glossing over what might end being more important: The lack of a Canvas tag in MS'
                   IE9 Implementation.


                   Romeo Placia
                   3 May 2010 12:02 PM
                    #
                   Theora is better because it's open. EOD


                708
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      16/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   ravewulf
                   3 May 2010 12:04 PM
                    #
                   Audio - obviously going to be AAC (AAC and h.264 go together in the .mp4 container)
                   h.264 - clear on legal end (and MS is already paying for it, why not use it?), excellent
                   compression/quality, hardware acceleration, large mobile device support, large support in terms of
                   software editors/encoders/players, large supply in content
                   VC-1 - similar/same as h.264, except not quite as much much mobile device support and very little supply
                   in content
                   ogg - somewhat murky legal end (some person who helped develop could jump in with claims and cause
                   a mess), compression not as good as h.264, little to no hardware acceleration, very little mobile device
                   support, smaller support in software/encoders, very little content uses it
                   This could all change in the FUTURE, but this is how things are NOW


                   EricLaw [MSFT]
                   3 May 2010 12:08 PM
                    #
                   @ravewulf: As mentioned previously, IE9's AUDIO element will support MP3 and AAC.


                   ravewulf
                   3 May 2010 12:17 PM
                    #
                   @Mike I doubt Google will go with something that doesn't have broad support. They want as many
                   people as possible to be able to use their products, regardless of browser or OS. As W3C adds more
                   codecs in the future, browsers and content will adapt to it.
                   @EricLaw [MSFT] Thanks for clarifying (I hadn't checked, just went with what most use with h.264 video) :)


                   Steve Watkins
                   3 May 2010 12:20 PM
                    #
                   @ravewulf: Regarding theora murky legals, I dont think it even needs to be someone who helped
                   develop it, its about patents that cover any of the concepts used to make the compression & format
                   work.
                   For there to be a totally safe codec from a legal point of view, someone would need to come up with a
                   method of compression that was completely new, not covered by any of the existing patents out there,
                   then they would need to be recognised as the owner of this intellectual property, and then declare that
                   they were giving it to the world for free forever.
                   Either that or wait for all the existing aptents that cover things like H.264 to expire, which will be a very
                   long time away.


                   Jack
                   3 May 2010 12:27 PM
                    #
                   @ravewulf
                   "ogg - somewhat murky legal end (some person who helped develop could jump in with claims and
                   cause a mess)"
                709
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        17/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   It's sad that people have to resort to lies. But shows also fear. The question then is why? Why does this
                   CODEC (ogg theora) that according to them is so bad, has so much legal uncertainty, has so little
                   support causes them so much fear that they have to lie to justify their words and actions?


                   Steve Watkins
                   3 May 2010 12:33 PM
                    #
                   @Jack If you want to believe that legal uncertainty surrounding Theora does not exist then thats your
                   choice, but please dont call people liars on this issue unless you would like to personally cover us all for
                   any legal hassles if it does turn out that any of theoras methods are covered by someone elses patent.
                   It may well be true that there are other reasons why some would be interested in spreading FUD about
                   Theora, but that does not mean that patent woes for Theora are impossible. I have a feeling we will find
                   out before too long.


                   Jack
                   3 May 2010 12:46 PM
                    #
                   1) Microsoft takes their legal decisions based on news sources without credibility.
                   2) Microsoft uses insinuations and innuendos but not facts to exclude other CODECs
                   3) Their decision is not based on monetary reasons because they don't receive enough money from the
                   MPEG Cartel
                   4) Non-commercial use is useless for the web. Most of the web runs on advertising, this excludes 99% of
                   the people that wants to put video on the web
                   6) Most of the hardware and software sold in prosumer market don't include an H264 license to allow
                   commercial use anyway!
                   5) This puts newcomers, startups and small business at great financial disadvantage
                   6) The standards for the web have always been royalty-free! Video should too!
                   7) It's that the MPEG and their members, including Microsoft and Apple, want to eliminate competition at
                   any cost and impose a extortion scheme
                   8) Lack of competition will be bad for consumers and bad for technological innovation!
                   9) Microsoft's hypocrisy is immense: at the time of OOXML standardization Microsoft claimed that having
                   more than ONE file format was good for consumers. Now that's no longer the case.
                   10) It's just another step to the end of a FREE and OPEN internet. Big corporations will always subvert
                   these organizations. Microsoft, Apple, Google, Nokia...


                   Jack
                   3 May 2010 12:50 PM
                    #
                   @Steve Watkins
                   "If you want to believe that legal uncertainty surrounding Theora does not exist then thats your choice,
                   but please dont call people liars on this issue unless you would like to personally cover us all for any
                   legal hassles if it does turn out that any of theoras methods are covered by someone elses patent."
                   You're seeing things upside down! It's you that have to provide PROOF that Theora infringes. Until then I
                   will do the right thing. Call liars LIARS!
                   If people fear patent suits for using Theora, then they will also fear patents suits for using H264. Both are
                710
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        18/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   the same position.


                   Sir Gallantmon (ニール・ゴンパ)
                   3 May 2010 12:56 PM
                    #
                   @EricLaw [MSFT]
                   Why not support the Vorbis format with <audio> tag? Nobody has been arguing against it, it just seems
                   to get lost in the hubbub about Theora and <video>... And Microsoft ALREADY USES Vorbis in the Xbox
                   consoles, so they obviously feel it a good codec.
                   As for <video>, supposedly, Dirac is going to be VC-2. It's not confirmed, but we'll see. As for H.264,
                   nobody seems to notice that the "free" license for H.264 and AAC only apply if you are making ZERO
                   revenue. This means, no advertisements, no "donations", no monetary "subscriptions", etc.
                   Because of this, it is legally infeasible to use H.264/AAC for most sites aiming to use <video> that don't
                   already pay for the H.264/AAC license. Rather, I'd use either Dirac/FLAC, Dirac/Vorbis, Theora/FLAC, or
                   Theora/Vorbis. Most likely Theora/Vorbis since that has the most support in the HTML 5 browser space,
                   with Chrome, Firefox, and Opera supporting it.
                   I realize that Theora is terrible for HD quality video, which I believe Dirac excels at. So technically both
                   bases should be covered. I'm also aware that Firefox's HTML5 backend does include support code for
                   Dirac, it just is disabled currently.
                   Obviously, Chrome's HTML5 backend supports it, since it uses ffmpeg, which supports a smörgåsbord of
                   codecs.
                   Opera can have Dirac plugged into it since it uses GStreamer for its HTML 5 engine.
                   So, Microsoft, when will you be implementing Ogg support for HTML 5? ;)


                   JoeJaz
                   3 May 2010 1:01 PM
                    #
                   My vote is for VP8. Understanding that this is not yet "open", if it is opened, it would seem to make a lot
                   of lives easier and just make sense. I wish MS would consider this option but I'm not optimistic.


                   Fredrik Wendt
                   3 May 2010 1:14 PM
                    #
                   A free and open format (that doesn't require you to pay a license fee for development) would be far
                   better than H.264. Ogg is a very good option that is well supported in many modern operating systems.
                   This is a real chance for MSFT to show they do want to participate, instead of EEE.


                   Ray
                   3 May 2010 1:21 PM
                    #
                   When Microsoft if making a decision, they should stand on a Microsoft side.
                   From Microsoft point of view, whenever they add a codec into IE, it will aldo be included in Windows.
                   Microsoft must be made sure that they do not need to pay layalty later on for the codec.
                   Otherwise, considering the number of Windows/IE copy on the market, it will be very difficult for
                   Microsoft to manage.

                711
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       19/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   This is also the reason that Microsoft did not include Codec for DVD play in Windows XP.


                   Matt
                   3 May 2010 1:25 PM
                    #
                   JoeJaz, any announcement from Google that they're making VP8 "open" is worthless *unless* they
                   provide developers who implement it a warranty of indemnification (as Microsoft does for their major
                   products) saying that Google's legal team will defend implementors from lawsuits, and Google's assets
                   will be at risk, not the implementors. It would be a huge win for the internet, but I'm not holding my
                   breath. Instead, expect to see Google make a meaningless announcement that gets lots of press but
                   ultimately means little.


                   Fiery Kitsune
                   3 May 2010 1:39 PM
                    #
                   Hey Microsoft, are you so proud that you can't even be bothered to mention Vorbis or Theora by name?


                   Paul Eccles
                   3 May 2010 1:43 PM
                    #
                   To the people who are suggesting all the obscure formats, VC-1, Dirac, VP8, Ogg etc etc:
                   H.264 can be decoded in hardware by most portable devices, including the Zune, iPod and many (most)
                   video-capable cellphones. The future is mobile.


                   Aaron
                   3 May 2010 2:04 PM
                    #
                   @Paul Eccles
                   Those formats are not obscure. Ogg Vorbis, for example is used in games quite a lot. VC-1 is used in
                   Blu-ray Discs. (I'll give you Dirac).
                   There is no logical reason to artificially limit IE9.
                   Microsoft may as well go back to IE6.


                   Bob
                   3 May 2010 2:09 PM
                    #
                   "# re: Follow Up on HTML5 Video in IE9
                   Monday, May 03, 2010 8:10 AM by Jones111
                   Steve Jobs mailed:
                   "A patent pool is being assembled to go after Theora and other "open source" codecs now."
                   http://hugoroy.eu/jobs-os.php"
                   Interestingly enough, the patent troll/pool Jobs was talking about has just filed... against Apple! Not Ogg
                   (Which Mozilla, Google and Opera all contain.) H.264 appears to be risky.
                   Looks like no codec is safe.

                712
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      20/47
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                   PG
                   3 May 2010 2:13 PM
                    #
                   Matt:
                   Microsoft provides indemnification for h.264? Or does MPEG-LA?
                   Neither does? I thought so.
                   They can't indemnify against patents, just like Xiph.org or Google can't: If the patent holder denies a
                   license, that's their right. And with patents there's no need to be "reasonable and non-discrimatory".
                   If in 2 weeks ACME Corp. comes up with a patent that h.264 necessarily infringes on and doesn't want to
                   license it to Microsoft at all, IE9 will ship without h.264.
                   And there's nothing that MPEG-LA or Microsoft could do about it.
                   For real-world examples of this, look at any tech trade fair: Devices are taken from display by customs
                   because of MP3, not for Vorbis. It doesn't matter if those devices and their vendors have proper
                   licensing with Thomson/mp3licensing.com: Sisvel prefers to stay independent with their patent.
                   How is h.264 safer from that than any other codec?


                   PG
                   3 May 2010 2:21 PM
                    #
                   @Paul Eccles:
                   "H.264 can be decoded in hardware"
                   Nice try, still wrong: H.264 can be decoded by codec functions in hardware that are driven by firmware.
                   h.264 is too complex to be handled in hardware completely. The accelerated functions will be generic
                   enough to be adaptable to other codecs as well, and those codec functions usually support other codecs
                   besides h.264, such as VC-1, MPEG-4, RealVideo.
                   Support for Theora would be a matter of a firmware update.
                   Also, those h.264 decoders usually only provide baseline support. To be able to decode more advanced
                   h.264 profiles, the devices have to fall back to software-only again, until the firmware is similarily
                   enhanced.
                   When comparing h.264 with Theora for mobile devices with similarily optimized codecs, h.264 will suffer
                   from its higher decoder complexity (yay for committee based designs that needlessly bloat the feature
                   set), so should Theora take off and be supported by the firmware, it will actually be a better choice.


                   anon
                   3 May 2010 2:29 PM
                    #
                   What this article says: "We're considering the VIDEO tag to mean ONLY H.264"
                   You might as well come out and implement a <H264> tag yourself. I mean, why listen to other people?


                   anon
                   3 May 2010 2:31 PM
                    #
                   What if <IMG> only supported JPEG? Can you see the issues that might arise from that?


                713
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                  21/47
8/24/12                   Case 2:10-cv-01823-JLR
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                   Jon
                   3 May 2010 2:35 PM
                    #
                   This was posted earlier in this thread, but it deserves repeating:
                   http://lists.xiph.org/pipermail/theora/2010-April/003769.html
                   Video codecs are NOT any more of a patent minefield than any other area of software development, it is
                   just that codecs produced through industry groups like MPEG-LA are overly encumbered with trivial
                   patents due to the distorted fashion in which they are produced.
                   Do you see Microsoft refusing to implement SVG because of a 'submarine patent risk'? Or Canvas? Or
                   CSS3? No, but implementing these is no less or more risky than implementing a royalty-free video codec
                   such as Ogg Theora. The difference is that Microsoft is invested in the MPEG standards group and while
                   it may not currently profit from the patents it holds for H.264, it still helps to prevent competition from
                   non-members, as they have to pay royalties and cannot cross-licence patents like the members can.


                   motercalo1
                   3 May 2010 2:42 PM
                    #
                   I think it's gonna really be great.


                   Bored
                   3 May 2010 2:43 PM
                    #
                   The IEBlog is pretty boring these days. Microsoft announces what they're going to do. Most developers
                   and users read it and think "oh, that's interesting" and move on with their day. And then the trolls and
                   zealots appear and fill the comments with the usual load of FUD and spam, none of which will make any
                   difference at all. Rinse. Repeat. It's all so boring. I wish that MS would get back to talking about technical
                   things so that the trolls and crazies get bored and go away.


                   WarpKat
                   3 May 2010 3:22 PM
                    #
                   @Bored: You're so boring... :P


                   Ken Kinder
                   3 May 2010 3:43 PM
                    #
                   This fiasco reminds me of the bad old days of Embrace, Extend, Extinguish. As usual, IE is the last
                   browser to implement the HTML5 standard, and as usual, they're looking to kill open standards in the
                   process.
                   There's nothing open or free about H.264. It's a patent-encumbered format, with Microsoft holding the
                   lionshare of the patents in the H.264 pool. By *only* supporting this anti-standard, Microsoft is
                   intentionally trying to swing its patent weight around and distinguish competition from open source
                   browsers like Firefox.
                   Shame on Microsoft. H.264 is anti-open, anti-free, and anti-competitive. It has no place on the web and
                   Microsoft knows it.


                   Alex
                714
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                         22/47
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                   3 May 2010 3:46 PM
                    #
                   @PG:
                   "h.264 is too complex to be handled in hardware completely."
                   That's incorrect. Video cards which support DXVA decoding for H.264 (that's most Nvidia and AMD
                   cards) support full GPU decoding of the compressed bitstream. It's called Profile D or VLD Profile, look it
                   up: http://download.microsoft.com/download/5/f/c/5fc4ec5c-bd8c-4624-8034-
                   319c1bab7671/DXVA_H264.pdf
                   The codecs currently supporting DXVA decoding in Windows are MPEG-2, H.264 and VC-1. The support
                   is a combination of decoder hooks, driver APIs and GPU hardware support.


                   Alex
                   3 May 2010 3:51 PM
                    #
                   Here's a suggestion:
                   Anybody referring to Ogg as a "codec" should henceforth have their comments and opinions entirely
                   disregarded. If you don't know the difference between a file format and a codec, you're probably not
                   qualified to contribute to this discussion so please stop trolling.


                   Waldo
                   3 May 2010 3:54 PM
                    #
                   Okay, let's say Microsoft implements Theora and Vorbis support, then it becomes clear that one of these
                   or both codecs infringe patents in the MPEG-LA patent pools: Would it matter for Microsoft? I don't think
                   so, because MS has these patents already licensed, unlike Mozilla. So the only risk for MS would be if
                   Theora or Vorbis infringe a patent MS has not licensed, wouldn't it?


                   clive boulton
                   3 May 2010 4:00 PM
                    #
                   Microsoft is listening. Excellent steps.


                   rugu
                   3 May 2010 4:18 PM
                    #
                   « When there’s industry consensus and confidence that the uncertainties are resolved, we’ll be open to
                   considering other codecs. »
                   So we have to await the final battle against Theora/Vorbis?
                   Is this what Steve Jobs was talking about in his email?


                   Ray Stantz
                   3 May 2010 4:34 PM
                    #
                   I was pleased to note that this blog entry links to a Wikipedia article. It serves to underscore the
                   relevance and value that Wikipedia has for a great many people. It is, therefore, extremely disheartening
                   to know that Internet Explorer 9 will be incapable of native support for all of Wikipedia's content.
                715
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      23/47
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                   Mozilla, Opera Software and Google support both Ogg Theora and Ogg Vorbis in their browser
                   software. Activision Blizzard uses Ogg Vorbis audio in World of Warcraft. Bungie's Halo, published by
                   Microsoft Game Studios, uses Ogg Vorbis audio on Windows and OS X. It is clear that in these cases the
                   risk of using open media formats was found to be acceptable.
                   Internet Explorer 9 has the opportunity to make a significant contribution to the open web through the
                   support of open media formats. I encourage Microsoft to take that opportunity.


                   Herodotus
                   3 May 2010 5:04 PM
                    #
                   I am estatic that Microsoft is adopting HTML5 and h.264. This is truly great news for consumers! The
                   move to open standards is much appeciated.
                   My only requests are that you provide a version of ie9 with no activex support compiled in to improve
                   security and that you fully support HTML5's canvas feature.


                   ombarg
                   3 May 2010 5:22 PM
                    #
                   @IEteam, i would like to ask something to you, guys, this has been said lot of times here, but i would like
                   to put again on the table this issue:
                   Please *consider* the possibility of a radical migration of IE engine. Choose Webkit, choose Gecko , what
                   you like, but please do something to boost standards support in the *short* term.
                   Google did it ( Chrome Frame ), why don't you?
                   I.e:
                   "Virtually all of Chrome's April expansion came at the expense of Microsoft Corp.'s Internet Explorer,
                   which dropped 0.7 percentage points to finish the month at 59.95%, the first time that IE has fallen under
                   the 60% mark." (*)
                   Thanks for listening.
                   (*) http://www.computerworld.com/s/article/9176240/Chrome_again_beats_Firefox_in_browser_gain_race
                   (retrieved 2010/05/03 )


                   Giving up
                   3 May 2010 5:26 PM
                    #
                   A wise decision. This will have the effect of further marginalizing Internet Explorer, and give you guys
                   more of an opportunity to finally lay this beast to rest. I also recommend supporting only AAC audio, and
                   only the WMV container, and possibly finding other ways to shoot yourselves in the foot with views that
                   are polar opposite to Mozilla and just as extremist.


                   Matt
                   3 May 2010 5:42 PM
                    #
                   ombarg sez "Six out of ten browser users use IE. You're clearly not successful since you've only got 50%
                   more marketshare than all of your competitors combined (including those that run on platforms you
                   don't). So you should adopt the rendering engine used by your weaker competitors."
                   Errr. yeah. That makes sense.
                716
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      24/47
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                   Wurst
                   3 May 2010 5:57 PM
                    #
                   "And really, now that we see multiple large companies with experienced legal teams and non-trivial
                   exposure committed to shipping Theora I think we're kidding ourselves when we attempt to analyze this
                   as a legal issue. It's not. It's a business/political decision. The market is now going to battle it out. Enjoy
                   the show."
                   http://lists.whatwg.org/pipermail/whatwg-whatwg.org/2009-May/020015.html


                   matthewv
                   3 May 2010 6:27 PM
                    #
                   Well this makes it easy then: we can just encode all our videos in Ogg Theora, and blame Microsoft (as
                   always) whey they don't work in IE. Nobody would be surprised: IE hasn't supported anything resembling
                   an up-to-date standard in years, so why would anyone expect IE9 to? (Note: I'm not saying Ogg Theora
                   is more modern or up-to-date than H.264, just that not many would be surprised if IE didn't support
                   something most other browsers do.)


                   Mac
                   3 May 2010 6:28 PM
                    #
                   I don't see how the choice of H.264 would be anticompetitive against Mozilla, as someone claimed.
                   According to the post:
                   "Third-party applications that simply make calls to the H.264 code in Windows (and which do not
                   incorporate any H.264 code directly) are covered by Microsoft’s license of H.264"
                   so there is no reason why Firefox would have to pay to implement H.264 on Windows (which is the only
                   platform where IE competes against it).
                   As for the whole patents/fees issue: discussing what might happen in 5+ years in this industry is bound to
                   be inaccurate and/or irrelevant. For the time being, H.264 seems the most reasonable choice. And if it
                   turned out to be wrong, there is plenty of time to fix it.


                   Matt
                   3 May 2010 6:38 PM
                    #
                   Mac: You should read the discussion in https://bugzilla.mozilla.org/show_bug.cgi?id=435339


                   Jamie
                   3 May 2010 6:38 PM
                    #
                   I also can't wait for IE9, and think you guys are doing great things! As a Web Developer I've backed IE
                   since version 4 (however in fairness I was absent for IE6 fiasco).
                   What gets me is that Apple is basically saying the same thing about H.264 but I'll bet no one is sending
                   them nasty comments... oh yeah that's right you can't leave comments (Not that they would be bothered
                   to read them anyway, apple's far too busy prosecuting its consumers these days) And with all the I-
                   products backing it I would go with h.264 too. Though I would personally like to see the clout those
                   products cary deminish.
                717
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                          25/47
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                   I would like to request that IE9 be made a mandatory update for windows
                   I would also like to see IE add the ability to provide Windows IE9 feature updates for things like this. If
                   (for example) some new technology came out that replaced h.264, you'd be able to impliment an update
                   changing IE9's support. I think the ability to add new features as they come along, instead of having to
                   wait 2 version later would have a drastic impact on IE's market share. Just a thought.
                   Keep up the good work!


                   Hamranhansenhansen
                   3 May 2010 7:17 PM
                    #
                   I applaud Microsoft for following the ISO standard for consumer audio video.
                   H.264 is the successor to the DVD. When you argue against H.264, that is like arguing against the DVD.
                   Both DVD and H.264 enable consumers to choose any device from any manufacturer and still see video
                   content. It enables publishers to publish one video product and be playable on any device from any
                   manufacturer. This is good for everybody involved.
                   There is no need to support any codec other than H.264 in the video tag. If you're not using ISO standard
                   video, you don't need W3C standard markup. If you are going to be nonstandard, you are choosing to
                   be seen by just a small fraction of the Web. In that case, you might as well use a plug-in.


                   Jordan
                   3 May 2010 8:21 PM
                    #
                   Seriously. Can supporting both codecs (H.264 *and* Ogg Theora.. is "Ogg Theora" in MS's list of banned
                   words on blogs or something? Not mentioned once by name!) really be that horrible of a nightmare?
                   Sounds like they're playing their same old game. Ho, hum.


                   person
                   3 May 2010 8:41 PM
                    #
                   @Jordan: Perhaps they are not as short sided as you? There are more codecs than h.264 and Theora. Do
                   they need to list every single codec that exists each post make the whiners happy? What they are are
                   talking about applies not only to Theora but to VP8 (which is even listed in the title of one of their links)
                   and others.


                   Karthik
                   3 May 2010 10:38 PM
                    #
                   I don't see why Microsoft should follow through MPEGLA's lead.
                   Clearly, Microsoft hasn't learnt a lesson after the MP3 licensing ambush.


                   Leonardo
                   3 May 2010 10:43 PM
                    #
                   I understand and agree with Microsoft's arguments that H.264 is a great codec and that its legal story is
                   more predictable than that of other codecs.
                   However, I also understand the arguments of others who worry mostly about the fact that they may
                718
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        26/47
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                   eventually be required to pay royalties for H.264.
                   How about going one step further, Microsoft? Use your leverage as a leading software company and the
                   fact that you are one of the licensors of MPEG LA to lead an effort that attempts to make MPEG's H.264
                   baseline profile royalty-free, similar to what JPEG did with its own baseline profile. Notice that this would
                   need to be done only to the baseline profile, and more advanced profiles could continue to be royalty-
                   bearing. This way, we can have the best of both worlds, and other browser makers would have no
                   reasons not to support H.264.


                   Robert O'Callahan
                   3 May 2010 11:03 PM
                    #
                   Dean, you say "Third-party applications that simply make calls to the H.264 code in Windows (and which
                   do not incorporate any H.264 code directly) are covered by Microsoft’s license of H.264." ... and then "As
                   with all licensing programs, there are limitations and issues, which people have pointed out."
                   This is quite subtle. So all third party apps are "covered" in the sense that Microsoft's license applies to
                   them, but they must still respect the limits of that license, right? In particular, third party apps that wish to
                   use the codec for "commercial use" (whatever that is; a lot of developers will need lawyers, I guess) are
                   actually not "covered" in the normal sense of the word.
                   In light of that, I still think your declaration that "Third-party applications that simply make calls to the
                   H.264 code in Windows ... are covered by Microsoft’s license of H.264" is potentially very misleading. A
                   large number of apps that do just that could find themselves paying royalties or on the receiving end of
                   a lawsuit from the MPEG-LA.


                   Andrew
                   3 May 2010 11:21 PM
                    #
                   Ogg Theora was the *original* recommendation for the <video> tag... but then Microsoft decided to use
                   H.264.
                   Why!? Do web developers now have to provide two versions of every video, one for IE and one for other
                   browsers? Is this not what happened with stylesheets, and Microsoft's hasLayout "feature"?
                   I originally had high hopes for IE9, but I am very disappointed. Thanks a lot Microsoft.


                   hAl
                   4 May 2010 12:24 AM
                    #
                   <blockquote>MPEG-LA could solve the trust issue by legally promising to continue to only charge
                   reasonable prices for reasonable things forever, instead of only for a few years.</blockquote>
                   MPEG-LA does not determine the licenses. That is up to the licensees. And those have already committed
                   to charge reasonable prices as participant in the standardization proces of h.264 or as a participant of
                   the blu ray association. Also the patent pool will get smaller over the next 5 years as some patent
                   overrun the 20 years making the share for other patent holder bigger even without a price rise.
                   So your suggested doom scenario of a steep price rise is not on the cards. The parties involved in the
                   patent pool have every reason to keep prices reasonable.


                   Richard
                   4 May 2010 1:09 AM
                    #
                719
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                            27/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   I'm confused about these points:
                   "For web browsers, developers can continue to offer plug-ins (using NPAPI or ActiveX; they are effectively
                   equivalent in this scenario) so that webpages can play video using these codecs on Windows. For
                   example, webpages will still be able to play VC-1 (Microsoft WMV) files in IE9."
                   1) You say that developers can offer plug-ins using NPAPI, but your hyperlink for NPAPI goes to a
                   Wikipedia article that states that IE no longer supports NPAPI plug-ins!
                   2) Does this mean that a plug-in will be required in order to play VC-1? Will the plug-in be provided with
                   IE and installed by default, or will it be a separate download?


                   PG
                   4 May 2010 1:25 AM
                    #
                   @Alex: "GPU hardware support."
                   What does this GPU hardware support consist of? Most likely (from looking at implementations of the
                   codec acceleration with GPUs on other platforms) by pushing some shader _program_ into the GPU.
                   So while this program is designed for the special purpose features of a GPU, these features are still
                   relatively generic.
                   Case in point: AMD released a new video driver that provides support for additional h.264 profiles for
                   some of their chips. Were GPU video decoding "entirely in hardware", this wouldn't be possible.
                   So yes, this is software, Theora support can be added (on the OMAP platform they do this already), and
                   Theora on GPU will likely require less resources than h.264 on GPU.


                   Martin
                   4 May 2010 5:00 AM
                    #
                   Can we get any comment on why Microsoft don't allow 3 party components/developers to add support
                   for additional codecs in the video tag?
                   And on an additional note: Why don't you re-use the existing Windows (player) codec system. That would
                   make the entire problem go away, because then users could play $FORMAT video if they had the codec
                   installed. (And there is already codec support for Theora).
                   And on an additional note: What about audio support? (Both in the video itself, and the <audio> tag?


                   Leo Davidson
                   4 May 2010 5:03 AM
                    #
                   @hAl, come on, let's not have a stupid argument of semantics. Pretend I said "the members of MPEG-LA"
                   rather than "MPEG-LA" if you must.
                   If you are so certain that all members have all agreed to be reasonable until all their patents expire,
                   where is that in writing, please?
                   If they are all really going to do that and really mean it then it will be no problem for them to make it
                   legally binding, instead of the current vague promises not to charge anyone for certain uses for a few
                   years, after which all bets are off.
                   If it is in writing somewhere then my idea was already done before I suggested it and all is well, but
                   AFAIK there is no such legal promise.


                720
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    28/47
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                   Leo Davidson
                   4 May 2010 5:10 AM
                    #
                   Switching sides of the debate for a moment, I'd defend Microsoft's decision not to open up the <video>
                   tag to all codecs installed on people's machines.
                   For whatever reason, video codecs & demuxers tend to be the most bug-ridden, crash-prone, unstable,
                   security-flawed software on the planet.
                   (I guess it's caused by the same phenomenon which makes almost all media playback UIs completely
                   non-standard. :) )
                   It gets even worse when you have a soup of different codecs and demuxers on machines (as many
                   people do), as well as so many differnet versions and builds of different codecs/demuxers, etc. There are
                   also added complexities with 64-bit (since the 32- and 64-bit worlds see different codecs).
                   If you want to produce a stable, secure and predictable web browser (or video plugin) then you need to
                   have control over the code which deals with video. That doesn't mean it has to be baked into the
                   browser but it does mean you don't want to open the browser up to running any old codec/demuxer.


                   Leo Davidson
                   4 May 2010 5:20 AM
                    #
                   Clarification: When I say "have control over the code which deals with video", I don't mean you must
                   necessarily own that code, but that it must be vetted and whitelisted as "okay".
                   Whether that vetting & whitelist process is open to modification by third party developers and/or end
                   users is another discussion.
                   The one thing you really, really do not want to do is have web browsers automatically passing untrusted
                   data from the web to the existing video codec free-for-all that makes so many desktop video apps crash
                   today.


                   hAl
                   4 May 2010 5:29 AM
                    #
                   @Leo Davidson
                   From the MPEG-LA FAQ
                   "Q: What is the Term of the AVC Patent Portfolio License?
                   A: The initial term runs through December 31, 2010. The License is renewable for successive five year
                   periods for the useful life of any Portfolio patent on reasonable terms and conditions.
                   Q: Is there a limitation on the amount that royalty rates may increase at each renewal?
                   A: If royalty rates were to increase, they will not increase by more than 10% at each renewal for specific
                   license grants (except Internet Broadcast AVC Video, which is provided for in Section 3.1.5 of the
                   License)."
                   So yes, patent licensors in the mepg-la patent pool have committed to reasonable terms and conditions
                   and to limited lisense prices on renewals. The scenarios of steep price rises on renewals are just made
                   up stories by open source fans who feel the need to spread FUD on the h.264 licensing.
                   There is no basis to support such stories as that would be against the interests of patent pools which are
                   mainly created to support broad support for a technology with one stop licensing.


                 Martin
                721
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                     29/47
8/24/12               Case 2:10-cv-01823-JLR
                   Martin
                               Follow Up on HTML5 Video in IE9Document          392-8
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                   4 May 2010 5:37 AM
                    #
                   To Leo Davidson:
                   Really? Is the Windows codec system so bad? But it's Microsofts own system, so it should be easy to run
                   the decoder in its own process. Then you can simply restart it if it crashes. (Extra bonus if you resume the
                   video where it crashed). But I must admit I have never seen a windows user complain about codecs
                   crashing.
                   But even if it is that bad, that's not an argument because anyone can still make a 3 party codec which
                   decode video in IE9 they just can't use the video tag to do it. So we once again have to make special html
                   to IE9 -(
                   What will most likely happend is that someone make a plugin, which use the windows codecs to decode
                   video, and then we end up with this situation anyway.


                   Responsible Adult
                   4 May 2010 6:03 AM
                    #
                   Soundtrack for reading these comments: http://www.youtube.com/watch?v=OYws8biwOYc
                   People whose major achievement is using Mom's WiFi are giving advice to an engineering team -- I love
                   this country.


                   ieblog
                   4 May 2010 6:22 AM
                    #
                   @Richard: Dean's point is that ALL browsers support more codecs via plug-ins/addons-- in IE, that's
                   using ActiveX while in other browsers, the mechanism is NPAPI. IE itself doesn't ship any plugins, but
                   virtually all installs of Windows include Windows Media player, which supports VC-1.
                   @Martin: As mentioned a few times, IE9 will support MP3 and AAC for audio.

                   Martin
                   4 May 2010 6:42 AM
                    #
                   But the problem with IE9's codec plugin support, is that it require non standard ie9 only html to use.
                   And why no vorbis audio support for <audio>
                   Do you fear patents for that too(And if you do, remember to inform Microsofts game section, which
                   does use vorbis).


                   Leo Davidson
                   4 May 2010 7:17 AM
                    #
                   @hAl,
                   Thank you for the reply. If that is accurate & binding, and there are no hidden caveats, then it seems
                   reasonable and was (more or less) what I was suggesting.
                   @Martin,
                   It's not really the Windows codec system that's at fault. The problem is that people writing
                   codecs/demuxers tend to do a poor job of checking for unexpected inputs and produce code that
                   crashes (or has security flaws or whatever) when faced with them.
                722
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       30/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   You can move all your video rendering out-of-process and sandbox it for a bit more security (assuming
                   the codecs are well-written enough to run in the sandbox; and even then sandboxes usually only protect
                   from writes, not reads (data theft)).
                   Even then, though, you'd still be asking your users to put up with unpredictable video performance and
                   stability.
                   If videos randomly crash or do not work in a web browser then it's better than taking out the entire web
                   browser -- for sure -- but it's not exactly a great user experience.
                   We don't really need a hundred different video codecs anyway. A handful of good codes with known-
                   good quality implementations is much better than a free-for-all.
                   I mean, there are a million and one different image formats but the web gets by pretty well with just PNG,
                   JPEG, GIF and SVG.
                   I'm not saying there should only be one codec (though it'd be nice if everyone could agree on one which
                   they all support) but there's no need for ten, either.


                   Leo Davidson
                   4 May 2010 7:24 AM
                    #
                   @hAl, Another thought:
                   Given that the rate for non-commercial use is currently 0, according to that FAQ it can never be non-zero.
                   :)


                   Martin
                   4 May 2010 7:38 AM
                    #
                   [quote]It's not really the Windows codec system that's at fault. The problem is that people writing
                   codecs/demuxers tend to do a poor job of checking for unexpected inputs and produce code that
                   crashes (or has security flaws or whatever) when faced with them.[/quote]
                   What? If you do the decoding in its own process, that process should not have any read/write access to
                   any other user data.
                   And remember the alternative to the possibility of bad codecs are a blank screen, because the browser
                   can't decode the video at all. I know what i prefer.
                   I assume that Microsoft have written their own H.264 windows codec, so we know that just using the
                   codec system will at least work for MPG4.
                   So as i see it, the alternatives for non H.264 are between no video, and possible bad video.
                   But I really don't think that there are that many problems with the existing windows codecs.
                   And I agree we don't need support for any insane format(Flv anyone?) but the problem with the current
                   solution is that it's H.264 only and there is no way for third parties to fix that.
                   Using windows codecs would atleast allow users the possibility to view the videos at wikipedia.org and
                   other places which use other formats.


                   Martin
                   4 May 2010 7:40 AM
                    #
                   "(except Internet Broadcast AVC Video, which is provided for in Section 3.1.5 of the License).").
                   This is the problematic section. So i think they plan to ask money for all H.264 streams 1 jan 2016.
                723
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                     31/47
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                   Peter Olejnik
                   4 May 2010 7:59 AM
                    #
                   As new media artists and professionals, what we all simply want to ensure is that Apple and Microsoft
                   won't start using MPEG-LA to sue content “professionals” for adopting the H.264 standard under the guy
                   of HTML5.
                   If Microsoft, Apple, including the entire MPEG LA community are willing to waive their royalties rights for
                   the better of the web new media experience, AND guarantee that content producers—including
                   “professionals”—along with viewers, will both, not be harassed or sued, then sure—HTML5.
                   However, till then, Adobe Flash video all the way.


                   Leo Davidson
                   4 May 2010 8:08 AM
                    #
                   @Martin,
                   "What? If you do the decoding in its own process, that process should not have any read/write access to
                   any other user data."
                   Sorry but by saying that you appear to be ignorant of not just how Windows works by how the security
                   model in every desktop OS works. (Including desktop flavours, and most other flavours for that matter, of
                   Linux/Unix.)
                   If a process is running under an account then, in general, it has (read, and often write) access to that
                   account's files.
                   You could run it under another account, or even a virtual machine, and marshal all the data back and
                   forth to that account but doing that is easier said than done, both from a software engineering
                   perspective and from a sysadmin perspective. (Even more so when we are talking about third party code
                   where you have no control over its requirements and assumptions.)
                   Certainly, and in general, it would be wonderful if code was restricted from "doing things it shouldn't do,"
                   but it would be a full-time job defining (and then vetting) the lists of what each piece of code may do.
                   Instead, at least for now, all desktop OS use accounts (and a few other things like the Low Integrity stuff)
                   which paint with a much broader brush.
                   All of which is largely off-topic and beside-the-point anyway. Even if you have perfect sandboxing and
                   security around the code doing the video decoding, if it still crashes then the user still gets annoyed and
                   the people trying to host videos still can't feel certain that their content will actually work.
                   I don't think anyone really wants anything other than H.264 or Theora (or both), possibly with Google's
                   On2 codec thrown into the mix if they end up sorting it out. (And chances are if Google do then the
                   Theora advocates will switch to that instead, since it seems to tick all their boxes and then some.)
                   Let me stress again that I'm not saying browsers should be completely closed to supporting new codecs
                   in <video> tags; I am just saying that doing it by feeding untrusted data into whatever random codecs
                   happen to be installed is a really, really bad idea.
                   I mean, if you advocate doing that then you are advocating a design where web browsers auto-run
                   locally installed code on arbitrary web data. Think about that for a second...
                   If you still can't see what a nightmare that would be, replace the phrase "video codec" with "ActiveX
                   control."
                   The two types of components are virtually identical, in terms of how they plug into other apps. You
                   certainly would not want any website you visited to be able to invoke any installed ActiveX DLL with the
                   data/arguments of its choice. Ditto with video codecs.
                724
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      32/47
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                   hAl
                   4 May 2010 8:24 AM
                    #
                   @martin
                   No that is not a problematic section because the licensing fee for Internet Broadcast AVC Video is zero
                   till 2016 and after that will be maximum the fee of free TV broadcasting which is currently 10,000 dollars
                   per broadcaster(site).
                   I guess people spreadig the FUD forgot to mention that little detail...
                   From the MPEG-LA license summery I have (which is not updated to 2016 yet)
                   **********
                   "For (b) (2) where remuneration is from other sources, in the case of free television (television
                   broadcasting which is sent by an over-the-air, satellite and/or cable Transmission, and which is not paid
                   for by an End User), the licensee (broadcaster which is identified as providing free television AVC video)
                   may pay (beginning January 1, 2006) according to one of two royalty options: (i) a one-time payment of
                   $2,500 per AVC transmission encoder (applies to each AVC encoder which is used by or on behalf of a
                   Licensee in transmitting AVC video to the End User) or (ii) annual fee per Broadcast Market12 starting at
                   $2,500 per calendar year per Broadcast Markets of at least 100,000 but no more than 499,999 television
                   households, $5,000 per calendar year per Broadcast Market which includes at least 500,000 but no more
                   than 999,999 television households, and $10,000 per calendar year per Broadcast Market which includes
                   1,000,000 or more television households.13 In the case of Internet broadcast (AVC video that is delivered
                   via the Worldwide Internet to an end user for which the End User does not pay remuneration for the right
                   to receive or view, i.e., neither title-by-title nor subscription), there will be no royalty during the first term
                   of the License (ending December 31, 2010), and after the first term the royalty shall be no more than the
                   economic equivalent of royalties payable during the same time for free television."


                   hAl
                   4 May 2010 8:25 AM
                    #
                   In addition to the above license text video broadcast of less that 12 minuten are licensed for free
                   anyways.
                   So as I can see it a internet video broadcaster that plays h.264 video longer than 12 minuten and has a
                   marketshare of more than 1 million people (I asume that would be unique visitors to the video) would
                   pay
                   - nothing untill 2016 and then a maximum of 10,000 dollars.
                   A site with video less than 12 minuten would pay:
                   - nothing
                   A site with videos that have less than 100,000 visitors would pay:
                   - nothing.


                   hAl
                   4 May 2010 8:36 AM
                    #
                   And I am inclined to expect that MPEG-LA leaves the fee at nothing even after 2016 anyways as it hardly
                   worth it to collect those fees from the few sites that regularly have long video's that get more than a
                   million viewers.

                725
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                         33/47
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                   What is at least evident that there is a lot of FUD being spread about the h.264 licensing fees that could
                   have been avoided with some simple surfing tto the MPEG-LA website and doing some minor fact
                   checking.


                   hAl
                   4 May 2010 8:42 AM
                    #
                   Some links for the readers
                   AVC/h.264 licensing FAQ:
                   http://www.mpegla.com/main/programs/AVC/Pages/FAQ.aspx
                   AVC/h.264 license summary:
                   http://www.mpegla.com/main/programs/AVC/Documents/AVC_TermsSummary.pdf


                   8675309
                   4 May 2010 9:22 AM
                    #
                   1 thing that gets me is what about the low powered video proccsors that cant do high qualty flash video
                   properly?


                   Charlie
                   4 May 2010 11:06 AM
                    #
                   @PG:
                   "Theora support can be added (on the OMAP platform they do this already), and Theora on GPU will
                   likely require less resources than h.264 on GPU."
                   You're arguing semantics. When people talk about "hardware accelerated" decoding on PCs, it's implied
                   that the acceleration is done by the GPU. Whether you call that "software" or "hardware" support, the fact
                   remains that the GPU vendor still needs to implement that support one way or another. Also, the GPU
                   functions that comprise DXVA are only generic to a certain extent: for example, you can't take an old
                   Nvidia GeForce 4000 series card and make it support H.264 VLD profile decoding. Take a look at
                   http://www.nvidia.com/docs/CP/11036/PureVideo_Product_Comparison.pdf and you'll notice that not
                   every video card supports every codec for DXVA.
                   But more importantly than can Theora support be done, the bigger question is WILL it be done. Please
                   provide me a link to a news source that shows that Nvidia, AMD and Intel have committed to adding
                   Theora DXVA support. Where's Apple's API support for Theora decode acceleration?


                   Charlie
                   4 May 2010 11:16 AM
                    #
                   To all those saying Microsoft is ignoring standards by choosing not to support Theora and Vorbis:
                   1. HTML5 specification doesn't actually require either of those codecs. To be fair, it doesn't require
                   H.264/AAC support either.
                   2. HTML5 specification is still in draft stages which means no browser's HTML5 implementation is "more"
                   complete than others because the specification isn't done yet.
                   3. Neither Theora nor Vorbis are standards because they haven't been ratified by any industry or
                   standards organization (such as SMTPE or ISO). Open source != standard
                726
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                     34/47
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                   So to suggest that Microsoft is somehow ignoring web standards for video is completely ridiculous. How
                   can they ignore something that doesn't even exist?!? One could just as easily make the argument then
                   that Firefox and Chrome are ignoring standards too!


                   PG
                   4 May 2010 11:38 AM
                    #
                   @Charlie:
                   Semantics? I talk about the difference between necessarily having to buy a new device for any other
                   codec support, or installing a driver update should that come out. That is, the difference between a
                   possible update and an impossible one.
                   The other aspect is that with the GPGPU APIs it should be feasible for third parties to provide GPU-
                   accelerated video decoding. Probably not as efficient as the vendors (that can natively access device
                   functions), but still an improvement. As written, that happens on OMAP.
                   Indeed the question is, if it will be done. Simple answer: It will be supported when there's a business case.
                   Should Theora become common on the Web, it will be supported. Microsoft (and others) seems to be
                   very interested in making sure that this won't ever happen.
                   For "Vorbis and Theora aren't standards", a standard is a standard once it's set in stone by _some_
                   governing body that declares it stable. For Vorbis and Theora, this standard body is Xiph.org - simple as
                   that.
                   Following your argument that only SMTPE and ISO are supposed to declare standards, HTML should be
                   universally ignored (That's W3C, not ISO),SMTP should be ignored (that's IETF, not ISO).
                   ISO gave us (in cooperation with ITU-T) OSI networking. We're on IP now, surely something must have
                   gone wrong?
                   I think I'll stick to standards that are actually out there (Theora for nearly 6 years by now)


                   Amtiskaw
                   4 May 2010 11:56 AM
                    #
                   @hAl
                   The 12 minute limit you mention only applies to video services where the user pays for individual videos,
                   so ad-supported services such as YouTube would not benefit from this.
                   Your figures around the royalties for internet broadcasters do not correspond to the language in the
                   summary. You talk about 'unique viewers', but the summary makes no mention of actual viewers, only to
                   the size of the 'Broadcast Markets' in which people COULD receive the content. This map:
                   http://www.dishuser.org/TVMarkets/ should give you some idea of the number of 'Broadcast Markets' in
                   the USA alone. Now, imagine you post a video on the internet, people COULD watch it in every one of
                   those areas (and the rest of the world!), and theoretically the 'economic equivalent' royalties promised by
                   the summary could be millions upon millions of dollars.
                   Interestingly, the licence summary has a footnote that indicates the royalty equivalence between internet
                   broadcasters and free television is expanded on in section 3.1.5 of the full AVC Patent Portfolio License,
                   but for some reason they don't actually make the full license available online:
                   http://www.mpegla.com/main/programs/AVC/Pages/Agreement.aspx
                   Quite apart from broadcaster royalties, there is also the issues of royalties for distributing decoders.
                   Browser vendors such as Mozilla and Opera would have to pay several million dollars per year to
                   distribute versions of their browsers that included a h.264 decoder, or drop support for HTML5 video.
                   This would be a tremendous strain on their finances, particularly for a non-profit foundation like Mozilla.
                727
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      35/47
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                   It would effectively mean only rich companies could make web browsers that could browse the entire
                   web and show HTML5 video.


                   Charlie
                   4 May 2010 12:03 PM
                    #
                   @PG:
                   You're interpreting my example of ISO and SMPTE literally. I listed them as examples of industry and
                   standards organization, but the list certainly isn't limited to them. 3GPP, IETF, ITU, DECE... These are all
                   valid examples. But Xiph.org isn't, I'm sorry to say. Xiph is a non-profit corporation, not a governing
                   body or an organization of industry professionals. If you follow that logic, than RealVideo is also a
                   standard.
                   Let's repeat that again for everyone to hear: Vorbis and Theora are not standards.


                   FactChecker
                   4 May 2010 12:27 PM
                    #
                   <<<Browser vendors such as Mozilla and Opera would have to pay several million dollars per year to
                   distribute versions of their browsers that included a h.264 decoder>>>
                   And where exactly did you pull this per-year figure from?
                   (FWIW, Mozilla likely spends more per year on Firefox than Microsoft and Apple spend on IE and Safari--
                   they can afford to, because Google plays them almost $100M/year).


                   Charlie
                   4 May 2010 12:29 PM
                    #
                   @Amtiskaw:
                   "Browser vendors such as Mozilla and Opera would have to pay several million dollars per year to
                   distribute versions of their browsers that included a h.264 decoder, or drop support for HTML5 video."
                   To be fair, this is not an issue on Windows 7 and Vista because access to the native H.264 decoder is
                   open to any DirectShow or Media Foundation based application. It's exactly how players such as
                   PowerDVD work, so there's no reason why Firefox or Chrome couldn't take advantage of the same
                   decoder.


                   Peter Olejnik
                   4 May 2010 12:33 PM
                    #
                   @Charlie,
                   That's nonsense! They do own the content in an indirect form.
                   If an internet broadcaster wishes to sell rights to their content that's been encoded via h.264 through a
                   professional third party software suite—Adobe Flash, or Final Cut Pro—why should they then need to
                   dish out additional costs to do so, especially since they’ve already paid with the intent to monatize via the
                   price of the third party “professional suite”? That’s usury, not to mention evasive!
                   Charlie – also don't know if you know this, but the majority of individuals who broadcast through the web
                   are not just huge media firms, but average people – YouTube, Vimeo.
                   Evermore, with Google's recent announcement regarding the possbility of users renting out their content
                728
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        36/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   -- will that mean everyone who’s gone viral, and now wishes to sell access to their YouTube videos using
                   HTML5 will also payout MPEG-LA millions too? That's absurd!


                   tom
                   4 May 2010 1:44 PM
                    #
                   The security "risks" with downloading codecs is directly related to the way in which Windows Media
                   player works.
                   Windows Media Player can prompt a user to download a codec, or a licence for any video and accepting
                   such, opens the whole media player up to scripting access where all kinds of malware comes alive.
                   The media player should *never* have allowed browser windows (in particular IE windows when IE wasn't
                   the default browser (due to already known security issues)) to be popped up.
                   Users attempting to download a video for the latest Footy match, not knowing/caring that the video
                   content wasn't 100% legit would find them self faced with never ending popups for p-o-r-n, e-n-h-a-n-c-
                   e-m-e-n-t drugs, fake-anti-virus software galore.
                   Often times the only way to rid oneself of the popups is to CTRL+ALT+DEL and kill WMP.
                   I realize the debate over video formats is intense and heated - but we are all very concerned because it
                   is both important, and using *existing* stats to make a long term choice is a massive failure. SVG never
                   took off with great numbers BECAUSE IE didn't support it. CSS3 isn't mainstream yet BECAUSE IE didn't
                   support any of it (even with vendor prefixes). XHTML didn't take off BECAUSE IE didn't support it. HTML5
                   is slow to take off BECAUSE IE6/IE7 don't support it, and IE8 only supports some stuff.
                   The Browser needs to take an advanced position and support new technologies BEFORE they fully
                   penetrate the market as they DETERMINE where the market goes... and thus when MSFT says that IE9 will
                   ONLY support H.264 natively, MSFT, and IE are in turn FORCING the community to give up supporting
                   other formats.
                   Don't be surprised in the slightest that developers are upset about this - and don't be surprised when
                   they are vocal about it, or alter their supported browsers in their web apps as a result.


                   Amtiskaw
                   4 May 2010 3:07 PM
                    #
                   @FactChecker
                   I 'pulled it' it from the blog of Mike Shaver, chief evangelist for the Mozilla Corporation:
                   of http://shaver.off.net/diary/2010/01/23/html5-video-and-codecs/
                   To quote:
                   "Mozilla has decided differently, in part because there is no apparent means for us to license H.264
                   under terms that would cover other users of our technology, such as Linux distributors, or people in
                   affiliated projects like Wikimedia or the Participatory Culture Foundation. Even if we were to pay the
                   $5,000,000 annual licensing cost for H.264, and we were to not care about the spectre of license fees for
                   internet distribution of encoded content, or about content and tool creators, downstream projects would
                   be no better off."


                   Leo Davidson
                   4 May 2010 3:25 PM
                    #
                   @Charlie:
                729
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    37/47
8/24/12                  Case 2:10-cv-01823-JLR
                                Follow Up on HTML5 Video in IE9Document          392-8
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                   "Let's repeat that again for everyone to hear: Vorbis and Theora are not standards."
                   You say that like you expect it to mean a great deal to people.
                   Whatever your definition of "standards," when people say they want "standards support" very few of
                   them care exactly who defined those standards (or file formats or whatever you want to call them).
                   What people want is for web browsers (etc.) to implement well-defined specification s(may I use that
                   word?) in ways which are compatible and consistent with other browsers (and other software in general).
                   Clearly the spec has to be a good spec or it won't be that useful (or it'll be too difficult to for different
                   teams to implement consistently, a bit like HTML4).
                   From what I've seen of the Ogg and Vorbis formats (I can't speak about Theora as I have not written
                   code against it), they are well defined, well documented and well conceived. They have been well
                   maintained over the years, with regard for quality, sensible ideas/changes and backward compatibility.
                   They have several good example implementations and libraries. They have been used in lots of software
                   and hardware projects, including many commercial ones. There are many tools which will input and
                   output data in the Ogg Vorbis format in a consistent way.
                   What more do you want from a format before it's as good as a "standard?"
                   If you think there is something specifically wrong with Ogg, Vorbis or Theora then by all means state your
                   objection (like anything else, they are not perfect), but the fact that the body which designed them
                   doesn't meet your standards* doesn't seem like a valid objection. Judge the format, not the size of the
                   companies who sat on the committee which rubber-stamped it.
                   (* Uh, I mean, "criteria" since you don't quality as a standards body and thus cannot define a standard, by
                   your own definition. :-))
                   There are plenty of other formats which aren't "standards" by your definition and yet which we all use
                   every day more than happily.
                   It's like insisting on having a THX logo on your audio hardware: It might indicate some level of quality but
                   it doesn't indicate it absolutely. There are some fairly poor THX-approved sound systems as well as the
                   awesome ones. There are many awesome ones that don't bother getting THX approval because it costs
                   a lot of money and people who know about audio equipment know that THX is largely meaningless.
                   Similarly, some international standards are an absolute crock (like the MS Office XML standards which
                   zero people, including MS themselves, have managed to implement so far) while some international
                   standards are great, and some great formats aren't "standards," and so on...


                   Amtiskaw
                   4 May 2010 3:36 PM
                    #
                   @Charlie
                   Sure, and I believe they considered doing just that, but decided against it because such a strategy would
                   undermine the cross-platform nature of the Firefox browser, and the web itself.
                   As FactChecker pointed out, Mozilla certainly have the cash to license H.264, and probably any other
                   codec they like, but they're making a stand based on the principles open web. The open web is about
                   more than just following standards, it's also about open participation. The great strength of the web has
                   always been that anyone can make a website or develop a browser. Adopting H.264 for web video
                   undermines that principle, so Mozilla have taken a stand against it. Not because it's easier, or because
                   it's cheaper, but because it's the right thing to do.


                   hAl
                   4 May 2010 3:41 PM
                    #
                730
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                        38/47
8/24/12                  Case 2:10-cv-01823-JLR
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                   This test in 2010 show that to achieve similar quality a Theora file would have to be twice the size of a
                   h.264 file.
                   http://keyj.s2000.ws/?p=356


                   Amtiskaw
                   4 May 2010 4:03 PM
                    #
                   @hAl
                   So given that user bandwidth increases by 50% each year:
                   http://www.useit.com/alertbox/980405.html
                   We could just stick with Flash for a couple of years then switch to Theora and it would be exactly the
                   same as if we'd switched to H.264 now!
                   Problem solved! Everyone meet back in in 2012! :-)


                   wambo
                   4 May 2010 8:48 PM
                    #
                   @Charlie: Did you consider PNG a standard at the time it was implemented by IE 4.0 and 32-bit Netscape
                   4.04? That was when it was merely described in a RFC, years before being standardised by the ISO.
                   @Amtiskaw: The end of 2012 is also when all patents relevant to MP3 decoding should be expired, then
                   Firefox might implement native MP3 support for the audio tag so we have at least some sort of common
                   denominator for native implementations.


                   hAl
                   4 May 2010 11:37 PM
                    #
                   <blockquote>We could just stick with Flash for a couple of years then switch to Theora and it would be
                   exactly the same as if we'd switched to H.264 now!</blockquote>
                   Unlikely because the amount of video on the internet will also increase and with Theora the increase
                   would be much faster.
                   Basically using a mediocre codec like Theora would increase the cost of internet traffic for datacentres,
                   transit and service providers with hunderds of millions of dollars. The prices of internet for consumers
                   and sites would be higher than nescesary.


                   hAl
                   4 May 2010 11:43 PM
                    #
                   @Amtiskaw
                   In a broadcast the video is send to all people in an area.
                   On a site a html video is only send on a pageview to one person.
                   So looking at unique visitors to a webpage containing a html video is a good measure for the number of
                   people a video was broadcasted to.


                   Amtiskaw
                   5 May 2010 12:55 AM
                731
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                    39/47
8/24/12                  Case 2:10-cv-01823-JLR
                                Follow Up on HTML5 Video in IE9Document          392-8
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                    #
                   @hAl
                   That's certainly a reasonable view, but the point is it's YOUR opinion, not what's actually written in the
                   licensing summary. The summary itself is ambiguous. If they've nothing to hide, then MPEG-LA should
                   publish exactly how internet broadcasting royalties would be calculated, so we could have a properly
                   informed discussion.


                   Druss
                   5 May 2010 5:40 AM
                    #
                   When a company starts choosing to avoid risks and sits on its own success, well I think it's a sign of
                   decadence.
                   I believe a company like Microsoft should look a little bit further and pursue not only its own interests
                   (money) but also oversee -whenever possible- the interests of the entire community.
                   Imho copyright as it's today is only about a way to make money regardles it is right or not.
                   Please rethink your decision and add native support for the Ogg Theora technology in IE9.
                   Kind regards,
                   druss


                   sam's sung
                   5 May 2010 8:17 AM
                    #
                   "When a company starts choosing to avoid risks and sits on its own success, well I think it's a sign of
                   decadence."
                   They're paying for it as IE's market share continues it's inevitable downward slide. I believe we've passed
                   MS' tipping point.


                   Dan
                   5 May 2010 9:04 AM
                    #
                   The HTML5 standard doesn't specify a codec so let the user install whatever DirectShow codec they want
                   to use instead of breaking the spec and stopping non-H.264 codecs from playing.
                   Until now Microsoft hasn't assumed the responsibility for whether or not codecs need a licence in the
                   country that Windows is being used in, they've just set up the DirectShow framework and let users install
                   whatever codecs they want, so why should it start now?
                   Or would it be something to do with Microsoft using IE as a tool to help cash in in the future on the
                   H.264 patents that they own?


                   Matt
                   5 May 2010 9:13 AM
                    #
                   Dan, it's both foolish and impolite to ask questions when their answers are contained in the original
                   posting.


                   PG
                732
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      40/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
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                   5 May 2010 9:39 AM
                    #
                   @Charlie:
                   The difference between RealVideo and Theora is that there's a specification (versioned, stable for 6
                   years, open to implement for third parties) for Theora. There isn't such a thing for RealVideo.
                   Were Real to release a specification with such characteristics, RealVideo would be standardized, yes.
                   The only question for standards is if they're properly managed: That is, clear specifications, stable
                   release engineering, open access for third parties. Xiph.org has shown to be able to provide that.
                   If someone wants to provide their own video standard, they're free to do so. And prove over time that
                   they're doing a good job managing a standard.
                   But that's probably a matter of belief, similar to the difference between "big government" (ISO and their
                   ilk) and "individual reponsibility" (lots of standards by whoever cares enough to manage them).
                   Given the track record of ISO, I'll stick to the Xiph.org model.


                   Anonymous
                   5 May 2010 11:28 AM
                    #
                   Here's all anyone needs to know about MPEG-LA: they write one thing and say another.


                   hAl
                   5 May 2010 2:15 PM
                    #
                   @PG
                   Theora is not a standard an it takes nearly twice the bitrate to deliver the same quality video as the h.264
                   which is an actual standard.
                   Worthless as an option for internet video.


                   Noname
                   5 May 2010 2:41 PM
                    #
                   I think one big thing that people would like to hear is using plugins, can you extend what the video tag
                   supports?
                   The post says you can use plugins to use codecs, but nothing mentions extending what the video tag
                   supports.
                   So could there be an outright yes or no answer for this? (This should help keep the theora people quiet
                   knowing that IE isn't limited to just h264 if you can extend the video tag.)


                   hAl
                   5 May 2010 2:54 PM
                    #
                   @Noname
                   Microsoft themself will not make such a plugin but anybody else could.


                   Noname
                733
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       41/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
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                   5 May 2010 3:02 PM
                    #
                   I know that, but the whole point of my post was to have at least a semi-official yes or no on the video tag
                   can be extended to support additional video types.
                   With who writes the plugin, I don't care, in the end I know that support in a lot of cases means "if you can
                   do it, good for you, but don't come crying to us if it breaks." All I care about is whether you can do it.


                   Leo Davidson
                   5 May 2010 5:04 PM
                    #
                   @hAl, AFAIK MS have not specified which kinds of plugins they mean, which I think is what Noname is
                   getting at.
                   If people can only write the current styles of plugins then there is no way to extend which video tags IE
                   supports (at least as I understand the plugin APIs).
                   They would not be able to make it so that a web author could simply specify a Theora (or whatever) file
                   as the target of a video tag. Instead, the cumbersome embed/object tags would have to be used (just
                   like with Flash today) and all of the browser's native video UI would be lost or have to be reproduced
                   (again, just like Flash today). Such a video plugin would have little to offer over what Flash gives us today,
                   other than the codec itself.
                   OTOH, if IE9 has an API for supplying video codec plugins then that's different.
                   PS: Not sure what you mean when you say one format isn't a standard because it isn't as high quality as
                   some other format. Since when has that been the case? By that logic, MP3, MPEG2, JPEG, GIF, XML and a
                   whole heap of things would not be standards as for each of them there exists something which is
                   technically better.


                   Alex
                   5 May 2010 7:07 PM
                    #
                   FYI, here's an excellent overview of H.264 licensing:
                   http://www.engadget.com/2010/05/04/know-your-rights-h-264-patent-licensing-and-you/


                   Charlie
                   5 May 2010 7:28 PM
                    #
                   One thing I still don't understand: why are people pissed at *Microsoft* for not including
                   Theora/Vorbis/Ogg support in IE9? Shouldn't you all be mad at W3C for not specifying mandatory
                   video/audio codecs in the HTML5 specification to start with? Microsoft is no more right or wrong in
                   choosing H.264 than Mozilla is right or wrong in choosing Theora - both choices are compliant with the
                   current spec draft! If you want Theora/Vorbis/Ogg to be supported in every browser, then W3C should
                   explicitly say so in the HTML5 spec! Being mad at a company for not doing what they were never
                   required to do in the first place just seems kind of passive aggressive to me.
                   Imagine I was throwing a party tonight and I invited you. You ask me what food you should bring to the
                   party and I say, "Whatever you want". You show up at the party with a cheese platter. Can I really be mad
                   at you because you didn't bring chips too? I don't think so. After all, I did say "bring anything"!
                   Sorry if I'm oversimplifying the issue, but it just seems to me that all this time and effort spent venting at
                   Microsoft would be much better spent venting at W3C and pressuring them to be clearer in the HTML5
                   video specification. If Microsoft truly is committed to fully supporting the HTML5 spec, then you stand a
                734
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                         42/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
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                   better chance getting Theora/Vorbis support in IE9 (or IE10) if those codecs are in the spec to start with.


                   Noname
                   5 May 2010 7:52 PM
                    #
                   One thing I should make clear then. I'm not annoyed at Microsoft choosing h264. They have the right to
                   choose what format they use and to be honest, I don't care too much about theora or vorbis.
                   The whole purpose of what I'm doing is to hopefully stop those people whining on and on. In both posts
                   on the video tag supporting h264 the wording of the posts didn't help too much and it has been left
                   implied that the video tag is limited to just a certain set of Microsoft chosen formats and you are left
                   using plugins to get other formats to play, but it will be like flash to use.
                   If you think about it, if someone comes back and says, "Yes it is possible" then all of those people
                   whining on will be silenced. This means that it won't be directly supported by Microsoft themselves but
                   someone can go out and add Theora support to the Video tag. (Although there are bound to be a few
                   die hard complainers who will continue saying that Microsoft should be writing the codecs.) On the other
                   hand, if someone says "No it isn't possible" then I won't really care either way. It just means my quest to
                   silence the moaners failed.
                   I like places like the IEBlog, yes there is always some glossing over of how things are going but that is
                   expected. I just want to find a way to make a lot of these very annoying comments to go away. I also
                   thought that having one fairly constructive question on the topic rather than lots and lots of people
                   bashing while there is still no complete information on the topic.


                   nobodyInParticular
                   5 May 2010 9:03 PM
                    #
                   Every so called advantage of H.264 mentioned would be equally true of a true open and royalty free
                   industry standard. Clinging to these proprietary formats harms the public. They are covered by patents
                   of dubious quality forcing people to purchase licenses directly or indirectly as a form of tax on
                   everything. All evidence that these proprietary formats are a greater benefit than a harm to the public is
                   purely subjective. People believe or disbelieve these things as they suit their agendas.
                   As an engineer, I do not believe that any patent on a file format is legitimate. Encoding video into a file
                   is not patentable in and of itself since the need for it makes the innovation obvious. And just what is
                   innovative by a compression technique? These have been known for decades. Nothing new there either.


                   hAl
                   6 May 2010 12:32 AM
                    #
                   <blockquote>Every so called advantage of H.264 mentioned would be equally true of a true open and
                   royalty free industry standard</blockquote>
                   Then name us which true open and royalty free standard:
                   * Is an ISO/IEC standard
                   * Combines the same quality/compression ratio
                   * Is a current Blu ray standard
                   * Is a codec used for digital TV broadcasting
                   * Has hardware support in hundreds of millions of devices
                   * Is widely supported in video en entertainment software
                735
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                      43/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
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                   Possibly if a codec provides all of the above advantage and also is open and royalty free there could be
                   reason for complaints about the descision to use h.264 as the codec for the video tag in IE9.


                   Dan
                   6 May 2010 1:12 AM
                    #
                   @Matt:
                   "Dan, it's both foolish and impolite to ask questions when their answers are contained in the original
                   posting."
                   It doesn't say why Microsoft have suddenly decided to worry about codec patents in IE when every other
                   program of theirs uses DirectShow and works with whatever codec the user wishes to install.
                   It doesn't say why Microsoft have decided that using user-installed codecs to access video on the
                   Internet can be dangerous in IE when Media Player does exactly that already.
                   It doesn't say why Microsoft have decided to block everything that isn't H.264 on quality grounds when
                   they're happy to have Media Center play anything.
                   The answers are not contained in the original psot.


                   Leo Davidson
                   6 May 2010 3:03 AM
                    #
                   @Charlie,
                   Some people *are* angry with the W3C for not mandating a codec. However, if you read up on the issue
                   you'll find that the W3C wanted to specify a codec in the standard but the participants could not agree
                   on one.
                   Apple *refused* to support Theora.
                   Mozilla *refused* to support H.264.
                   Google were happy to support either or both.
                   Microsoft, meanwhile (AFAIK anyway), had not weighed in on the issue until now. So it's not that (different
                   groups of) people have not been angry with the other players; it's just that the anger with Microsoft is
                   fresher.
                   The W3C decided that there was no point specifying things in a standard which they knew implementers
                   would actively ignore. I'm not sure that was the right thing to do but I can see their reasoning. A big goal
                   of HTML5 seems to be to create a spec which really is (eventually) implemented in its entirety, unlike
                   HTML4.
                   For better or worse, standards don't actually mean much when they conflict with business (etc.) interests
                   and the W3C has no power to dictate anything to anyone.
                   Leaving the codec out of the spec. punted the responsibility for choosing a common codec over to the
                   browser makers. Those browser makers have failed to agree on a common codec. Every player (except
                   maybe Google) has attracted some anger from some people over the matter.


                   Will
                   6 May 2010 7:18 AM
                    #
                   nobodyinparticular sez <<<Encoding video into a file is not patentable in and of itself since the need for
                   it makes the innovation obvious>>>
                736
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       44/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
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                   Your remark makes your complete lack of understanding of patent law obvious. If you're going to play
                   fake-lawyer, you need to do at least a little bit of research.


                   PG
                   6 May 2010 8:54 AM
                    #
                   @hAl:
                   Whether Theora is a standard depends on the definition of a standard. It definitely fits mine (stable,
                   properly specified, accessible to third parties).
                   For quality, the specification doesn't say anything about quality. See the improvements between the
                   libtheora 1.0 and 1.1 implementations, and those that happened after 1.1. It's catching up, and it
                   definitely has a need to do, but it has more room for improvement than h.264. All those improvements
                   happen within the standard.
                   Your list of devices that use h.264 (Bluray, digital broadcasting and all those devices) is actually an
                   example of the issues h.264 faces: Thanks to the complexity of "design by committee", where everyone
                   tried to get their own pet feature in, to improve leverage in the licensing business, h.264 is segmented
                   into various profiles.
                   So you have a valid h.264 data stream on Bluray but can't play that stream on the iPhone (and most other
                   portable devices) as only the baseline profile is supported on the latter. digital broadcasting uses
                   another set of h.264 features, as does the encoding in studio workflows.
                   For the web, this means that only h.264 baseline will be universally used (to support the growing segment
                   of mobile internet). So any quality comparison between codecs in the context of web-video must be with
                   h.264 baseline to be meaningful.
                   When you get your hands on a h.264 stream you'll have to look first if the used features are all
                   supported by your codec (ever had those spurious defects in mpeg4 video? Those might have come
                   from different support for specified features).
                   Theora will just work.


                   Gabe
                   6 May 2010 10:05 AM
                    #
                   No reason to artificially limit IE9 users to a single codec, other than 'business strategy'.
                   You people are so unbelievably selfish. Can't you just make a decent browser that supports as many
                   codecs as possible? It costs you nothing but development time, and your bank account is full.
                   And stop pretending your decisions are in the customer's interest. The only decisions you make support
                   your bottom line, and we all know it. So very predictable.


                   Alex
                   6 May 2010 12:37 PM
                    #
                   @Dan:
                   Your original question of "Or would it be something to do with Microsoft using IE as a tool to help cash
                   in in the future on the H.264 patents that they own?" WAS in fact addressed in the original post. It's been
                   pointed out that Microsoft pays more to MPEG-LA to license H.264 than it actually gets back from it in
                   royalties. BTW, anybody who thinks that codec royalties amount to some significant amount of cash -
                   you're mistaken. We're talking about pennies per unit. For a company the size of Microsoft the amount of
                   money it gets from codec royalties is a drop in the bucket - certainly not enough to be worth changing
                737
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                   45/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
                                Follow Up on HTML5 Video in IE9                   392-8
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                                                                                            Blogs 08/27/12 Page 105 of 106
                   entire IE strategies for.
                   @PG:
                   "Theora will just work."
                   Really? A mobile phone will decode 1080p Theora video without a hitch? I sincerely doubt that.
                   Your point about H.264 profiles and their fragmented support is valid, but you're missing the real point:
                   not all playback devices have the same processing power so profiles were defined in order to create
                   conformance guidelines. In other words, profiles are not what make H.264 support fragmented. Even if
                   you took the profiles out of the spec, you'd still need some way to say "this device will play H.264 video
                   but only up to 720x576 25 fps progressive with 4:2:0 subsampling because it doesn't have the CPU power
                   to handle anything more". If all decoders could handle 1080p 60 fps 4:4:4 video, there'd be no need for
                   profiles.


                   Dam
                   6 May 2010 2:40 PM
                    #
                   @Alex:
                   This is true, until the licence is changed in 2015 and Microsoft can decide how that licence is changed as
                   they form a part of MPEG-LA.
                   I'm sure they're willing to invest in corning the market by making something free for the consumer before
                   reaping the rewards later on, it's not as if it's the first time it's happened. The decisions taken now seem
                   to point to that end, if it were otherwise they would use DirectShow like any other piece of Windows
                   software to allow the user the freedom to view whatever website they want.


                   ANAND
                   7 May 2010 2:00 AM
                    #
                   What is the top speed at which browsers can run SunSpider? I guess the answer is going to be ZERO
                   SECONDS.
                   I just ran this test on my 2 yr laptop on Chrome 5.0.396 dev channel build and 10/26 of the tests are
                   actually running in 0 seconds (See the Chrome reults here at http://tinyurl.com/25eeswh)
                   Come-on IE, catch up. It should not be hard to do all the work in no time ... !!!


                   Ryan Smyth
                   9 May 2010 10:12 PM
                    #
                   Wow. People. Seriously. Read the post. The number of comments above that show complete ignorance
                   of the original article is staggering.
                   Read it again with perhaps a bit more of an open mind and maybe some more education on the actual
                   issues involved.
                   Open source codecs are not a solution to the problem that H.264 addresses for Microsoft. Those codecs
                   may be "open", but that does not mean that they have been legally vetted against patent infringement.
                   etc. etc. etc.
                   It's all there in the post as to why Microsoft isn't supporting other codecs out of the box. If you really
                   want others, then install them. Nobody is stopping you. IE9 supports the plug-in architecture needed for
                   other codecs.
                 Stop whining.
                738
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       46/47
8/24/12                 Case 2:10-cv-01823-JLR                Document
                                Follow Up on HTML5 Video in IE9                   392-8
                                                                - IEBlog - Site Home - MSDN Filed
                                                                                            Blogs 08/27/12 Page 106 of 106


                   Wurst
                   10 May 2010 6:00 AM
                    #
                   @Ryan Smyth:
                   « but that does not mean that they have been legally vetted against patent infringement »
                   Theora is basically just an improved version of a former proprietary codecs older than 10 years. The
                   original was very likely carefully avoiding any patents and so did the contributers to the open source
                   project. The chances for patent infringement are low, the chances for infringement of patents Microsoft
                   has not already licensed are even lower. Really, how can anybody believe that patents are the issue here.
                   Google had no problem including Theora/Vorbis support, why does Microsoft.


                   Matt
                   10 May 2010 6:33 AM
                    #
                   <<<The original was very likely carefully avoiding any patents and so did the contributers to the open
                   source project.>>>
                   Your overwhelming naivete would be quaint were it not so dangerous. Please leave the lawyering to
                   those who have a legal education.


                   Alex
                   12 May 2010 6:16 PM
                    #
                   @Dam:
                   Microsoft does not form part of MPEG-LA - you should check your facts. MPEG-LA is an independent
                   firm that governs the licensing of certain codecs. Some of those codecs have patent pools, but the
                   companies in the patent pools don't control MPEG-LA. MPEG-LA doesn't actually own the patents, it's just
                   a service provider.
                   I can't tell if you're just uninformed or if you enjoy making wild speculations, but either way, your theory
                   about Microsoft's world domination by way of surprise H.264 royalties doesn't add up due to the fact
                   that it goes against both facts and common business sense.
                   @Wurst:
                   I agree with Matt - you're being very naive. Theora (VP3) is a DCT-based codec just like every other
                   MPEG codec (including H.264) and VC-1, and considering that nearly every step of the traditional DCT
                   compression process is patented, it's virtually impossible to construct a DCT-based codec without
                   accidentally stomping on somebody's patent. While I think it's completely asinine that basic math
                   operations can be patented, the fact still remains that they are and no amount of pretending they're not
                   is going to make those patents go away.
                   The only reason Theora hasn't been sued for patent infringement yet is because nobody has bothered to
                   do it yet. The financial benefit of sueing a non-profit organization is dubious at best. But does that make
                   Theora "patent free"? No. Just because some 40-yr old Ford Pinto hasn't been in a car accident for 40
                   years doesn't make it safe either.
                   Anybody who doesn't understand why codecs are a patent minefield should do a simple patent search:
                   http://www.google.com/patents?q=discrete+cosine+transform




                739
blogs.msdn.com/b/ie/archive/2010/05/03/follow-up-on-html5-video-in-ie9.aspx                                                       47/47
